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The following constitutes the ruling of the court and has the force and effect therein described.



Signed June 21, 2024
                                           United States Bankruptcy Judge
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

          In re:                                                      §         Case No. 24-80045-mvl11
                                                                      §
          KIDKRAFT, INC., et al.,                                     §         (Chapter 11)
                                                                      §
                              1                                       §         (Jointly Administered)
                   Debtors.
                                                                      §
                                                                      §         Re: Docket Nos. 28, 29, & 220


                                FINDINGS OF FACT,
                   CONCLUSIONS OF LAW, AND ORDER (I) APPROVING
                THE DISCLOSURE STATEMENT; AND(II) CONFIRMING THE
               DEBTORS’ AMENDED JOINT PREPACKAGED CHAPTER 11 PLAN




      1    The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
           or Canadian business numbers, as applicable, are: KidKraft, Inc. (3303), KidKraft Europe, LLC (3174), KidKraft
           Intermediate Holdings, LLC (8800), KidKraft International Holdings, Inc. (2933), KidKraft Partners, LLC
           (3268), KidKraft International IP Holdings, LLC (1841), Solowave Design Corp. (9294), Solowave Design
           Holdings Limited (0206), Solowave Design Inc. (3073), Solowave Design LP (7201), and Solowave International
           Inc (4302). The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 4630
           Olin Road, Dallas, TX 75244.



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          The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

having:

          a.     distributed, through Stretto, Inc. (the “Voting Agent”), on or about May 9, 2024
                 (i) the Disclosure Statement for the Debtors’ Joint Prepackaged Chapter 11 Plan
                 [Docket. No. 29] (as may be amended, supplemented, or modified from time to
                 time, the “Disclosure Statement”); (ii) the Debtors’ Joint Prepackaged Chapter 11
                 Plan [Docket No. 28] (the “Initial Plan”); and (iii) a ballot (the “Ballot”) for voting
                 on the Plan to the sole Holder of the Class 3 Prepetition Secured Party Claim in
                 accordance with title 11 of the United States Code (the “Bankruptcy Code”), the
                 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Local
                 Bankruptcy Rules of the United States Bankruptcy Court for the Northern District
                 of Texas (the “N.D. Tex. L.B.R.”), and applicable nonbankruptcy law, as evidenced
                 by the Certification of Stretto, Inc. Regarding Solicitation of Votes and Tabulation
                 of Ballots Accepting and Rejecting Debtors’ Joint Prepackaged Chapter 11 Plan
                 [Docket No. 30] (the “Voting Report”);

          b.     commenced these chapter 11 cases by filing voluntary petitions for relief under
                 chapter 11 of the Bankruptcy Code on May 10, 2024 (the “Petition Date”) in the
                 United States Bankruptcy Court for the Northern District of Texas, Dallas Division
                 (the “Bankruptcy Court”);

          c.     commenced recognition proceedings pursuant to Part IV of the Companies’
                 Creditors Arrangement Act (Canada) in respect of the chapter 11 cases of the
                 Debtors on May 17, 2024 (the “CCAA Recognition Proceedings”) in the Ontario
                 Superior Court of Justice (Commercial List) (the “CCAA Court”) and on May 10,
                 2024, prior to commencement, obtained a preliminary stay in the CCAA Court;

          d.     continued to operate their businesses and manage their properties as debtors in
                 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code;

          e.     filed, on the Petition Date, the prepetition solicitation versions of the (i) Initial Plan
                 and (ii) Disclosure Statement;

          f.     filed, on the Petition Date, that certain Asset Purchase Agreement [Docket No. 29,
                 Ex. C] (together with all ancillary documents, as may be amended, modified, or
                 supplemented, the “Purchase Agreement”);

          g.     filed, on the Petition Date, the Emergency Motion for Entry of an Order
                 (I) Scheduling a Combined Hearing (II) Establishing Objection Deadlines,
                 (III) Approving the Solicitation Materials and Tabulation Procedures; and
                 (IV) Granting Related Relief [Docket No. 27] (the “Scheduling Motion”);

          h.     filed, on the Petition Date, the Voting Report, which detailed the results of the
                 prepetition Plan solicitation and voting process;


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        i.       served or caused to be served, on May 15, 2024, (i) the Notice of (I) Combined
                 Hearing to Consider Approval of Disclosure Statement and Confirmation of Plan,
                 (II) Deadline for Filing Objections to Final Approval of Disclosure Statement and
                 Confirmation of Plan, and (III) Other Relevant Information, which contained,
                 among other things, notice of the date and time set for the confirmation hearing to
                 consider the adequacy of the Disclosure Statement and Confirmation of the Plan
                 (the “Combined Hearing”) and the deadlines for filing objections to the Plan and
                 the Disclosure Statement (such notice, the “Combined Hearing Notice”) and
                 (ii) the Notice of (I) Non-Voting Status, (II) Deadline for Filing Objections to
                 Approval of Disclosure Statement and Confirmation of Plan, and (III) Other
                 Relevant Information (the “Notice of Non-Voting Status”), each as evidenced by
                 the Certificate of Service [Docket No. 115] filed on May 17, 2024 (the “Notice
                 Affidavit”);

        j.       caused notice of the Combined Hearing to be published on May 17, 2024, in the
                 New York Times, as evidenced by the Affidavit of Publication [Docket No. 123]
                 filed on May 28, 2024, and on May 20, 2024, in the Globe & Mail National Edition,
                 as evidenced by the Affidavit of Publication [Docket No. 124] filed on May 28,
                 2024, (collectively, the “Combined Hearing Publication Notice”);

        k.       served or caused to be served, on June 11, 2024, the Notice of Deadlines for Filing
                 Proof of Claim (the “Bar Date Notice”), as evidenced by the Certificate of Service
                 [Docket No. 172] filed on June 12, 2024 (the “Bar Date Notice Affidavit”); and
                 (i) on June 12, 2024, caused the publication of the Bar Date Notice in the New York
                 Times, as evidenced by the Affidavit of Publication [Docket No. 206], filed on June
                 18, 2024 (the “NYT Bar Date Publication Notice Affidavit”); and (ii) on June 13,
                 2024, caused the publication of the Bar Date Notice in the Globe & Mail National
                 Edition, as evidenced by the Affidavit of Publication [Docket No. 207] filed on June
                 18, 2024 (the “G&M Bar Date Publication Notice Affidavit,” together, with the
                 Bar Date Notice Affidavit and the NYT Bar Date Publication Notice Affidavit, the
                 “Bar Date Affidavits”);

        l.       filed, on June 12, 2024, the Notice of Supplement to the Debtors’ Joint Prepackaged
                 Chapter 11 Plan [Docket No. 175], consisting of the Purchase Agreement, the
                 Schedule of Assumed Executory Contracts and Unexpired Leases, and the
                 Schedule of Retained Causes of Action (the “First Plan Supplement”);

        m.       filed, on June 14, the Notice of Amended Supplement to the Debtors’ Joint
                 Prepackaged Chapter 11 Plan [Docket No. 187], consisting of the Liquidation
                 Analysis (the “Second Plan Supplement”);

        n.       filed, on June 14, 2024, the Declaration of Ajay Bijoor, Managing Director of
                 Robert W. Baird & Co. Incorporated, in Support of (I) the Sale Process, and (II) the
                 Bid Protections [Docket No. 188] (the “Bijoor Sale Declaration”);

        o.       filed, on June 17, the Notice of Filing of Global Settlement Term Sheet [Docket No.
                 195];
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        p.       filed, on June 20, 2024, (i) the Debtors’ Amended Joint Prepackaged Chapter 11
                 Plan [Docket No. 220] (as may be further modified, amended, or supplemented
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                 from time to time, the “Plan”), a copy of which is attached hereto as Exhibit A
                 and (ii) the Notice of Filing Debtors’ Amended Joint Prepackaged Chapter 11 Plan
                 [Docket No. 221];

        q.       filed, on June 21, 2024, the Notice of Second Amended Supplement to the Debtors’
                 Joint Prepackaged Chapter 11 Plan [Docket No. 223], consisting of (i) the Global
                 Settlement Term Sheet, (ii) the GUC Trust Agreement, (iii) the GUC Settlement
                 Opt-In Form, (iv) the Identity of Wind Down Administrator, and (v) the Identity of
                 GUC Trustee (the “Third Plan Supplement,” and together with the First Plan
                 Supplement and the Second Plan Supplement, collectively, the “Plan
                 Supplement”);

        r.       filed, on June 20, 2024, the Notice of Filing of (I) Proposed Confirmation Order
                 and (II) Proposed Sale Order [Docket No. 219], which included the proposed
                 forms of this order and the Order (I) Authorizing the Sale of the Debtors’ Assets
                 Free and Clear of all Liens, Claims, Interests and Encumbrances Pursuant to 11
                 U.S.C. §§ 105 and 363, (II) Approving the Purchase Agreement, (III) Authorizing
                 the Assumption and Assignment of Certain Executory Contracts and Unexpired
                 Leases, and (IV) Granting Related Relief (the “Proposed Sale Approval Order”);

        s.       filed, on June 20, 2024, the Debtors’ Memorandum of Law in Support of
                 (I) Approval of the Disclosure Statement; (II) Confirmation of the Debtors’
                 Amended Joint Prepackaged Chapter 11 Plan; and (III) Reply to Confirmation
                 Objections [Docket No. 213] (the “Confirmation Brief”);

        t.       filed, on June 20, 2024, the Certification of Stretto, Inc. Regarding Tabulation of
                 Release Opt-Out Forms in Connection with the Debtors’ Joint Prepackaged
                 Chapter 11 Plan [Docket No. 217] (the “Opt-Out Report”);

        u.       filed, on June 20, 2024, the Declaration of Geoffrey Walker in Support of
                 Confirmation of the Debtors’ Amended Joint Prepackaged Chapter 11 Plan
                 [Docket No. 214] (the “Walker Confirmation Declaration”); and

        v.       filed, on June 19, 2024, the Declaration of Carl Moore, Managing Director of
                 SierraConstellation Partners, LLC, in Support of the Debtors’ Liquidation Analysis
                 [Docket No. 212] (the “Moore Confirmation Declaration,” and together with the
                 Walker Confirmation Declaration and the Bijoor Sale Declaration, the
                 “Confirmation Declarations”).




2   Capitalized terms used but not otherwise defined herein have the meanings given to such terms in the Plan. The
    rules of interpretation set forth in Article I.B of the Plan apply.
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        The Bankruptcy Court having:

        a.       entered, on May 14, 2024, the Order (I) Scheduling a Combined Hearing,
                 (II) Establishing Objection Deadlines, (III) Approving the Solicitation Materials
                 and Tabulation Procedures, and (IV) Granting Related Relief [Docket No. 93]
                 (the “Scheduling Order”), which, among other things, approved the Debtors’
                 prepetition solicitation and tabulation procedures (the “Prepetition Solicitation and
                 Tabulation Procedures”);

        b.       approved May 9, 2024 as (i) the voting record date (the “Voting Record Date”) and
                 (ii) the deadline by which the Voting Agent must have received the completed
                 Ballot (the “Voting Deadline”);

        c.       set June 14, 2024, at 5:00 p.m. (Prevailing Central Time) as the deadline by which
                 objections to the adequacy of the Disclosure Statement and/or Confirmation of the
                 Plan must be filed (the “Confirmation Objection Deadline”);

        d.       set June 19, 2024, as the date by which the Debtors must file a reply to objections
                 to the Plan and the Disclosure Statement;

        e.       set June 21, 2024, at 9:30 a.m. (Prevailing Central Time) as the date and time for
                 the Combined Hearing pursuant to Bankruptcy Rules 3017 and 3018 and sections
                 1126, 1128, and 1129 of the Bankruptcy Code, subject to adjournment;

        f.       entered, on June 10, 2024, the Order (I) Establishing Bar Dates and Procedures
                 and (II) Approving the Form and Manner of Notice [Docket No. 155] (the “Bar
                 Date Order”);

        g.       entered, substantially contemporaneously herewith, the Order (I) Approving
                 Certain Bidder Protections, (II) Approving Contract Assumption and Assignment
                 Procedures, and (III) Granting Related Relief;

        h.       reviewed the Plan, the Confirmation Brief, the Plan Supplement, the Voting Report,
                 the Opt-Out Report, the Confirmation Declarations, the Disclosure Statement, and
                 all pleadings, exhibits, statements, responses, and comments regarding
                 Confirmation, including any and all objections, statements, and reservations of
                 rights filed by parties in interest on the docket of these chapter 11 cases;

        i.       held the Combined Hearing;

        j.       heard the statements, arguments, and objections, if any, made by counsel in respect
                 of Confirmation of the Plan and approval of the Disclosure Statement;

        k.       considered all oral representations, testimony, documents, filings, and other
                 evidence regarding Confirmation of the Plan and approval of the Disclosure
                 Statement;


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        l.       taken judicial notice of all pleadings and other documents filed, all orders entered,
                 and all evidence and arguments presented in these chapter 11 cases; and

        m.       overruled any and all objections to the Plan, Confirmation, the adequacy of the
                 Disclosure Statement, and all statements and reservations of right not consensually
                 resolved or withdrawn unless otherwise indicated herein.

        NOW, THEREFORE, the Bankruptcy Court having found that notice of the Combined

Hearing and the opportunity for any party in interest to object to Confirmation of the Plan and

approval of the Disclosure Statement have been adequate and appropriate as to all parties affected

or to be affected by the Plan and the transactions contemplated thereby, and the legal and factual

bases set forth in the documents filed in support of Confirmation and all evidence proffered,

admitted, or adduced by counsel at or prior to the Combined Hearing and the entire record of these

chapter 11 cases establish just cause for the relief granted herein; and after due deliberation thereon

and good cause appearing therefor, the Bankruptcy Court hereby makes and issues the following

Findings of Fact, Conclusions of Law, and Orders:

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

        IT IS HEREBY DETERMINED, FOUND, ADJUDGED, DECREED, AND

ORDERED THAT:

A.      Findings of Fact and Conclusions of Law.

        1.       The findings and conclusions set forth herein and on the record of the Combined

Hearing constitute the Bankruptcy Court’s findings of fact and conclusions of law under

Bankruptcy Rules 7052 and 9014. To the extent any of the following findings of fact constitute

conclusions of law, or vice versa, they are adopted as such.

B.      Jurisdiction, Venue, and Core Proceeding.

        2.       The Bankruptcy Court has jurisdiction over these chapter 11 cases pursuant to

section 1334 of title 28 of the United States Code. The Bankruptcy Court has exclusive jurisdiction

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to determine whether the Plan complies with the applicable provisions of the Bankruptcy Code

and should be confirmed. Venue is proper in this district pursuant to sections 1408 and 1409 of

title 28 of the United States Code. Confirmation of the Plan is a core proceeding within the

meaning of section 157(b)(2) of title 28 of the United States Code, and the Bankruptcy Court may

enter a final order consistent with Article III of the United States Constitution.

C.      Eligibility for Relief.

        3.       The Debtors were and are entities eligible for relief under section 109 of the

Bankruptcy Code.

D.      Commencement and Joint Administration of These Chapter 11 Cases.

        4.       On the Petition Date, each Debtor commenced a chapter 11 case by filing a

voluntary petition for relief under chapter 11 of the Bankruptcy Code. By prior order of the

Bankruptcy Court, these chapter 11 cases were consolidated for procedural purposes only and are

being jointly administered pursuant to Bankruptcy Rule 1015 [Docket No. 51]. The Debtors have

operated their businesses and managed their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in

these chapter 11 cases. On May 23, 2024, the U.S. Trustee appointed the Official Committee of

Unsecured Creditors [Docket No. 120] (the “Committee”) in these chapter 11 cases.

E.      Judicial Notice.

        5.       The Bankruptcy Court takes judicial notice of the docket of these chapter 11 cases

maintained by the Clerk of the Bankruptcy Court, including all pleadings and other documents

filed, all orders entered, all hearing transcripts, all declarations, and all evidence and arguments

made, proffered, or adduced at the hearings held before the Bankruptcy Court during the pendency

of these chapter 11 cases.


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F.      Notice.

        6.        Due, timely, proper, and adequate notice of the Plan, the Claims Bar Date, and the

Combined Hearing, together with the deadlines for voting to accept or reject the Plan as well as

objecting to the Plan or opting out of the Releases (as defined herein), has been provided

substantially in accordance with the Scheduling Order and the Bar Date Order, as set forth in the

Voting Report, the Notice Affidavit, the Opt-Out Report, and the Bar Date Affidavits, respectively.

        7.        Such notice was appropriate and satisfactory based upon the facts and

circumstances of these chapter 11 cases and pursuant to sections 1125, 1126(b)(1), and 1128 of

the Bankruptcy Code, Bankruptcy Rules 2002, 3017, 3018, and 3020, and other applicable law

and rules. Because such transmittal and service were adequate and sufficient, no other or further

notice is necessary or shall be required, and due, proper, timely, and adequate notice of the

Combined Hearing has been provided in accordance with the Bankruptcy Code, the Bankruptcy

Rules, the N.D. Tex. L.B.R., and applicable non-bankruptcy law, rule, or regulation.

G.      Solicitation.

        8.        The Initial Plan, the Disclosure Statement, and the Ballot (collectively the

“Prepetition Solicitation Package”) were transmitted and served in compliance with the

Bankruptcy Code, the Bankruptcy Rules, including Bankruptcy Rules 3017 and 3018, the N.D.

Tex. L.B.R., the Prepetition Solicitation and Tabulation Procedures approved by the Bankruptcy

Court via the Scheduling Order, and all other applicable rules, laws, and regulations applicable to

such solicitation. Transmission and service of the Prepetition Solicitation Package was timely,

adequate, and sufficient. No further notice is required.

        9.        As set forth in the Voting Report, on May 9, 2024, prior to the Petition Date, the

Prepetition Solicitation Package was transmitted to and served on the eligible Holder of Class 3


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Prepetition Secured Party Claims, which was the only Class of Claims entitled to vote to accept or
                                         3
reject the Plan (the “Voting Class”).

        10.        The sole Holder of a Claim in the Voting Class received a Ballot. The form of the

Ballot adequately addressed the particular needs of these chapter 11 cases and was appropriate for

the Holder of Claims in the Voting Class. The instructions on the Ballot advised that for the Ballot

to be counted, the Ballot had to be properly executed, completed, and delivered to the Voting

Agent so that it was actually received by the Voting Agent on or before the Voting Deadline. The

period during which the Debtors solicited acceptance of the Plan was a reasonable period of time

for the Holder of Claims in the Voting Class to make an informed decision to accept or reject the

Plan.

        11.        The Debtors were not required to solicit votes from the Holders of Claims in

Class 1 (Other Priority Claims) or Class 2 (Other Secured Claims) (collectively, the “Unimpaired

Classes”), as each such Class is Unimpaired under the Plan and thus presumed to have accepted

the Plan pursuant to section 1126(f) of the Bankruptcy Code.

        12.        The Debtors were not required to solicit votes from the Holders of Claims in

Class 5 (Intercompany Claims) and Class 6 (Intercompany Interests), as the Holders of Claims or

Interests in such Classes are either Unimpaired or Impaired by the Plan, and accordingly, such

Holders are either presumed to have accepted the Plan pursuant to section 1126(f) of the

Bankruptcy Code or are not entitled to receive distributions on account of their Claims or Interests

under the Plan except as set forth in the Plan and, thus, are deemed to reject the Plan pursuant to

section 1126(g) of the Bankruptcy Code and, in either case, were not entitled to vote to accept or

reject the Plan.


3   See the Voting Report [Docket No. 30].
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        13.      The Debtors were not required to solicit votes from Holders of Claims or Interests

in Class 4 (General Unsecured Creditors) or Class 7 (KidKraft Intermediate Holdings, LLC

Interests), (collectively, the “Deemed Rejecting Classes”), as the Holders of Claims or Interests in

such Class are Impaired and not entitled to receive distributions on account of their Claims or

Interests under the Plan and, thus, are deemed to have rejected the Plan pursuant to section 1126(g)

of the Bankruptcy Code.

        14.      As described in and as evidenced by the Voting Report, the transmittal and service

of the Prepetition Solicitation Package (all of the foregoing, the “Solicitation”) was timely,

adequate, and sufficient under the circumstances and no other or further Solicitation was or shall

be required. The Solicitation complied with the Solicitation and Tabulation Procedures, was

appropriate and satisfactory based upon the circumstances of these chapter 11 cases, was

conducted in good faith and was in compliance with the provisions of the Bankruptcy Code, the

Bankruptcy Rules, the N.D. Tex. L.B.R., the Scheduling Order, and any other applicable rules,

laws, and regulations governing the adequacy of disclosure in connection with such Solicitation.

The applicable Released Parties and Exculpated Parties acted in good faith and in compliance with

the applicable provisions of the Bankruptcy Code and applicable non-bankruptcy law, rules, and

regulations, including with respect to solicitation of the acceptance or rejection of the Plan, and

are entitled to the protections of section 1125(e) of the Bankruptcy Code and all other applicable

protections and rights provided in the Plan and this Confirmation Order.

H.      Adequacy of the Disclosure Statement.

        15.      The Disclosure Statement (a) contains sufficient information of a kind necessary to

satisfy the disclosure requirements of all applicable non-bankruptcy rules, laws, and regulations,

including the Securities Act, as applicable, (b) contains “adequate information” (as such term is


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defined in section 1125(a) of the Bankruptcy Code and used in section 1126(b)(2) of the

Bankruptcy Code) with respect to the Debtors, the Plan, and the transactions contemplated therein,

and (c) is hereby approved on a final basis in all respects.

I.      Voting.

        16.      On the Petition Date, the Voting Report was filed with the Bankruptcy Court,

certifying the method and results of the Ballot tabulated for the Voting Class. As of the Voting

Deadline, 100% in number and 100% in dollar amount of the Holder of Claims in the Voting Class

that timely voted, voted to accept the Plan. As evidenced by the Voting Report, votes to accept or

reject the Plan were solicited and tabulated fairly, in good faith, and in a manner consistent with

the Bankruptcy Code, the Bankruptcy Rules, the N.D. Tex. L.B.R, and the Solicitation and

Tabulation Procedures.

J.      Plan Supplement.

        17.      The Debtors filed the Plan Supplement, consisting of: (i) the Purchase Agreement,

(ii) the Schedule of Assumed Executory Contracts and Unexpired Leases, (iii) the Schedule of

Retained Causes of Action, (iv) the Liquidation Analysis, (v) the Global Settlement Term Sheet,

(vi) the GUC Trust Agreement, and (vii) the GUC Settlement Opt-In Form.

        18.      All such materials are consistent with the terms of the Plan, and the filing and notice

of the Plan Supplement was proper and in accordance with the Plan, the Bankruptcy Code, the

Bankruptcy Rules, the N.D. Tex. L.B.R., and all applicable law, and no other or further notice is

or shall be required. All documents included in the Plan Supplement are integral to, part of, and

incorporated by reference into the Plan as if set forth in full therein. Subject to the terms of the

Plan, the Debtors reserve the right to and may alter, amend, update, or modify the Plan Supplement

before the Effective Date with the consent of the Prepetition Secured Parties; provided that any


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such alteration, amendment, update, or modification shall be in compliance with the Bankruptcy

Code, the Bankruptcy Rules, and the terms of this Confirmation Order.

K.      Modifications of the Plan.

        19.      Pursuant to and consistent with section 1127 of the Bankruptcy Code and

Bankruptcy Rule 3019, the Debtors proposed certain modifications to the Initial Plan as reflected

herein, in the Plan Supplement, and/or in the Plan filed with the Bankruptcy Court prior to entry

of this Confirmation Order (collectively, the “Plan Modifications”). Consistent with Bankruptcy

Rule 3019, the Plan Modifications do not (a) constitute material modifications of the Initial Plan

under section 1127 of the Bankruptcy Code, (b) cause the Plan to fail to meet the requirements of

sections 1122 or 1123 of the Bankruptcy Code, (c) materially and adversely change the treatment

of any Claims or Interests, (d) require re-solicitation of any Holders of any Claims or Interests, or

(e) require that the Holder of Claims in the Voting Class be afforded an opportunity to change its

previously cast acceptance of the Plan. Under the circumstances, the form and manner of notice

of the proposed Plan Modifications are adequate, no further solicitation is necessary or required,

and no other or further notice of the proposed Plan Modifications is necessary or required. In

accordance with section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, all Holders of

Claims who voted to accept the Initial Plan or who are conclusively presumed to have accepted

the Initial Plan are deemed to have accepted the Plan as modified by the Plan Modifications. The

Holder of Claims in the Voting Class is not permitted to change its vote as a consequence of the

Plan Modifications.

L.      Bankruptcy Rule 3016.

        20.      In accordance with Bankruptcy Rule 3016(a), the Plan is dated and identifies the

Debtors as the Plan proponents. The Debtors appropriately filed the Disclosure Statement with

the Bankruptcy Court, thereby satisfying Bankruptcy Rule 3016(b). The release, injunction, and
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exculpation provisions of the Plan are set forth in bold and with specific and conspicuous language,

thereby complying with Bankruptcy Rule 3016(c).

M.      Burden of Proof: Confirmation of the Plan.

        21.      The Debtors, as proponents of the Plan, have met their burden of proving the

applicable elements of sections 1129(a) and 1129(b) of the Bankruptcy Code by a preponderance

of the evidence, which is the applicable evidentiary standard for Confirmation. In addition, and to

the extent applicable, the Plan is confirmable under the clear and convincing evidentiary standard.

N.      Compliance with Bankruptcy Code Requirements: Section 1129(a)(1).

        22.      The Plan complies with all applicable provisions of the Bankruptcy Code as

required by section 1129(a)(1) of the Bankruptcy Code, including, more particularly:

                 (i)    Proper Classification: Sections 1122 and 1123(a)(1).

        23.      In addition to the Administrative Expense Claims (including Professional Fee

Claims) and Priority Tax Claims, which need not be classified, Article III of the Plan provides for

the separate classification of Claims and Interests into seven Classes at each Debtor (as applicable).

Valid business, factual, and legal reasons exist for the separate classification of such Classes of

Claims and Interests.      The classifications reflect no improper purpose and do not unfairly

discriminate between, or among, Holders of Claims or Interests. Each Class of Claims and

Interests contains only Claims or Interests that are substantially similar to other Claims or Interests

within that Class. The Plan therefore satisfies sections 1122 and 1123(a)(1) of the Bankruptcy

Code.

                 (ii)   Specified Unimpaired Classes: Section 1123(a)(2).

        24.      Article III of the Plan specifies that Claims in the following Classes are Unimpaired

under the Plan, thereby satisfying section 1123(a)(2) of the Bankruptcy Code:


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                                           Class Claim
                                                 or
                                                 Interest
                                           1     Other
                                                 Priority
                                                 Claims
                                           2     Other
                                                 Secured
                                                 Claims

                 (iii)   Specified Treatment of Impaired Classes: Section 1123(a)(3).

        25.      Article III of the Plan specifies that the Claims in the following Classes are

Impaired under the Plan, and describes the treatment of such Classes, thereby satisfying section

1123(a)(3) of the Bankruptcy Code:

                                        Class Claim or
                                              Interest
                                        3     Prepetition
                                              Secured
                                              Party Claims
                                        4     General
                                              Unsecured
                                              Claims
                                        5     Intercompany
                                              Claims
                                        6     Intercompany
                                              Interests
                                        7     KidKraft
                                              Intermediate
                                              Holdings,
                                              LLC Interests

                 (iv)    No Discrimination: Section 1123(a)(4).

        26.      Article III of the Plan provides for the same treatment by the Debtors for each Claim

or Interest in each respective Class unless the Holder of a particular Claim or Interest has agreed

to a less favorable treatment of such Claim or Interest in accordance with the Plan, thereby

satisfying section 1123(a)(4) of the Bankruptcy Code.



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                 (v)    Adequate Means for Plan Implementation: Section 1123(a)(5).

        27.      The Plan, including the various documents and agreements in the Plan Supplement,

provides adequate and proper means for implementation of the Plan, including, without limitation:

(a) the consummation of the Sale Transaction; (b) the general settlement of claims and interests;

(c) the creation of specific segregated accounts for Plan Distributions; (d) the wind down of

existing operations and corporate governance over time following the Effective Date; (e) the

creation and funding of the Wind Down Estate, and the appointment of the Wind Down

Administrator; (f) to the extent necessary, the sale and abandonment of assets by the Wind Down

Estate; (g) the creation and funding of the GUC Trust and the appointment of the GUC Trustee;

(h) the cancellation of certain existing securities, agreements, obligations, instruments, and

Interests; (i) the release of liens; (j) the continuation of existing director and officer liability

insurance; (k) the substitution of the Wind Down Estate or the Wind Down Administrator as the

party to any litigation; (l) the payment of Unpaid Employee Severance Obligations; (m) the

termination of any surviving obligations under the Restructuring Support Agreement; (n) the

execution, delivery, filing, or recording of all contracts, instruments, releases, and other

agreements or documents in furtherance of the Plan; (o) provisions governing the distributions

under the Plan, thereby satisfying section 1123(a)(5) of the Bankruptcy Code; and (p) the general

authority for the Debtors to take all actions necessary or appropriate to effectuate any transaction

described in, approved by, or necessary or appropriate to effectuate the Plan, as set forth more fully

in Article IV of the Plan.

                 (vi)   Voting Power of Equity Securities: Section 1123(a)(6).

        28.      All existing securities will be canceled pursuant to the Plan. The Debtors’ corporate

charters are deemed amended by this Confirmation Order to provide that no nonvoting equity


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securities will be issued and to otherwise comply with the requirements of section 1123(a)(6) of

the Bankruptcy Code.

                 (vii)   Designation of Directors and Officers: Section 1123(a)(7).

        29.      Article IV.A.17.b. of the Plan provides that, as of the Effective Date, the term of

the current members of the board of directors of KidKraft and its Debtor Affiliates shall expire

automatically, and each person serving as a director of KidKraft and each of its Debtor Affiliates

shall be removed and shall be deemed to have resigned and cease to serve automatically. The

identities of the Wind Down Administrator and the GUC Trustee, to the extent known, have been

or will be disclosed in the Plan Supplement prior to the Effective Date. To the extent that section

1123(a)(7) of the Bankruptcy Code applies to the Wind Down Administrator or the GUC Trustee,

the Wind Down Administrator or the GUC Trustee was appointed in accordance with the interests

of creditors and with public policy, and, therefore, satisfies section 1123(a)(7) of the Bankruptcy

Code.

                 (viii) Impairment / Unimpairment of Classes: Section 1123(b)(1).

        30.      The Plan is consistent with section 1123(b)(1) of the Bankruptcy Code.

Specifically, Article III of the Plan impairs or leaves Unimpaired each Class of Claims and

Interests.

                 (ix)    Assumption and Rejection of Executory Contracts and Unexpired Leases:
                         Section 1123(b)(2).

        31.      The Plan is consistent with section 1123(b)(2) of the Bankruptcy Code. Article V.A

of the Plan provides for the rejection of the Debtors’ Executory Contracts and Unexpired Leases

on the Effective Date. In accordance with the provisions of sections 365 and 1123(b)(2) of the

Bankruptcy Code, except as otherwise provided in the Plan, the Plan Supplement, or this

Confirmation Order, all Executory Contracts or Unexpired Leases shall be rejected as of the

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Effective Date without the need for any further notice to or action, order, or approval of the

Bankruptcy Court, unless such Executory Contract or Unexpired Lease: (i) is designated on a

schedule of assumed contracts by the Purchaser; (ii) is designated as a Transferred Contract

pursuant to the Purchase Agreement on the Schedule of Assumed Executory Contracts and

Unexpired Leases in the Plan Supplement; (iii) was previously assumed or rejected by the Debtors,

pursuant to a Final Order of the Bankruptcy Court; (iv) previously expired or terminated pursuant

to its own terms or by agreement of the parties thereto; (v) is the subject of a motion to reject filed

by the Debtors on or before the Confirmation Date; or (vi) is subject to a motion to reject pursuant

to which the requested effective date of such rejection is after the Effective Date.

                 (x)   Settlement, Releases, Exculpation, Injunction, and Preservation of Claims
                       and Causes of Action: Section 1123(b)(3).

        32.      The Plan is consistent with section 1123(b)(3) of the Bankruptcy Code.             In

accordance with section 363 of the Bankruptcy Code and Bankruptcy Rule 9019, and in

consideration of the distributions, settlements, and other benefits provided under the Plan, except

as stated otherwise in the Plan, the provisions of the Plan constitute a good-faith compromise of

all Claims, Interests, and controversies relating to the contractual, subordination, and other legal

rights that a Holder of a Claim or Interest may have with respect to any Allowed Claim or Interest,

or any distribution to be made on account of such Allowed Claim or Interest. The compromise

and settlement of such Claims and Interests embodied in the Plan are in the best interests of the

Debtors, the Estates, and all Holders of Claims and Interests, and are fair, equitable, and

reasonable. The foregoing includes, without limitation, the Global Settlement (as defined below)

and the corresponding settlement of Claims, Causes of Action, and controversies embodied in

Article IV.C of the Plan.



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         33.     Article IV.C of the Plan describes the terms of the Global Settlement between the

Global Settlement Parties, which provides the potential for a recovery to Holders of Allowed Class

4 General Unsecured Claims who timely make a GUC Settlement Opt-In Election. The provisions

of the Global Settlement constitute a good faith compromise and settlement among the Global

Settlement Parties of all Claims, Causes of Action, Interests, and controversies among such parties,

are in consideration of the value provided to the Estates by the Global Settlement Parties pursuant

to the Global Settlement and are fair and equitable and in the best interests of the Estates and their

creditors. The GUC Settlement Opt-In Election, including the GUC Settlement Opt-In Form and

the procedures set forth therein, are fair and consistent with the Global Settlement. The Plan shall

be deemed a motion to approve the Global Settlement, including the GUC Settlement Opt-In Form

and related procedures, as a good faith compromise and settlement of all of the Claims, Interests,

Causes of Action, and controversies described in the foregoing sentence pursuant to sections 363

and 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019 (as applicable). Entry of this

Confirmation Order constitutes the Bankruptcy Court’s approval of the Global Settlement, as well

as a finding by the Bankruptcy Court that the Global Settlement is in the best interests of the

Debtors, their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. If

a Global Settlement Party is in breach of the terms of the Global Settlement, the parties that are

not in breach shall not be obligated to perform any obligations for the benefit of such breaching

party.

         34.     Articles VIII.E and IV.C of the Plan describes certain releases granted by the

Debtors and their Estates (the “Debtor Releases”). The Debtor Releases are granted in exchange

for the good and valuable consideration provided by the Released Parties. The Debtors have

satisfied the business judgment standard with respect to the propriety of the Debtor Releases. For


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the reasons set forth on the record of these chapter 11 cases and the evidence proffered, admitted,

or adduced at or prior to the Combined Hearing, such releases are a necessary and integral part of

the Plan. The Debtor Releases are “fair and equitable” and “in the best interests of the estate” and

the Holders of Claims and Interests considering (a) the probability of success in litigation of the

released Claims and Causes of Action given uncertainty in fact and law with respect to such Claims

and Causes of Action; (b) the complexity and likely duration and expense of litigating the released

Claims and Causes of Action; and (c) the arm’s-length negotiations that produced the settlements

embodied in the Plan, including the Global Settlement. Additionally, the Debtor Releases are:

(x) a good-faith settlement and compromise of the Claims and Causes of Action released by

Articles VIII.E and IV.C of the Plan; (y) given and made, after due notice and opportunity for

hearing; and (z) a bar to any of the Debtors, the Wind Down Estate, the Wind Down Administrator,

the GUC Trust, or the GUC Trustee (as applicable) or any other entity on behalf of the Debtors’

estates asserting any Claim or Cause of Action released by Article VIII.E or IV.C of the Plan.

        35.      Article VIII.F of the Plan describes certain releases granted by the Releasing Parties

(the “Releases”). The Releases provide finality for the Debtors, the Wind Down Estate, the Wind

Down Administrator, the GUC Trustee, and the Released Parties (as applicable) regarding the

parties’ respective historic relationships with the Debtors, obligations under the Plan, and with

respect to the Wind Down Estate and the GUC Trust. The Ballot unambiguously stated that the

Plan contains the Releases, set forth the terms of the Releases, and provided the option for the

Holder of the Claim in the Voting Class to elect to opt-out of granting the Releases by indicating

such election on the Ballot. The Notice of Non-Voting Status sent to all Holders of Claims or

Interests not entitled to vote on the Plan (collectively, the “Non-Voting Classes”) similarly and

unambiguously included information regarding the Releases and detailed the process by which


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Holders of Claims and/or Interests in the Non-Voting Classes could opt-out of granting the

Releases, including by providing a form by which such Holders could indicate that they wished to

opt-out of granting the Releases and providing instructions for, alternatively, opting-out of

granting the Releases electronically through the Debtors’ case website. The Combined Hearing

Notice sent to Holders of Claims and Interests included the terms of the Releases and an

explanation of how to object to the Plan. In addition, the Combined Hearing Notice advised careful

review of the release, exculpation, and injunction provisions of the Plan and emphasized in bold

and capitalized typeface that any party who opposed the Plan, including the release, exculpation,

or injunction provisions set forth therein, should timely file an objection to the Plan in accordance

with the Combined Hearing Notice.

        36.      The Releases are (a) consensual; (b) specific in language; (c) integral to the Plan;

(d) a condition of the settlements embodied in the Plan; (e) in exchange for good and valuable

consideration provided by the Released Parties; (f) not violative of the Bankruptcy Code or any

applicable non-bankruptcy law; and (g) a bar to any of the Releasing Parties asserting any Claim

or Cause of Action released pursuant to the Releases. The Releases are consensual because all

parties in interest, including all Releasing Parties, were provided with extensive and sufficient

notice of the chapter 11 cases, the Plan, the deadline to object to Confirmation of the Plan, and the

process for opting-out of giving the Releases and the consequences for failing to timely do so, and

all such parties were properly informed that the Plan contained release provisions that could affect

such parties’ rights.

        37.      The Releases are sufficiently specific as to put the Releasing Parties on notice of

the nature of the released Claims and Causes of Action, and they are appropriately tailored under

the facts and circumstances of these chapter 11 cases. The Releases are conspicuous and


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emphasized with boldface type in the Plan, the Disclosure Statement, the Ballot, the Notice of

Non-Voting Status, and the Combined Hearing Notice.

        38.      The Releases are integral to the Plan because they, inter alia, facilitated

participation in both the formulation of the Plan and the chapter 11 process generally and were

critical in incentivizing the parties to support the Plan. As such, the Releases offer certain

protections to parties that participated constructively in the Debtors’ chapter 11 process by, among

other things, supporting the Plan.

        39.      The Releases are consistent with established practice in this jurisdiction and others

because they are, among other things: (a) consensual; (b) in the best interests of the Debtors, their

Estates, and all Holders of Claims and Interests; (c) in exchange for the good and valuable

consideration provided by the Released Parties; (d) fair, equitable, and reasonable; (e) given and

made after due notice and opportunity for hearing; and (f) a bar to any of the Releasing Parties

asserting any Claim or Cause of Action released pursuant to the Releases.

        40.      The exculpation, described in Article VIII.G of the Plan (the “Exculpation”), is

appropriate under applicable law, including In re Highland Capital Mgmt., L.P., 48 F.4th 419

(5th Cir. 2022), because it was proposed in good faith and is appropriately limited in scope. The

Exculpated Parties reasonably relied upon the Exculpation provisions as a material inducement to

engage in postpetition work for the Debtors that culminated in the Plan. The record in the chapter

11 cases supports that the Exculpation is appropriately tailored to protect the Exculpated Parties

from unnecessary litigation and contains appropriate carve-outs for actions determined by a Final

Order to have constituted actual fraud, willful misconduct, or gross negligence. For the avoidance

of doubt, nothing in this Confirmation Order or Article VIII.G of the Plan shall exculpate any




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Exculpated Party from any Causes of Action specifically enumerated in the List of Retained

Causes of Action.

        41.      The injunction provision set forth in Article VIII.H of the Plan is necessary to

implement, preserve, and enforce the Debtors’ discharge, the Debtor Releases, the Releases, and

the Exculpation and, by extension, the compromise and settlement upon which the Plan is founded,

and is narrowly tailored to achieve this purpose. Subject in all respects to Article XI of the Plan,

no Entity or Person may commence or pursue a Claim or Cause of Action of any kind against any

Released Party or Exculpated Party that arose or arises from, in whole or in part, the chapter 11

cases, the CCAA Recognition Proceedings, the Debtors (including the governance, management,

ownership, and operation thereof), the Wind Down Estate, the Plan, the Plan Supplement, the

Disclosure Statement, the Restructuring Support Agreement, the Sale Process, the Purchase

Agreement, or any contract, instrument, release, or other agreement or document created or entered

into in connection with the Restructuring Support Agreement, the Plan, the Disclosure Statement,

the chapter 11 cases, the CCAA Recognition Proceedings, the pursuit of Confirmation, the pursuit

of Consummation, the administration and implementation of the Plan, including the distribution

of property under the Plan, or any other related agreement, or upon any other act or omission,

transaction, agreement, event, or other occurrence taking place on or before the Effective Date

related or relating to the foregoing, or any Claim or Cause of Action subject to Article VIII.E,

VIII.F, VIII.B, or VIII.G of the Plan, without the Bankruptcy Court (a) first determining, after

notice and a hearing, that such Claim or Cause of Action represents a colorable Claim or Cause of

Action of any kind, including negligence, bad faith, criminal misconduct, willful misconduct,

fraud, or gross negligence against a Released Party or Exculpated Party and (b) specifically

authorizing such entity or person to bring such Claim or Cause of Action against any such Released


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Party or Exculpated Party. The Bankruptcy Court shall have sole and exclusive jurisdiction to

determine whether a Claim or Cause of Action is colorable and, only to the extent legally

permissible and as provided for in Article XI of the Plan, shall have jurisdiction to adjudicate the

underlying colorable Claim or Cause of Action.

        42.      Article IV.A.20 of the Plan appropriately provides that in accordance with

section 1123(b) of the Bankruptcy Code, but subject in all respects to Article VIII of the Plan, the

Wind Down Estate will retain, and may enforce, all rights to commence and pursue, as appropriate,

any and all Causes of Action, other than Causes of Action that are GUC Trust Assets, whether

arising before or after the Petition Date, and any other actions specifically enumerated in the List

of Retained Causes of Action, and such rights to commence, prosecute, or settle such Causes of

Action shall be preserved notwithstanding the occurrence of the Effective Date. The provisions

regarding the preservation of Causes of Action in the Plan are appropriate, fair, equitable, and

reasonable, and are in the best interests of the Debtors, the Estates, and Holders of Claims and

Interests.

        43.      The release and discharge of all mortgages, deeds of trust, Liens, pledges, or other

security interests against the property of the Estates described in Article VIII.D of the Plan

(the “Lien Release”) is necessary to implement the Plan. The provisions of the Lien Release are

appropriate, fair, equitable, and reasonable and are in the best interests of the Debtors, the Estates,

and Holders of Claims and Interests.

                 (xi)   Distribution of Sale Proceeds: Section 1123(b)(4)

        44.      In accordance with section 1123(b)(4) of the Bankruptcy Code, Article IV.A of the

Plan provides for (i) the sale of substantially all of the Debtors’ Assets under the Sale Transaction

and the transfer of Wind Down Estate Assets, including any cash proceeds of the Sale Transaction,


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and all GUC Trust Assets (solely until the GUC Trust Asset Transfer Occurs) not distributed

pursuant to the Plan on the Effective Date, to the Wind Down Estate on the Effective Date and

(ii) the creation of the Wind Down Estate to effectuate the liquidation of all assets contributed to

the Wind Down Estate and the distribution of proceeds to creditors in accordance with the terms

of the Plan. Wind Down Estate Assets are (i) any Assets of the Debtors’ Estates that are not GUC

Trust Assets and not sold pursuant to the Sale Transaction, including, but not limited to, the

Excluded Assets, Interests in the Debtors’ non-Debtor affiliates, and any Cause of Action

specifically enumerated in the List of Retained Causes of Action which are not GUC Trust Assets

and (ii) Cash in the amount set forth in the Post-Sale Reserve; provided that proceeds of any Wind

Down Estate Assets, including without limitation, Excluded Assets and such Retained Causes of

Action shall become Distributable Value. Article IV.C of the Plan provides for the creation of a

GUC Trust, which shall be funded with GUC Trust Assets, which GUC Trust Assets may be

funded with cash proceeds of the Sale.

                 (xii)   Modification of Rights: Section 1123(b)(5).

        45.      The Plan modifies the rights of Holders of Claims or Interests, as applicable, in

Class 3 (Prepetition Secured Party Claims), Class 4 (General Unsecured Claims), Class 5

(Intercompany Claims), Class 6 (Intercompany Interests), and Class 7 (KidKraft Intermediate

Holdings, LLC Interests), as permitted by section 1123(b)(5) of the Bankruptcy Code.

                 (xiii) Additional Plan Provisions: Section 1123(b)(6).

        46.      The other discretionary provisions of the Plan are appropriate and consistent with

the applicable provisions of the Bankruptcy Code, including provisions for (a) distributions to

Holders of Claims and Interests, (b) resolution of Disputed Claims, (c) allowance of certain

Claims, and (d) retention of Court jurisdiction, thereby satisfying section 1123(b)(6) of the


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Bankruptcy Code. The failure to address any provisions of the Bankruptcy Code specifically in

this Confirmation Order shall not diminish or impair the effectiveness of this Confirmation Order.

                 (xiv)   Cure of Defaults: Section 1123(d).

        47.      The Debtors have cured, or provided adequate assurance that the Debtors will cure,

defaults (if any) under or relating to each of the Executory Contracts that are being assumed and

assigned to the Purchaser pursuant to the Sale Approval Order and the Plan. In addition, the

Debtors’ assigns to such Executory Contracts have provided adequate assurance of future

performance under such Executory Contracts being assumed and assigned.

O.      Debtor Compliance with the Bankruptcy Code: Section 1129(a)(2).

        48.      The Debtors have complied with the applicable provisions of the Bankruptcy Code

and, thus, satisfied the requirements of section 1129(a)(2) of the Bankruptcy Code. Specifically,

each Debtor:

                 a. is an eligible debtor under section 109 of the Bankruptcy Code, and a proper
                    proponent of the Plan under section 1121(a) of the Bankruptcy Code;

                 b. has complied with applicable provisions of the Bankruptcy Code, except as
                    otherwise provided or permitted by orders of the Bankruptcy Court; and

                 c. complied with the applicable provisions of the Bankruptcy Code, the
                    Bankruptcy Rules, the N.D. Tex. L.B.R., any applicable non-bankruptcy law,
                    rule and regulation, the Scheduling Order, and all other applicable law, in
                    transmitting the Prepetition Solicitation Package and related documents and
                    notices, and in soliciting and tabulating the votes on the Plan.

P.      Plan Proposed in Good Faith: Section 1129(a)(3).

        49.      The Debtors have negotiated, developed, and proposed the Plan (including the Plan

Supplement and all other documents and agreements necessary to effectuate the Plan) in good faith

and not by any means forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy

Code. In so determining, the Bankruptcy Court has considered the facts and record of these chapter

11 cases, the Disclosure Statement, and evidence proffered, admitted, or adduced at or prior to the
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Combined Hearing, and examined the totality of the circumstances surrounding the filing of these

chapter 11 cases, the Plan, and the process leading to Confirmation. The Debtors’ chapter 11 cases

were filed, and the Plan was proposed, with the legitimate purpose of allowing the Debtors to

consummate the Sale Transaction and to distribute the proceeds from the sale of substantially all

of the Debtors’ Assets. The Plan (including all documents necessary to effectuate the Plan) and

the Plan Supplement were negotiated in good faith and at arm’s-length among the Debtors and

their key stakeholders, including the Prepetition Secured Parties, the DIP Secured Parties, the

Purchaser, MidOcean, and the Committee. Additionally, compromises and settlements embodied

in the Plan, including the Global Settlement, were negotiated in good faith and at arm’s-length and

reflect the best possible compromises and settlements that could be reached given the facts and

circumstances surrounding the Debtors and these chapter 11 cases.              Further, the Plan’s

classification, indemnification, exculpation, release, and injunction provisions have been

negotiated in good faith and at arm’s-length, are consistent with sections 105, 1122, 1123(b)(3)(A),

1123(b)(6), 1129, and 1142 of the Bankruptcy Code, and are each integral to the Plan, and

necessary for the Debtors’ successful implementation of the Plan.

Q.      Payment for Services or Costs and Expenses: Section 1129(a)(4).

        50.      The Debtors have satisfied section 1129(a)(4) of the Bankruptcy Code. Any

payment made or to be made by the Debtors for services or for costs and expenses of the Debtors’

professionals in connection with these chapter 11 cases, or in connection with the Plan and incident

to these chapter 11 cases, has been approved by, or is subject to the approval of, the Bankruptcy

Court as reasonable. All such costs and expenses of the Debtors’ Professionals shall be paid in

accordance with the Plan, and all other estimated costs and expenses of the Debtors’ Professionals

shall be escrowed in the Professional Fee Escrow Account no later than the Effective Date.


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R.      Directors, Officers, and Insiders: Section 1129(a)(5).

        51.      The Debtors have complied with the requirements of section 1129(a)(5) of the

Bankruptcy Code. To the extent known, the Plan Supplement discloses, or will disclose prior to

the Effective Date, the identity and affiliations of the individuals or entities proposed to serve as

the Wind Down Administrator and the GUC Trustee. The proposed Wind Down Administrator

and GUC Trustee are qualified, and the appointment to such positions are consistent with the

interests of the Holders of Claims and Interests and with public policy.

S.      No Rate Changes: Section 1129(a)(6).

        52.      Section 1129(a)(6) of the Bankruptcy Code is not applicable to these chapter 11

cases. The Plan proposes no rate change subject to the jurisdiction of any governmental regulatory

commission.

T.      Best Interest of Creditors: Section 1129(a)(7).

        53.      The Plan satisfies section 1129(a)(7) of the Bankruptcy Code. The liquidation

analysis attached to the Amended Plan Supplement as Exhibit D and described in the Moore

Confirmation Declaration and the other evidence related thereto in support of the Plan that was

proffered, admitted, or adduced at the Combined Hearing: (a) are reasonable, persuasive, credible,

and accurate as of the dates such analyses or evidence was prepared, presented, or proffered;

(b) utilize reasonable and appropriate methodologies and assumptions; (c) have not been

controverted by other evidence; and (d) establish that each Holder of an Impaired Claim or Interest

against a Debtor either has accepted the Plan or will receive or retain under the Plan, on account

of such Claim or Interest, property of a value, as of the Effective Date, that is not less than the

amount that such Holder would receive or retain if such Debtors were hypothetically liquidated

under chapter 7 of the Bankruptcy Code as of the Effective Date.


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U.      Acceptance by Certain Classes: Section 1129(a)(8).

        54.      The Unimpaired Classes are Unimpaired by the Plan and, accordingly, Holders of

Claims in such Classes are conclusively presumed to have accepted the Plan pursuant to section

1126(f) of the Bankruptcy Code. The Voting Class is Impaired and has voted to accept the Plan,

as established by the Voting Report.

        55.      The Deemed Rejecting Classes are Impaired and deemed to reject the Plan,

pursuant to section 1126(g) of the Bankruptcy Code, and are not entitled to vote to accept or reject

the Plan. Holders of Claims in the Deemed Rejecting Classes will not receive or retain any

property on account of their Claims or Interests. Therefore, the Plan does not satisfy the

requirements of section 1129(a)(8) with respect to the Deemed Rejecting Classes.

Notwithstanding the foregoing, the Plan is confirmable because it satisfies sections 1129(a)(10) of

the Bankruptcy Code because Class 3 voted to accept the Plan, and, with respect to the Deemed

Rejecting Classes, section 1129(b) of the Bankruptcy Code is satisfied as set forth below.

V.      Treatment of Claims Entitled to Priority Under Section 507(a) of the Bankruptcy
        Code: Section 1129(a)(9).

        56.      The treatment of Allowed Administrative Expense Claims, Allowed Professional

Fee Claims, DIP Claims, Adequate Protection Claims, Priority Tax Claims, and statutory fees

imposed by 28 U.S.C. § 1930 under Article II of the Plan, and of Allowed Other Priority Claims

under Article III of the Plan, satisfies the requirements of, and complies in all respects with, section

1129(a)(9) of the Bankruptcy Code.

W.      Acceptance by At Least One Impaired Class: Section 1129(a)(10).

        57.      The Plan satisfies the requirements of section 1129(a)(10) of the Bankruptcy Code.

As evidenced by the Voting Report, Class 3, which is Impaired, voted to accept the Plan in

accordance with section 1126 of the Bankruptcy Code, determined without including any

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acceptance of the Plan by any insider (as that term is defined in section 101(31) of the Bankruptcy

Code).

X.       Feasibility: Section 1129(a)(11).

         58.     The Plan satisfies the requirements of section 1129(a)(11) of the Bankruptcy Code.

The evidence supporting Confirmation of the Plan proffered, admitted, or adduced by the Debtors

at or prior to the Combined Hearing: (a) is reasonable, persuasive, credible, and accurate as of the

dates such evidence was prepared, presented, or proffered; (b) utilizes reasonable and appropriate

methodologies and assumptions; (c) has not been controverted by other evidence; (d) establishes

that the Plan is feasible and Confirmation of the Plan is not likely to be followed by the liquidation,

or the need for further financial reorganization of the Debtors or any successor to the Debtors under

the Plan, including the Wind Down Estate, except as provided for under the Plan; and

(e) establishes that the Wind Down Estate will have sufficient funds available to meet its

obligations under the Plan, including funding of the Post-Sale Reserve and Wind Down Estate.

Y.       Payment of Fees: Section 1129(a)(12).

         59.     The Plan satisfies the requirements of section 1129(a)(12) of the Bankruptcy Code.

Article II.F of the Plan provides for the payment of all fees payable by the Debtors under

28 U.S.C. § 1930(a).

Z.       Continuation of Employee Benefits: Section 1129(a)(13).

         60.     The Debtors maintain no programs providing for employee retirement benefits, as

defined in section 1114 of the Bankruptcy Code.           Accordingly, section 1129(a)(13) of the

Bankruptcy Code is not applicable.

AA.      Non-Applicability of Certain Sections: 1129(a)(14), (15), and (16).

         61.     Sections 1129(a)(14), 1129(a)(15), and 1129(a)(16) of the Bankruptcy Code do not

apply to these chapter 11 cases. The Debtors (a) are not required by a judicial or administrative
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order, or by statute, to pay a domestic support obligation, (b) are not individuals, and (c) are each

a moneyed, business, or commercial corporation.

BB.     “Cram Down” Requirements: Section 1129(b).

        62.      The Plan satisfies the requirements of section 1129(b) of the Bankruptcy Code.

Notwithstanding the fact that Class 4 (General Unsecured Claims), Class 5 (Intercompany Claims),

Class 6 (Intercompany Interests), and Class 7 (KidKraft Intermediate Holdings, LLC Interests) are

deemed to reject the Plan, the Plan may be confirmed pursuant to section 1129(b) of the

Bankruptcy Code. The evidence in support of the Plan that was proffered, admitted, or adduced

at or prior to the Combined Hearing is reasonable, persuasive, credible, and accurate, has not been

controverted by other evidence, and establishes that the Plan satisfies the requirements of section

1129(b) of the Bankruptcy Code.        First, all of the requirements of section 1129(a) of the

Bankruptcy Code other than section 1129(a)(8) have been met. Second, the Plan is fair and

equitable with respect to such Classes. The Plan has been proposed in good faith, is reasonable,

and meets the requirements that (a) no Holder of any Claim or Interest that is junior to each such

Classes will receive or retain any property under the Plan on account of such junior Claim or

Interest and (b) no Holder of a Claim or Interest in a Class senior to such Classes is receiving more

than 100% on account of its Claim. Third, the Plan does not discriminate unfairly with respect to

such Classes because similarly situated Holders of Claims and Interests will receive substantially

similar treatment on account of their Claims and Interests irrespective of Class. Accordingly, the

Plan satisfies the requirement of section 1129(b)(1) and (2) of the Bankruptcy Code. The Plan

may therefore be confirmed despite the fact that not all Impaired Classes have voted to accept the

Plan.




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CC.     Only One Plan: Section 1129(c).

        63.      The Plan satisfies the requirements of section 1129(c) of the Bankruptcy Code. The

Plan is the only chapter 11 plan filed with respect to each Debtor in each of these chapter 11 cases.

DD.     Principal Purpose of the Plan: Section 1129(d).

        64.      The Plan satisfies the requirements of section 1129(d) of the Bankruptcy Code. The

principal purpose of the Plan is not the avoidance of taxes or the avoidance of the application of

section 5 of the Securities Act.

EE.     Not Small Business Cases: Section 1129(e).

        65.      These chapter 11 cases are not small business cases, and accordingly

section 1129(e) of the Bankruptcy Code is inapplicable in these chapter 11 cases.

FF.     Good Faith Solicitation: Section 1125(e).

        66.      Based on the record before the Bankruptcy Court in these chapter 11 cases,

including evidence proffered, admitted, or adduced at or prior to the Combined Hearing, the

Debtors and the other Exculpated Parties (i) have acted in “good faith” within the meaning of

section 1125(e) of the Bankruptcy Code in compliance with the applicable provisions of the

Bankruptcy Code, Bankruptcy Rules, the N.D. Tex. L.B.R., the Solicitation and Tabulation

Procedures, and any applicable non-bankruptcy law, rule, or regulation governing the adequacy of

disclosure in connection with the development of the Plan, all their respective activities relating to

the solicitation of acceptances to the Plan and their participation in the activities described in

section 1125 of the Bankruptcy Code, and (ii) shall be deemed to have participated in good faith

and in compliance with the applicable provisions of the Bankruptcy Code in the offer and issuance

of any securities under the Plan, and therefore are not, and on account of such offer, issuance, and

solicitation will not be, liable at any time for the violation of any applicable law, rule, or regulation

governing the solicitation of acceptances or rejections of the Plan or the offer and issuance of the
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securities under the Plan, and are entitled to the protections afforded by section 1125(e) of the

Bankruptcy Code and the Exculpation set forth in Article VIII.G of the Plan.

GG.     Satisfaction of Confirmation Requirements.

        67.      Based upon the foregoing, all other pleadings, documents, exhibits, statements,

declarations, and affidavits filed in connection with confirmation of the Plan, and all testimony,

evidence, and arguments made, proffered, admitted, or adduced at or prior to the Combined

Hearing, the Plan satisfies the requirements for Confirmation set forth in section 1129 of the

Bankruptcy Code.

HH.     Likelihood of Satisfaction of Conditions Precedent to the Effective Date.

        68.      Without limiting or modifying the rights of any party set forth in Article X.A or

Article X.B of the Plan, each of the conditions precedent to the Effective Date, as set forth in

Article IX.B of the Plan, has been or is reasonably likely to be satisfied or waived in accordance

with Article IX.C of the Plan.

 II.     Implementation; Binding and Enforceable.

        69.      The terms of the Plan, including the Plan Supplement, and all exhibits and

schedules thereto, and all other documents filed in connection with the Plan, and/or executed or to

be executed in connection with the transactions contemplated by the Plan and all amendments and

modifications of any of the foregoing made pursuant to the provisions of the Plan governing such

amendments and modifications (collectively, the “Plan Documents”) are incorporated by

reference and constitute essential elements of the Plan and this Confirmation Order.

Consummation of each such Plan Document is in the best interests of the Debtors, the Debtors’

Estates, and Holders of Claims and Interests, and such Plan Documents are hereby approved. The

Debtors have exercised reasonable business judgment in determining to enter into the Plan

Documents, and the Plan Documents have been negotiated in good faith, at arm’s-length, are fair
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and reasonable, are supported by reasonably equivalent value and fair consideration, and shall,

upon completion of documentation and execution, subject to the occurrence of the Effective Date,

be valid, binding, and enforceable agreements and not be in conflict with any federal or state law.

The Plan and the Plan Documents, subject to the occurrence of the Effective Date, shall bind any

Holder of a Claim or Interest and such Holder’s respective successors and assigns, whether or not

the Claim or Interest is Impaired under the Plan, whether or not such Holder has accepted the Plan,

and whether or not such Holder is entitled to a distribution under the Plan. The Plan and the Plan

Documents constitute legal, valid, binding, and authorized obligations of the respective parties

thereto and shall be enforceable in accordance with their terms. Pursuant to section 1142(a) of the

Bankruptcy Code, the Plan and the Plan Documents shall apply and be enforceable

notwithstanding any otherwise applicable non-bankruptcy law, rule, or regulation.

JJ.     Settlements Embodied in the Plan Satisfy Bankruptcy Rule 9019.

        70.      All of the settlements and compromises pursuant to and in connection with the Plan

or incorporated by reference into the Plan comply with the requirements of section 1123(b)(3) of

the Bankruptcy Code and Bankruptcy Rule 9019. Pursuant to Bankruptcy Rule 9019 and in

consideration for the benefits provided under the Plan, any and all compromise and settlement

provisions of the Plan constitute good-faith compromises, are in the best interests of the Debtors,

the Debtors’ Estates, and all Holders of Claims and Interests, and are fair, equitable, and

reasonable.      The foregoing includes, without limitation, the Global Settlement and the

corresponding settlement of Claims, Causes of Action and controversies embodied in Article IV.C

of the Plan.

KK.     GUC Trust Agreement.

        71.      The Debtors have exercised sound business judgment in determining to enter into

the GUC Trust Agreement and have provided adequate notice thereof. The GUC Trust Agreement
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has been negotiated in good faith and at arm’s length and is deemed to have been made in good

faith and for legitimate business purposes. The terms and conditions of the GUC Trust Agreement

are fair and reasonable.

LL.     Authority to Pursue, Settle, or Abandon Retained Causes of Action.

        72.      All Retained Causes of Action are reserved and preserved and shall not be impacted

or affected in any way by deemed consolidation of the estates. From and after the Effective Date,

except as otherwise set forth in Article VIII of the Plan or transferred to the GUC Trust in

accordance with the Plan, prosecution and settlement of all Retained Causes of Action shall be the

sole responsibility of the Wind Down Administrator pursuant to the Plan, the Confirmation Order.

From and after the Effective Date, the Wind Down Administrator shall retain and may enforce any

claims, demands, rights, and Causes of Action that the Debtors’ Estates may hold. The Wind

Down Administrator may pursue any such retained claims, demands, rights, or Causes of Action,

as appropriate, in accordance with the best interests of the beneficiaries of the Wind Down Estate

as the sole representative of the Estates pursuant to section 1123(b)(3) of the Bankruptcy Code.

MM. Restructuring Support Agreement.

        73.      The Restructuring Support Agreement has been negotiated in good faith and at

arm’s length and is deemed to have been made in good faith and for legitimate business purposes.

The terms and conditions of the Restructuring Support Agreement are fair and reasonable. Any

surviving obligations under the Restructuring Support Agreement shall terminate on a final basis

upon the Effective Date.

NN.     Good Faith.

        74.      The Debtors, the Prepetition Secured Parties, the DIP Secured Parties, the

Purchaser, MidOcean, the Committee, and other Released Parties, the Exculpated Parties, and their

respective successors, assigns, predecessors, control persons, affiliates, directors, officers,
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members, managers, shareholders, partners, employees, attorneys, investment bankers, advisors

and agents, as applicable, acted in good faith and will be acting in good faith if they proceed to:

(a) consummate the Plan and the agreements, settlements, transactions, and transfers contemplated

thereby in accordance with the Plan and the Plan Documents; and (b) take the actions authorized

and directed by this Confirmation Order. The entry of the Confirmation Order shall constitute the

Bankruptcy Court’s finding and determination that (a) each Released Party’s in-court or out-of-

court efforts to develop, negotiate, and propose the Plan were, with respect to each other Released

Party and any other Person, in good faith and not by any means forbidden by law and (b) the

settlements reflected in the Plan are (i) in the best interests of the Debtors and their Estates, (ii)

fair, equitable, and reasonable, and (iii) approved by the Bankruptcy Court pursuant to sections

105(a) and 363 of the Bankruptcy Code and Bankruptcy Rule 9019.

OO.     Retention of Jurisdiction.

        75.      The Bankruptcy Court may properly, and upon the Effective Date shall, retain

exclusive jurisdiction over all matters arising in or related to, these chapter 11 cases, including the

matters set forth in Article XI of the Plan and section 1142 of the Bankruptcy Code. The

transactions contemplated as part of the reorganization in these cases should not be subject to any

stay, and thus this Confirmation Order should not be subject to any stay under Bankruptcy Rule

3020(e) or any other Bankruptcy Rules such as Bankruptcy Rules 6004 and 6006, in each and

every case, to the extent applicable.

                                              ORDER

        IT IS ORDERED, ADJUDGED, DECREED, AND DETERMINED THAT:

        1.       Findings of Fact and Conclusions of Law. The findings of fact and conclusions

of law set forth herein and on the record at the Combined Hearing are hereby incorporated by

reference as though fully set forth herein and shall constitute findings of fact and conclusions of
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law pursuant to Bankruptcy Rule 7052, made applicable herein by Bankruptcy Rule 9014. To the

extent that any finding of fact is determined to be a conclusion of law, it shall be deemed so, and

vice versa.

        2.       Approval of Disclosure Statement. The Disclosure Statement (i) contains

adequate information of a kind generally consistent with the disclosure requirements of all

applicable non-bankruptcy law, including the Securities Act, (ii) contains “adequate information”

(as such term is defined in section 1125(a)(1) and used in section 1126(b)(2) of the Bankruptcy

Code) with respect to the Debtors, the Plan, and the transactions contemplated therein, and (iii) is

APPROVED on a final basis in all respects.

        3.       Confirmation of the Plan. The Plan is approved in its entirety and CONFIRMED

under section 1129 of the Bankruptcy Code. The documents contained in or contemplated by the

Plan, including, without limitation, the Plan Supplement and other Plan Documents, are hereby

authorized and approved. The terms of the Plan are incorporated by reference into and are an

integral part of this Confirmation Order. The failure to specifically describe, include, or to refer

to any particular article, section, or provision of the Plan in this Confirmation Order shall not

diminish or impair the effectiveness of such article, section, or provision, it being the intent of the

Bankruptcy Court that the Plan is confirmed in its entirety, except as expressly modified herein,

the Plan Documents are approved in their entirety, and all are incorporated herein by this reference.

        4.       Objections.    All objections to Confirmation of the Plan or approval of the

Disclosure Statement and other responses, comments, statements, or reservations of rights, if any,

in opposition to the Plan or Disclosure Statement that have not been withdrawn, waived, or

otherwise resolved by the Debtors prior to entry of this Confirmation Order are overruled on the

merits. All objections to Confirmation of the Plan or approval of the Disclosure Statement not


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Filed and served prior to the Objection Deadline, if any, are deemed waived and shall not be

considered by the Bankruptcy Court.

        5.       Plan Classification Controlling. The terms of the Plan shall solely govern the

classification of Claims and Interests for purposes of the distributions to be made thereunder. The

classification set forth on the Ballot tendered in connection with voting on the Plan: (a) were set

forth thereon solely for purposes of voting to accept or reject the Plan; (b) do not necessarily

represent, and in no event shall be deemed to modify or otherwise affect, the actual classification

of Claims and Interests under the Plan for distribution purposes; (c) may not be relied upon by any

Holder of a Claim or Interest as representing the actual classification of such Claim or Interest

under the Plan for distribution purposes; and (d) shall not be binding on the Debtors except for

voting purposes. All rights of the Debtors, the Wind Down Estate, and the GUC Trust, as

applicable, to challenge, object to, or seek to reclassify Claims or Interests are expressly reserved.

        6.       Combined Hearing Notice. The Combined Hearing Notice and the Combined

Hearing Publication Notice complied with the terms of the Scheduling Order, were appropriate

and satisfactory based upon the circumstances of these chapter 11 cases, and were in compliance

with the provisions of the Bankruptcy Code, the Bankruptcy Rules, the N.D. Tex. L.B.R., and

applicable non-bankruptcy law, rule, and regulation.

        7.       Solicitation. The solicitation of votes on the Plan complied with the Solicitation

and Tabulation Procedures, was appropriate and satisfactory based upon the circumstances of these

chapter 11 cases, and was in compliance with the provisions of the Bankruptcy Code, the

Bankruptcy Rules, the N.D. Tex. L.B.R., the Scheduling Order, and applicable non-bankruptcy

law, rule, and regulation.




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        8.       Plan Modifications. The modifications, amendments, and supplements made to

the Initial Plan following the solicitation of votes thereon constitute technical changes and do not

materially adversely affect or change the proposed treatment of any Claims or Interests. After

giving effect to such modifications, the Plan continues to satisfy the requirements of sections 1122

and 1123 of the Bankruptcy Code. The filing of the Plan and proposed form of this Confirmation

Order with the Bankruptcy Court on June 20, 2024, which contain such modifications, and the

disclosure of such modifications on the record at the Combined Hearing, constitute due and

sufficient notice thereof. Accordingly, such modifications do not require additional disclosure or

re-solicitation of votes under sections 1125, 1126, or 1127 of the Bankruptcy Code or Bankruptcy

Rule 3019, nor do they require that the Holder of Claims in the Voting Class be afforded an

opportunity to change its previously cast vote on the Plan. The Holder of Claims in the Voting

Class who voted to accept the Initial Plan is deemed to accept the Plan as modified. The Plan, as

modified, is, therefore, properly before this Bankruptcy Court and all votes cast with respect to the

Plan prior to such modification shall be binding and shall apply with respect to the Plan.

        9.       Sale Approval Order. As more particularly set forth in the Sale Approval Order,

attached hereto as Exhibit B, which is incorporated by reference and deemed a part of this

Confirmation Order, the Debtors’ entry into the Purchase Agreement, and all transactions

contemplated thereby and all of the terms and conditions thereof, is hereby authorized in its

entirety. The Debtors and the Wind Down Administrator, as applicable, are authorized to

undertake the transactions contemplated by the Purchase Agreement, including pursuant to

sections 363, 365, and 1123(a)(5) of the Bankruptcy Code. Pursuant to the Sale Approval Order

and sections 363(f), 363(m), 365(c)(1), and 365(f)(1) of the Bankruptcy Code, the Debtors shall




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have no obligation to give effect to any consent right, preferential purchase right, or other similar

agreement with respect to the Debtors’ assets and property.

        10.      No Action Required.      No action of the respective directors, equity holders,

managers, or members of the Debtors, the Wind Down Estate, or the GUC Trust (as applicable) is

required to authorize the Debtors, the Wind Down Administrator, or the GUC Trustee (as

applicable) to enter into, execute, deliver, file, adopt, amend, restate, consummate, or effectuate,

as the case may be, the Plan, or any contract, assignment, certificate, instrument, or other document

to be executed, delivered, adopted, or amended in connection with the implementation of the Plan,

including the GUC Trust Agreement, and the other Plan Documents.

        11.      Binding Effect. On the date of and after entry of this Confirmation Order, in

accordance with section 1141(a) of the Bankruptcy Code and subject to the occurrence of the

Effective Date and notwithstanding Bankruptcy Rules 3020(e), 6004(d), 6004(h), or otherwise, the

terms of the Plan, the Plan Documents, and this Confirmation Order shall be immediately effective

(and/or adopted, where applicable) and enforceable and deemed binding upon the Debtors, Wind

Down Estate, Wind Down Administrator, GUC Trust, or GUC Trustee (as applicable), and any

and all Holders of Claims or Interests and such Holder’s respective successors and assigns

(regardless of whether or not (a) the Holders of such Claims or Interests voted to accept or reject,

or are deemed to have accepted or rejected, the Plan or (b) the Holders of such Claims or Interests

are entitled to a distribution under the Plan), all Entities that are parties to or are subject to the

settlements, compromises, releases (including the releases set forth in Article VIII of the Plan),

waivers, discharges, exculpations, and injunctions provided for in the Plan, each Entity acquiring

property under the Plan or this Confirmation Order, and any and all non-Debtor parties to

Executory Contracts and Unexpired Leases. All Claims and Interests shall be fixed, adjusted, or


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compromised, as applicable, pursuant to the Plan regardless of whether any Holder of a Claim or

Interest has voted on the Plan. The Plan and the Plan Documents constitute legal, valid, binding,

and authorized obligations of the respective parties thereto and shall be enforceable in accordance

with their terms. Pursuant to section 1142(a) of the Bankruptcy Code, the Plan and the Plan

Documents, and any amendments or modifications thereto, shall apply and be enforceable

notwithstanding any otherwise applicable non-bankruptcy law.

        12.      Vesting of Wind Down Estate Assets in the Wind Down Estate. Except as

otherwise provided in the Plan, the Plan Supplement, or the Confirmation Order, on the Effective

Date, all Wind Down Estate Assets (including all interests, rights, and privileges related thereto)

and all GUC Trust Assets (solely until the GUC Trust Assets Transfer occurs) in each Estate and

all Causes of Action that are retained under the Plan shall vest in the Wind Down Estate, to be

administered by the Wind Down Administrator in accordance with the Plan, free and clear of all

Claims, Liens, and encumbrances. On and after the Effective Date, except as otherwise provided

in the Plan, the Wind Down Estate may use, acquire, or dispose of property and compromise or

settle any Claims, Interests, or Causes of Action (other than those that are GUC Trust Assets)

without supervision or approval by the Court and free of any restrictions of the Bankruptcy Code

or Bankruptcy Rules. To the extent that the retention by the Wind Down Estate of assets or

property held immediately prior to the Effective Date in accordance with the Plan is deemed, in

any instance, to constitute a “transfer” of property, such transfer of property to the Wind Down

Estate (a) is or shall be a legal, valid, and effective transfer of property, (b) vests or shall vest the

Wind Down Estate with good title to such property, free and clear of all Liens, Claims, charges,

or other encumbrances, except as expressly provided in the Plan, the Plan Documents, or the

Confirmation Order, (c) does not and shall not constitute an avoidable transfer under the


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Bankruptcy Code or under applicable non-bankruptcy law, rule, or regulation, and (d) does not

and shall not subject the Wind Down Estate to any liability by reason of such transfer under the

Bankruptcy Code or under applicable non-bankruptcy law, rule, or regulation, including by laws

affecting or creating successor or transferee liability.

        13.      Creation of the GUC Trust. Except as otherwise provided in the Plan, the Plan

Documents, this Confirmation Order, or in any agreement, instrument, or other document

incorporated in the Plan, on the next Business Day following the GUC Settlement Opt-In Election

Deadline, the Wind Down Estate shall complete the GUC Trust Assets Transfer, and all GUC

Trust Assets shall vest in the GUC Trust on such date, to be administered by the GUC Trustee in

accordance with the Plan and the GUC Trust Agreement. On and after the Effective Date, the

GUC Trust is deemed created and effective without any further action by the Bankruptcy Court or

any party. The GUC Trust shall be established with the primary purpose of liquidating the GUC

Trust Assets and making distributions to GUC Trust Beneficiaries on account of their Allowed

General Unsecured Claims, with no objective to continue or engage in the conduct of a trade or

business, except to the extent reasonably necessary to, and consistent with, the purpose of the GUC

Trust and as may be reasonably necessary to conserve and protect the GUC Trust Assets and

provide for the orderly liquidation and distribution thereof. The terms and conditions of the GUC

Trust Agreement are approved.

        14.      Effectiveness of All Actions. All actions contemplated by the Plan, including all

actions pursuant to, in accordance with, or in connection with the Plan Documents, are hereby

effective and authorized to be taken on, prior to, or after the Effective Date, as applicable, under

this Confirmation Order, without further application to, or order of the Bankruptcy Court, or

further action by the respective officers, directors, managers, members, or equity holders of the


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Debtors, the Wind Down Administrator, or the GUC Trustee (as applicable) and with the effect

that such actions had been taken by unanimous action of such officers, directors, managers,

members, or equity holders or the Wind Down Administrator or GUC Trustee (as applicable).

        15.      Plan Implementation.

                 (a)   Consistent with section 1142 of the Bankruptcy Code and any provisions of

the business corporation law and limited liability company law of any applicable jurisdiction, and

without further action by the Bankruptcy Court or the equity holders, members, managers, officers,

or directors of any of the Debtors or the Wind Down Administrator or GUC Trustee (as applicable),

the Debtors, the Wind Down Administrator, and the GUC Trustee (as applicable) are authorized

to: (i) take any and all actions as may be necessary or appropriate to implement, effectuate, and

consummate the Plan, the Plan Supplement, the Plan Documents, this Confirmation Order, and

any transaction contemplated thereby or hereby, and (ii) execute and deliver, adopt or amend, as

he case may be, any contracts, instruments, releases, agreements, and documents necessary to

implement, effectuate, and consummate the Plan, the Plan Supplement, the Plan Documents, this

Confirmation Order, and any transaction contemplated thereby or hereby.

                 (b)   Except as set forth in the Plan, all actions authorized to be taken pursuant to

the Plan, the Plan Supplement, and the Plan Documents including, (i) the rejection or assumption,

as appropriate, of any Executory Contracts and Unexpired Leases, (ii) the sale and/or abandonment

of Assets, (iii) contribution of Wind Down Estate Assets to the Wind Down Estate,

(iv) contribution of GUC Trust Assets to the GUC Trust, and (v) entry into any contracts,

instruments, releases, agreements, and documents necessary to implement, effectuate, and

consummate the Plan are hereby approved and shall be effective prior to, on, or after the Effective

Date pursuant to this Confirmation Order, without further notice, application to, or order of the


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Bankruptcy Court, or further action by the Debtors, the Wind Down Administrator, or the GUC

Trustee (as applicable).

                 (c)    To the extent that, under applicable non-bankruptcy law, rule, or regulation,

any of the foregoing actions would otherwise require the consent or approval of the equity holders,

members, managers, or directors of any of the Debtors or the Wind Down Administrator or GUC

Trustee (as applicable), this Confirmation Order shall, pursuant to section 1142 of the Bankruptcy

Code, constitute such consent or approval, and such actions are deemed to have been taken by

unanimous action of the equity holders, members, managers, or directors of any of the Debtors or

the Wind Down Administrator or GUC Trustee (as applicable).

                 (d)    All such transactions effectuated by the Debtors during the pendency of

these chapter 11 cases from the Petition Date through the Confirmation Date (or as otherwise

contemplated by this Confirmation Order) are approved and ratified, subject to the satisfaction of

any applicable terms and conditions to effectiveness of such transactions and the occurrence of the

Effective Date.

        16.      Global Settlement Approved. The Global Settlement, as incorporated in the Plan,

constitutes a compromise and settlement pursuant to section 1123 of the Bankruptcy Code and

Bankruptcy Rule 9019 among the Global Settlement Parties. The related provisions of the Plan

shall constitute a good faith compromise and settlement of all Claims, Interests, issues, disputes

and, controversies that were, or could have been asserted in connection with these chapter 11 cases.

        17.      The Global Settlement was negotiated at arm’s length and in good faith, is in the

best interests of the Debtors, their Estates, and Holders of Claims and Interests, and is fair,

equitable, and reasonable. The GUC Settlement Opt-In Election , including the GUC Settlement

Opt-In Form and the procedures set forth therein, are fair and consistent with the Global


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Settlement. Entry of this Confirmation Order shall constitute the Bankruptcy Court’s approval of

the Global Settlement, including the GUC Settlement Opt-In Form and related procedures, the

settlement of all such Claims, Interests, and controversies, and the approval of all such releases

granted in connection therewith. For the avoidance of doubt, the settlement, release, injunction,

and related provisions described in Article VIII the Plan and approved by this Confirmation Order

shall be in addition to, and not in lieu of, the settlements, releases, agreements, and compromises

granted pursuant to the Global Settlement.

        18.      Cancellation of Existing Securities and Agreements. On the Effective Date,

except to the extent otherwise provided herein or in the Plan, all notes, instruments, certificates,

credit agreements, indentures, and other documents evidencing Claims or Interests (including with

respect to the Prepetition Credit Agreement Documents), and any Interests that are not represented

by certificates or other instruments, shall be canceled and surrendered and the obligations of the

Debtors thereunder or in any way related thereto shall be discharged, deemed satisfied in full,

canceled, and of no force or effect against the Debtors, the Wind Down Estate, or the GUC Trust

without any further action on the part of the Debtors, the Wind Down Administrator, the GUC

Trustee, or any other Person. Holders of or parties to such canceled instruments, Securities, and

other documentation will have no rights arising from or relating to such instruments, Securities,

and other documentation, or the cancellation thereof, except the rights provided for pursuant to the

Plan.

        19.      Notwithstanding anything to the contrary in the Plan, but subject to any applicable

provisions of Articles IV and VI of the Plan, the Prepetition Credit Agreement Documents shall

continue in effect as between all Debtors and the non-Debtors party thereto until the wind down

of the Debtors and the Netherlands Wind Down is complete. Following completion of the wind


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down of the Debtors and the Netherlands Wind Down and distribution of proceeds (if any) to the

Prepetition Secured Parties, as provided in Article IV of the Plan, the Prepetition Credit Agreement

Documents shall be canceled and surrendered and the obligations of the Debtors thereunder or in

any way related thereto shall be deemed satisfied in full, canceled, and of no force or effect against

the Debtors or the Wind Down Estate, without any further action on the part of the Debtors, the

Wind Down Estate, or any other Person.

        20.      Directors and Officers of the Debtors. As of the Effective Date, the term of the

current members of the boards of directors or boards of managers, as applicable, of KidKraft and

its Debtor Affiliates shall expire automatically and each person serving as a director of KidKraft

and each of its Debtor Affiliates shall be removed and shall be deemed to have resigned and cease

to serve automatically. Consistent with the Plan, each of the Estates will vest in the Wind Down

Estate effective as of the Effective Date and, thus, no individuals will serve as directors, officers,

or voting trustees after the Effective Date for any Debtors.

        21.      Preservation of Causes of Action. In accordance with section 1123(b) of the

Bankruptcy Code, but subject in all respects to Article VIII of the Plan, the Wind Down

Administrator shall retain and may enforce all rights to commence and pursue, as appropriate, any

and all Causes of Action, including any Retained Cause of Action; provided that, the Wind Down

Estate will not retain any Causes of Action (including Avoidance Actions) that are assigned to the

Purchaser as Transferred Assets in connection with the Sale Transaction or that may be included

in the GUC Trust Assets and transferred to the GUC Trust. For the avoidance of doubt, Avoidance

Actions purchased by the Purchaser will not be pursued by the Purchaser. The Wind Down

Administrator’s rights to commence, prosecute, or settle such Causes of Action shall be preserved

notwithstanding the occurrence of the Effective Date. Except to the extent any such claim is


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specifically satisfied, settled, and released herein, in accordance with and subject to any applicable

law, the Debtor’s inclusion or failure to include any Cause of Action on the List of Retained Causes

of Action shall not be deemed an admission, denial, or waiver of any claims, demands, rights, or

causes of action that the Debtor or Estate may hold against any Person. Except to the extent any

such claim is specifically satisfied, settled, and released herein, the Debtor intends to preserve

those claims, demands, rights, or causes of action designated as Retained Causes of Action.

        22.      No Entity may rely on the absence of a specific reference in the Plan, the Plan

Supplement, or the Disclosure Statement to any Cause of Action against it as an indication that the

Debtors or the Wind Down Estate, as applicable, will not pursue any and all available Causes of

Action against it. The Debtors or the Wind Down Estate, as applicable, expressly reserve all rights

to prosecute any and all Causes of Action against any Entity, except as otherwise expressly

provided in the Plan. Unless any Causes of Action against an Entity or Person are expressly

waived, relinquished, exculpated, released, compromised, or settled in the Plan or a Bankruptcy

Court order, including pursuant to Article VIII of the Plan, the Debtors or the Wind Down Estate,

as applicable, expressly reserve all Causes of Action for later adjudication and, therefore, no

preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,

claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes

of Action upon, after, or as a consequence of the Confirmation or Consummation.

        23.      Substitution in Pending Legal Actions. On the Effective Date, the Wind Down

Estate or the Wind Down Administrator, as applicable, shall be deemed to be the same litigation

party as the applicable Debtor(s) and are authorized to be substituted as the party to any litigation

in which the Debtors are a party, including (but not limited to) (i) pending contested matters or

adversary proceedings in the Bankruptcy Court or the CCAA Court, (ii) any appeals of orders of


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the Bankruptcy Court and (iii) any state court or federal or state administrative proceedings or

equivalent in Canada or any other applicable jurisdiction pending as of the Petition Date. The

Wind Down Administrator and its professionals are not required to, but may, take such steps as

are appropriate to provide notice of such substitution.

        24.      Wind Down Estate. On and after the Effective Date, the Wind Down Estate shall

be empowered to: (a) perform all actions and execute all agreements, instruments, and other

documents necessary to implement the Plan; (b) accept, preserve, receive, collect, manage, invest,

sell, liquidate, transfer, supervise, prosecute, settle, and protect, as applicable, the Wind Down

Estate Assets (directly or through its professionals or a Disbursing Agent), in accordance with the

Plan; (c) review, reconcile, settle, or object to all such Claims (other than General Unsecured

Claims) that are Disputed Claims as of the Effective Date pursuant to the procedures for allowing

Claims prescribed in the Plan; (d) calculate and make distributions of the proceeds of the Wind

Down Estate Assets to Holders of Allowed Claims (other than Holders of Allowed General

Unsecured Claims) in accordance with the terms of the Plan and otherwise implementing the Plan;

(e) subject to Article VIII of the Plan, pursue Retained Causes of Actions ; (f) retain, compensate,

and employ professionals to represent the Wind Down Estate; (g) file appropriate tax returns and

other reports on behalf of the Wind Down Estate and pay taxes or other obligations owed by the

Wind Down Estate; (h) file, to the extent reasonably feasible, appropriate tax returns on behalf of

the Debtor and pay taxes or other obligations arising in connection therewith; (i) exercise such

other powers as may be vested in the Wind Down Estate under the Plan, or as deemed by the Wind

Down Administrator to be necessary and proper to implement the provisions of the Plan; (j) take

such actions as are necessary or appropriate to close the Debtors’ chapter 11 cases; (k) dissolve

the entities comprising the Wind Down Estate; and (l) undertake the Wind Down Transactions.


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        25.      Wind Down Administrator.         SierraConstellation Partners, LLC is hereby

appointed to serve as the Wind Down Administrator for the Wind Down Estate in accordance with

the terms of this Confirmation Order, and the Plan. The Wind Down Administrator shall be

authorized to take all actions necessary to establish, maintain, and administer the Wind Down

Estate pursuant to the terms of the Plan, and this Confirmation Order.

        26.      GUC Trust Agreement. The GUC Trust Agreement, substantially in the form

filed with the Plan Supplement, is hereby approved in its entirety, and the Debtors are authorized

to enter into the GUC Trust Agreement.

        27.      GUC Trust. On the Effective Date, the GUC Trust will be established with the

purpose and authority set forth in the Plan and the GUC Trust Agreement.

        28.      GUC Trustee. Jiangang Ou is hereby appointed to serve as the GUC Trustee for

the GUC Trust in accordance with the terms of this Confirmation Order, the Plan, and the GUC

Trust Agreement. The GUC Trustee shall be authorized to take all actions necessary to establish,

maintain, and administer the GUC Trust and any sub-trust of the GUC Trust pursuant to the terms

of the GUC Trust Agreement, the Plan, and this Confirmation Order.

        29.      Funding and Transfer of Assets Into the GUC Trust. Except as otherwise

provided in the Plan or the Confirmation Order, on the next Business Day following the GUC

Settlement Opt-In Election Deadline, the Wind Down Estate shall complete the GUC Trust Assets

Transfer, and all such assets shall vest in the GUC Trust on such date, to be administered by the

GUC Trustee in accordance with the Plan and the GUC Trust Agreement. Except as set forth in

the Plan, the GUC Trust Assets shall be transferred to the GUC Trust free and clear of all Claims,

Liens, and encumbrances to the fullest extent provided by section 363 or 1123 of the Bankruptcy

Code. The act of transferring the GUC Trust Assets, as authorized by the Plan, shall not be


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construed to destroy or limit any such assets or rights or be construed as a waiver of any right, and

such rights may be asserted by the GUC Trust as if the asset or right was still held by the Debtors.

        30.      Settlement of Claims by the GUC Trustee. Except as otherwise provided in the

Plan or the GUC Trust Agreement, on and after the Effective Date, the GUC Trustee may

compromise or settle any General Unsecured Claims without supervision or approval by the

Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules and

may pay the charges that it incurs on or after the Effective Date for GUC Trust Expenses,

professionals’ fees, disbursements, expenses, or related support services (including fees relating

to the preparation of Professional fee applications) without application to the Bankruptcy Court.

        31.      Professional Compensation.         The provisions governing compensation of

Professionals set forth in Article II.B of the Plan are approved in their entirety. All final requests

for Professional Fee Claims through and including the Effective Date shall be Filed no later than

45 days after the Effective Date. Any objections to Professional Fee Claims shall be served and

filed no later than 24 days after the filing of such final applications for payment of Professional

Fee Claims.

        32.      Payment of Professional Fee Claims. On the Effective Date, the Debtors shall

establish and fund the Professional Fee Escrow Account with Cash equal to the “Professional Fee

Reserve Amount” described in Article II.B.3 herein. The Professional Fee Escrow Account shall

be maintained in trust solely for the Professionals and the other professionals with Professional

Fee Claims. The Debtors shall utilize the Funded Reserve Account (as defined in the DIP

Approval Order) to fund the Professional Fee Escrow Account, provided that the Funded Reserve

Account is not a limitation on the amount funded to the Professional Fee Escrow Account. The

Professional Fee Escrow Account and funds therein shall not be considered property of the Estates


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of the Debtors the Wind Down Estate, or the GUC Trust. The amount of Allowed Professional

Fee Claims shall be paid in Cash to the Professionals by the Disbursing Agent or the Wind Down

Administrator from the Professional Fee Escrow Account as soon as reasonably practicable after

such Professional Fee Claims are Allowed, and the amount of all other Professional Fee Claims

shall be paid in Cash to the applicable professionals by the Disbursing Agent or the Wind Down

Administrator from the Professional Fee Escrow Account on the Effective Date.

        33.      After all Professional Fee Claims have been paid in full, any remaining amount in

the Professional Fee Escrow Account shall promptly be deemed Distributable Value and

distributed to the holders of Prepetition Secured Party Claims without any further action or order

of the Bankruptcy Court.

        34.      Establishment of Appropriate Reserves. In accordance with the terms of the

Confirmation Order and the Plan, the Debtors shall establish the Post-Sale Reserve in the amount

of $650,000 to fund the reasonably anticipated costs necessary for the wind down of the Wind

Down Estate, including an estimated amount of reasonable fees and expenses that may be incurred

by professionals for services rendered after the Effective Date and statutory fees, which cash

reserve shall be funded into a segregated account on the Effective Date.

        35.      Subordination. The allowance, classification, and treatment of all Claims and

Interests and the respective distributions and treatments under the Plan take into account and

conform to the relative priority and rights of the Claims and Interests in each Class in connection

with any contractual, legal, and equitable subordination rights relating thereto, whether arising

under general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or

otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors, the Wind Down




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Administrator, or the GUC Trustee (as applicable) reserve(s) the right to reclassify any Claim or

Interest in accordance with any contractual, legal, or equitable subordination relating thereto.

        36.      Release of Liens. Except for the Wind Down Claims, and as otherwise provided

in the Plan or in any contract, instrument, release or other agreement or document entered into or

delivered in connection with the Plan, on the Effective Date concurrently and consistent with the

treatment provided for Claims and Interests in Article III, all mortgages, deeds of trust, Liens

against, security interests in, or other encumbrances or interests in property of any Estate

(including the Wind Down Estate and the GUC Trust) shall be deemed fully released and

discharged. After the wind down of the Debtors and the Netherlands Wind Down is complete and

after the proceeds of the Netherlands Asset Sale and Netherlands Liquidation, if any, are

indefeasibly distributed in Cash to the Prepetition Secured Parties as provided in Article IV of the

Plan, all mortgages, deeds of trust, Liens against, security interests in, or other encumbrances or

interests in property of any Estate on account of the Wind Down Claims shall be deemed fully

released and discharged.     Notwithstanding anything contained herein to the contrary, until

completion of the wind down of the Debtors and the Netherlands Wind Down and distribution of

the proceeds after the Netherlands Wind Down is complete, if any, to the Prepetition Secured

Parties, as provided in Article IV of the Plan, the Plan shall not operate as a waiver of any right,

power or remedy of the Prepetition Agent or Prepetition Lender, or constitute a waiver of any

provision of the Prepetition Credit Agreement Documents in respect of any non-Debtor affiliate

of the Debtors party thereto and the obligations of the non-Debtor affiliates thereunder shall remain

in full force and effect.

        37.      Indemnification.   Pursuant to Article V.G of the Plan, the Indemnification

Obligations shall not be discharged or impaired by the Plan or entry of this Confirmation Order,


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and the Indemnification Obligations are hereby deemed to be, and shall be treated as, Executory

Contracts assumed by the Debtors and assigned to the Wind Down Estate under the Plan and shall

continue as obligations of the Wind Down Estate.

        38.      Insurance. To the extent that any of the Debtors’ insurance policies constitute

Executory Contracts, such insurance policies and any agreements, documents, or instruments

relating thereto, are treated as and deemed to be Executory Contracts under the Plan and shall be

assumed by the Debtors and assigned to the Wind Down Estate on the Effective Date. All other

insurance policies (to the extent not deemed Executory Contracts) shall vest in the Wind Down

Estate on the Effective Date.

        39.      Rejection of Contracts and Leases. On the Effective Date, except as otherwise

provided herein or in any contract, instrument, release, or other agreement or document entered

into in connection with the Plan, the Plan shall serve as a motion under sections 365 and

1123(b)(2) of the Bankruptcy Code to assume, assume and assign, or reject Executory Contracts

and Unexpired Leases, and all Executory Contracts or Unexpired Leases shall be rejected as of the

Effective Date without the need for any further notice to or action, order, or approval of the

Bankruptcy Court, unless such Executory Contract or Unexpired Lease: (i) is designated on a

schedule of assumed contracts by the Purchaser; (ii) is designated as a Transferred Contract

pursuant to the Purchase Agreement on the Schedule of Assumed Executory Contracts and

Unexpired Leases in the Plan Supplement; (iii) was previously assumed or rejected by the Debtors,

pursuant to a Final Order of the Bankruptcy Court; (iv) previously expired or terminated pursuant

to its own terms or by agreement of the parties thereto; (v) is the subject of a motion to reject filed

by the Debtors on or before the Confirmation Date; or (vi) is subject to a motion to reject pursuant

to which the requested effective date of such rejection is after the Effective Date.


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        40.      Distributions. All distributions pursuant to the Plan shall be made in accordance

with Article VI of the Plan, and such methods of distribution are approved.

        41.      Compromise and Settlement of Claims, Interests, and Controversies. Pursuant

to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration

for the distributions, settlements, releases, and other benefits provided pursuant to the Plan, which

distributions, settlements, releases, and other benefits shall be irrevocable and not subject to

challenge upon the Effective Date, the provisions of the Plan, and the distributions, releases, and

other benefits provided hereunder, shall constitute a good-faith compromise and settlement of all

Claims and Interests and controversies resolved pursuant to the Plan.            The entry of this

Confirmation Order constitutes approval of the compromise and settlement of all such Claims,

Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation

Order shall constitute the Bankruptcy Court’s approval of the compromise and settlement of all

such Claims, Interests, and controversies, as well as a finding by the Bankruptcy Court that all

such compromises and settlements are in the best interests of the Debtors, their Estates, and

Holders of Claims and Interests and is fair, equitable, and reasonable. In accordance with the

provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any further notice to or action,

order, or approval of the Bankruptcy Court, after the Effective Date, the Wind Down Estate or the

Wind Down Administrator (as applicable) and the GUC Trust or the GUC Trustee (as applicable,

and solely with respect to General Unsecured Claims and GUC Trust Assets) may compromise

and settle Claims against, and Interests in, the Debtors and their Estates and Causes of Action

against other Entities.

        42.      In accordance with Bankruptcy Rule 9019, the Plan constitutes the good-faith

compromise and settlement among the Global Settlement Parties regarding the matters set forth in


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the Global Settlement Term Sheet, and reflects and implements such compromise and settlement,

including by the establishment and funding of the GUC Trust. Such compromise and settlement

is made in exchange for consideration and is in the best interests of the Global Settlement Parties

and the Holders of Allowed General Unsecured Claims, is within the reasonable range of possible

litigation outcomes, is fair, equitable, and reasonable, and is an essential element of the resolution

of these chapter 11 cases.

        43.      Release, Discharge, Exculpation, and Injunction Provisions. All discharge,

injunction, release, and exculpation provisions set forth in the Plan, including but not limited to

those contained in Articles VIII.B, VIII.C, VIII.D, VIII.E, VIII.F, VIII.G and VIII.H of the Plan,

are approved and shall be effective and binding on all Persons and Entities to the extent provided

therein. For the avoidance of doubt, the right of any party to object to any Estate Professional’s

fee application, subject to applicable objection deadlines, is preserved, notwithstanding the

approval of the Releases herein.

        44.      Tax Withholding. Pursuant to the Plan, including Article VI.D thereof, to the

extent applicable, the Debtors, the Wind Down Administrator, the GUC Trustee, the Disbursing

Agent, and any applicable withholding agent shall comply with all applicable tax withholding and

reporting requirements imposed on them by any Governmental Unit, and all distributions made

pursuant to the Plan shall be subject to such withholding and reporting requirements.

Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized to take

all actions necessary or appropriate to comply with such withholding and reporting requirements,

including liquidating a portion of the distribution to be made under the Plan to generate sufficient

funds to pay applicable withholding taxes, withholding distributions until receipt of information

necessary to facilitate such distributions, or establishing any other mechanisms they believe are


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reasonable and appropriate. For these purposes, all distributions made on behalf of the Debtors

pursuant to the Plan shall if applicable be first in satisfaction of the portion of Claims that are not

subject to any withholding tax obligation. All Persons holding Claims against any Debtor shall be

required to provide any additional information reasonably necessary for the Debtors, the Wind

Down Administrator, the GUC Trustee, the Disbursing Agent, and any applicable withholding

agent to comply with all tax withholding and reporting requirements imposed on them by any

Governmental Unit, including an IRS Form W-8 or W-9, as applicable, and any other applicable

tax forms. The Debtors, the Administrator on behalf of the Wind Down Estate, the GUC Trustee

on behalf of the GUC Trust, and the Disbursing Agent (as applicable) reserve the right to allocate

all distributions made under the Plan in a manner that complies with all other legal requirements,

such as applicable wage garnishments, alimony, child support, and other spousal awards, Liens,

and encumbrances. Any amounts withheld pursuant to the Plan shall be deemed to have been

distributed to and received by the applicable recipient for all purposes of the Plan. Notwithstanding

any other provision of the Plan to the contrary, each Holder of an Allowed Claim or Allowed

Interest shall have the sole and exclusive responsibility for the satisfaction and payment of any tax

obligations imposed on such Holder by any Governmental Unit, including income, withholding

and other tax obligations, on account of such distribution.

        45.      Payment of Statutory Fees. Statutory Fees due and payable prior to, and that

remain unpaid as of, the Effective Date shall be paid by the applicable Debtors on the Effective

Date. No statutory fees shall be paid on the initial funding of the Post-Sale Reserve or the GUC

Trust. Fees due and payable pursuant to 28 U.S.C. § 1930 shall only be paid on subsequent

disbursement of Cash by the Wind Down Estate or the GUC Trust, as applicable. Any fees due

and payable pursuant to 28 U.S.C. § 1930 that may be owed by the Debtors, the Wind Down


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Estate, or the GUC Trust, as applicable, after the Confirmation Date related to the reduction to

Cash of non-Cash assets shall be paid by the Debtors, the Wind Down Estate, or the GUC Trust,

as applicable, until the case is closed, dismissed, or converted. If no disbursements are made by

the Debtors, the Wind Down Estate, or the GUC Trust for any quarter post-confirmation, only the

minimum statutory fee will be owed in accordance with 28 U.S.C. § 1930(a)(6). The Wind Down

Estate and the GUC Trust shall file post-confirmation operating reports with respect to their

respective operations and disbursements until these Chapter 11 Cases are closed, dismissed, or

converted to cases under chapter 7 of the Bankruptcy Code.

        46.      Documents, Mortgages and Instruments. Each federal, state, local, foreign or

other governmental agency is authorized to accept any and all documents, mortgages or

instruments necessary or appropriate to effectuate, implement or consummate the Plan.

        47.      Return of Deposits. All utilities, including any Person who received a deposit or

other form of “adequate assurance” of performance pursuant to section 366 of the Bankruptcy

Code during these chapter 11 cases (collectively, the “Deposits”), whether pursuant to the Order

(I) Approving the Debtors’ Proposed Adequate Assurance Payments for Future Utility Services,

(II) Prohibiting Utility Companies from Altering, Refusing, or Discontinuing Services, (III)

Approving the Debtors’ Proposed Procedures for Resolving Adequate Assurance Requests, and

(IV) Granting Related Relief [Docket No. 87] (the “Utilities Order”) or otherwise, including, but

not limited to, gas, electric, telephone, data, cable, trash, freight, and waste management services,

are directed to return such Deposits to the Wind Down Estate within 15 days following the

Effective Date. Such amounts returned shall constitute Distributable Value. Additionally, the

Wind Down Estate or the Wind Down Administrator, as applicable, are hereby authorized to close




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the Adequate Assurance Account (as defined in the Utilities Order) upon entry of the Confirmation

Order.

         48.     Distributable Value. Any Distributable Value that is available for distribution

after the Effective Date shall be promptly distributed by the Debtors or the Wind Down Estate (as

applicable) to Holders of Allowed Prepetition Secured Party Claims. After the Effective Date, in

lieu of conducting sales of liquidating its assets, with the consent of the Prepetition Secured Parties,

the Wind Down Administrator may transfer any assets of the Wind Down Estate to the Prepetition

Secured Parties free and clear of all Liens, Claims, and encumbrances. All payments, distributions,

and transfers made to or for the benefit of any of the DIP Secured Parties or Prepetition Secured

Parties pursuant to the Plan or this Confirmation Order shall be indefeasible and shall not be subject

to disgorgement, counterclaim, set-off, subordination, recharacterization, defense, disallowance,

recovery, or avoidance for any reason.

         49.     Filing and Recording. This Confirmation Order is binding upon and shall govern

the acts of all Persons or Entities including all filing agents, filing officers, title agents, title

companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

agencies, governmental departments, secretaries of state, federal, state, and local officials, and all

other Persons and Entities who may be required, by operation of law, the duties of their office, or

contract, to accept, file, register, or otherwise record or release any document or instrument. Each

and every federal, state, and local government agency is hereby directed to accept any and all

documents and instruments necessary, useful, or appropriate (including financing statements under

the applicable uniform commercial code) to effectuate, implement, and consummate the

transactions contemplated by the Plan and this Confirmation Order without payment of any stamp

tax or similar tax imposed by state or local law.


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        50.      Continued Effect of Stays and Injunctions. Unless otherwise provided in the

Plan, the Confirmation Order, the Confirmation Recognition Order, the Sale Approval Order, or

any other Final Order entered by the Bankruptcy Court, all injunctions or stays arising under or

entered during the chapter 11 cases under section 362 of the Bankruptcy Code or otherwise, or

ordered by the CCAA Court in the CCAA Recognition Proceedings, and in existence on the

Confirmation Date, shall remain in full force and effect until the later of the Effective Date and the

date set forth in the order providing for such injunction or stay.

        51.      Debtors’ Actions Post-Confirmation Through the Effective Date. During the

period from the entry of this Confirmation Order through and until the Effective Date, each of the

Debtors shall continue to operate its business as a debtor in possession, subject to the oversight of

the Bankruptcy Court as provided under the Bankruptcy Code, the Bankruptcy Rules, and this

Confirmation Order and any order of the Bankruptcy Court that is in full force and effect.

        52.      Authorization to Consummate. The Debtors are authorized to consummate the

Plan and the Restructuring at any time after entry of this Confirmation Order subject to satisfaction,

or waiver in accordance with Article IX.C of the Plan, of the conditions precedent to the Effective

Date set forth in Article IX of the Plan.

        53.      Conditions Precedent to the Effective Date. The Plan shall not become effective

unless and until the conditions set forth in Article IX.B of the Plan have been satisfied or waived

pursuant to Article IX.C of the Plan.

        54.      Nonseverability of Plan Provisions Upon Confirmation. Each provision of the

Plan is: (a) valid and enforceable in accordance with its terms; (b) integral to the Plan and may

not be deleted or modified without the Debtors’ consent (and subject to other consents and




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consultation rights set forth in the Plan) in accordance with the terms set forth in the Plan; and

(c) nonseverable and mutually dependent.

        55.      Post-Confirmation Modifications. Subject to the terms of the Plan and without

need for further order or authorization of the Bankruptcy Court, the Debtors, the Wind Down

Administrator, or the GUC Trustee (solely with respect to the GUC Trust Agreement) as

applicable, are authorized and empowered to make any and all modifications to any and all Plan

Documents that are necessary to effectuate the Plan that do not materially modify the terms of such

documents and are consistent with the Plan. Subject to certain restrictions and requirements set

forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on

modifications set forth in the Plan, the Debtors, the Wind Down Administrator, and the GUC

Trustee (as applicable) reserve their respective rights prior to the Effective Date to withdraw, alter,

amend, or modify materially the Plan with respect to such Debtor, Wind Down Estate, or GUC

Trust, as applicable, and, to the extent necessary, may initiate proceedings in the Bankruptcy Court

to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any

inconsistencies in the Plan, or this Confirmation Order, as may be necessary to carry out the

purposes and intent of the Plan. Any such modification or supplement shall be considered a

modification of the Plan and shall be made in accordance with Article X.A of the Plan.

        56.      Reversal/Stay/Modification/Vacatur of Confirmation Order.                 Except as

otherwise provided in this Confirmation Order, if any or all of the provisions of this Confirmation

Order are hereafter reversed, modified, vacated, or stayed by subsequent order of this Court or any

other court, such reversal, stay, modification, or vacatur shall not affect the validity or

enforceability of any act, obligation, indebtedness, liability, priority, or Lien incurred or

undertaken by the Debtors prior to the effective date of such reversal, stay, modification, or


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vacatur. Notwithstanding any such reversal, stay, modification, or vacatur of this Confirmation

Order, any such act or obligation incurred or undertaken pursuant to, or in reliance on, this

Confirmation Order prior to the effective date of such reversal, stay, modification, or vacatur shall

be governed in all respects by the provisions of this Confirmation Order and the Plan or any

amendments or modifications thereto.

        57.      Applicable Non-Bankruptcy Law. The provisions of this Confirmation Order,

the Plan, and related documents, or any amendments or modifications thereto, shall apply and be

enforceable notwithstanding any otherwise applicable non-bankruptcy law, rule, or regulation.

        58.      Governmental Approvals Not Required.               This Confirmation Order shall

constitute all approvals and consents required, if any, by the laws, rules, or regulations of any state,

federal, or other governmental authority with respect to the implementation or consummation of

the Plan, any certifications, documents, instruments, or agreements, and any amendments or

modifications thereto, and any other acts referred to therein, or contemplated by, the Plan.

        59.      Police and Regulatory. Nothing in this Confirmation Order or the Plan discharges,

releases, precludes, or enjoins: (i) any liability to any Governmental Unit that is not a Claim; (ii)

any Claim of a Governmental Unit arising on or after the Effective Date; (iii) any liability to a

Governmental Unit under police and regulatory law that any Entity would be subject to as the

owner or operator of property after the Effective Date; or (iv) any liability to a Governmental Unit

on the part of any Person other than the Debtors or the Wind Down Estate. Nor shall anything in

this Confirmation Order or the Plan enjoin or otherwise bar any Governmental Unit from asserting

or enforcing, outside the Bankruptcy Court, any liability described in the preceding sentence.

        60.      Strouse Litigation. Consistent with her decision to opt-out of the Plan’s Releases,

nothing in the Plan or this Order shall prejudice, release, or enjoin the ability of Phoebe Strouse


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(“Strouse”) to litigate to final judgment or settlement, including any appeal, her claims pending

against Solowave Design, Inc., Solowave Design Corp., and various non-debtor defendants, in

Case No. 37-2022-00023823-CU-PL-CTL in the California Superior Court for San Diego County,

styled as Phoebe Strouse, a minor by and through her guardian ad litem, Ginger Strouse vs.

Solowave Design, Inc. et al (the “Strouse State Court Case”), for purposes of collection against

non-debtor defendants and/or insurance policies, if any, providing coverage or being otherwise

liable for such claims. Solowave Design, Inc. and Solowave Design Corp. reserve all rights and

defenses with respect to the Strouse State Court Case as available under applicable law. The Plan

Injunction shall remain in place for all other purposes, including, without limitation, to prevent the

enforcement of any final judgment or settlement against Solowave Design, Inc. and Solowave

Design Corp. other than from insurance coverage as available. Any recovery by Strouse with

respect to Solowave Design, Inc. and Solowave Design Corp. other than from insurance coverage

shall be solely pursuant to the terms of the Plan, and the foregoing paragraphs shall not be deemed

to modify or improve the character, validity, or priority of any of Strouse’s claims.

        61.      Waiver of Filings. Any requirement under section 521 of the Bankruptcy Code or

Bankruptcy Rule 1007 obligating the Debtors to file any list, schedule, or statement with the

Bankruptcy Court or the Office of the United States Trustee for the Northern District of Texas

(the “U.S. Trustee”) (except for monthly operating reports or any other post-confirmation

reporting obligation to the U.S. Trustee) is hereby waived as to any such list, schedule, or statement

not filed as of the Confirmation Date.

        62.      Notice of Entry of the Confirmation Order and Effective Date. In accordance

with Bankruptcy Rules 2002 and 3020(c), as soon as reasonably practicable after the Effective

Date, the Debtors shall serve notice of the entry of the Sale Approval Order, substantially in the


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form annexed hereto as Exhibit B, and this Confirmation Order and notice of the Effective Date,

substantially in the form annexed hereto as Exhibit C, to all parties who hold a Claim or Interest

in these chapter 11 cases, the U.S. Trustee, and other parties in interest. Such notice is hereby

approved in all respects and shall be deemed good and sufficient notice of confirmation of the

Plan, entry of this Confirmation Order, and the occurrence of the Effective Date.

        63.      Waiver of Stay. The Confirmation Order shall be effective and enforceable

immediately upon entry and its provisions shall be self-executing. As set forth in the Sale

Approval Order, time is of the essence in Closing the Sale. Accordingly, sufficient cause has been

shown to waive the stays contemplated by Bankruptcy Rule 3020(e) or any other Bankruptcy Rule

such as Bankruptcy Rules 6004 and 6006, in each and every case, to the extent applicable. Any

party objecting to this Confirmation Order must exercise due diligence in filing an appeal, pursuing

a stay, and obtaining a stay prior to the Closing or risk its appeal being foreclosed as moot.

        64.      Substantial Consummation. On the Effective Date, the Plan shall be deemed to

be substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

        65.      Termination of Restructuring Support Agreement. On the Effective Date, the

Restructuring Support Agreement will terminate automatically in accordance with Section 12

thereof.

        66.      References to and Omissions of Particular Plan Provisions. References to

articles, sections, and provisions of the Plan are inserted for convenience of reference only and are

not intended to be a part of or to affect the interpretation of the Plan or this Confirmation Order.

The failure to specifically describe, include, or refer to any particular article, section, or provision

of the Plan in this Confirmation Order shall not diminish or impair the effectiveness of such article,

section, or provision, it being the intent of the Bankruptcy Court that the Plan is confirmed in its


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entirety, except as expressly modified herein, the Plan Documents are approved in their entirety,

and all of the foregoing are incorporated herein by this reference.

        67.      Headings. Headings utilized herein are for convenience and reference only, and

do not constitute a part of the Plan or this Confirmation Order for any other purpose.

        68.      Effect of Conflict. This Confirmation Order supersedes any Court order issued

prior to the Confirmation Date that may be inconsistent with this Confirmation Order. If there is

any inconsistency between the terms of the Plan and the terms of this Confirmation Order, then,

solely to the extent of such inconsistency, the terms of this Confirmation Order govern and control.

        69.      Final Order. This Confirmation Order is a Final Order and the period in which an

appeal must be filed shall commence upon the entry hereof.

        70.      Retention of Jurisdiction. Except as set forth in the Plan or this Confirmation

Order, the Bankruptcy Court may properly, and, upon the Effective Date, shall retain jurisdiction

over all matters arising out of, and related to, these chapter 11 cases, including the matters set forth

in Article XI of the Plan and section 1142 of the Bankruptcy Code.


                                   # # # END OF ORDER # # #




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Order submitted by:

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ATTORNEYS FOR THE DEBTORS AND
DEBTORS IN POSSESSION




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                                  Exhibit A

                                    Plan




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

     In re:                                                      §         Case No. 24-80045-mvl11
                                                                 §
     KIDKRAFT, INC., et al.,                                     §         (Chapter 11)
                                                                 §
              Debtors.1                                          §         (Jointly Administered)
                                                                 §

              DEBTORS’ AMENDED JOINT PREPACKAGED CHAPTER 11 PLAN

William L. Wallander (Texas Bar No. 20780750)                        David S. Meyer (admitted pro hac vice)
Matthew D. Struble (Texas Bar No. 24102544)                          Lauren R. Kanzer (admitted pro hac vice)
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Dallas, TX 75201
VINSON & ELKINS LLP

PROPOSED ATTORNEYS FOR THE
DEBTORS AND DEBTORS IN POSSESSION

Dated: June 20, 2024




1
      The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
      or Canadian business numbers, as applicable, are: KidKraft, Inc. (3303), KidKraft Europe, LLC (3174), KidKraft
      Intermediate Holdings, LLC (8800), KidKraft International Holdings, Inc. (2933), KidKraft Partners, LLC
      (3268), KidKraft International IP Holdings, LLC (1841), Solowave Design Corp. (9294), Solowave Design
      Holdings Limited (0206), Solowave Design Inc. (3073), Solowave Design LP (7201), and Solowave International
      Inc (4302). The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 4630
      Olin Road, Dallas, TX 75244.



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                                       INTRODUCTION

       KidKraft and its affiliated debtors, as Debtors and debtors in possession in the above-
captioned chapter 11 cases, jointly propose this prepackaged chapter 11 plan for the resolution of
outstanding Claims against, and Interests in, the Debtors. Although proposed jointly for
administrative purposes, the Plan constitutes a separate Plan for each Debtor for the resolution of
outstanding Claims against, and Interests in, such Debtor. Capitalized terms used but not otherwise
defined herein shall have the meanings ascribed to such terms in Article I.A of the Plan or the
Bankruptcy Code or Bankruptcy Rules. Holders of Claims and Interests should refer to the
Disclosure Statement for a discussion of the Debtors’ history, businesses, Assets, results of
operations, and historical financial information, as well as a summary and description of the Plan.
The Debtors are the proponents of the Plan within the meaning of section 1129 of the Bankruptcy
Code.

 ALL HOLDERS OF CLAIMS WHO ARE ELIGIBLE TO VOTE ARE ENCOURAGED
 TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY
           BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                  ARTICLE I.
                   DEFINED TERMS, RULES OF INTERPRETATION,
                   COMPUTATION OF TIME, AND GOVERNING LAW

A.      Defined Terms

        As used in the Plan, capitalized terms have the meanings set forth below.

       1.    “363 Sale” means the sale of the Transferred Assets pursuant to section 363 of the
Bankruptcy Code in accordance with the terms of the Purchase Agreement and Sale Approval
Order.

       2.      “503(b)(9) Claim” means a Claim pursuant to section 503(b)(9) of the Bankruptcy
Code for the value of goods received by the Debtors in the 20 days immediately prior to the Petition
Date and sold to the Debtors in the ordinary course of the Debtors’ business.

       3.     “Adequate Protection Claim” means any Claim for adequate protection within the
meaning of section 361 of the Bankruptcy Code arising under applicable law or pursuant to Final
Order of the Bankruptcy Court.

        4.      “Administrative Expense Claim” means any Claim (other than any Adequate
Protection Claims or DIP Claims) for costs and expenses of administration of the Debtors’ Estates
pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(i) the actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Debtors’ Estates and operating the Debtors’ businesses, (ii) any
Allowed requests for compensation or expense reimbursement for making a substantial
contribution in the Chapter 11 Cases pursuant to sections 503(b)(3), (4), and (5) of the Bankruptcy
Code, and (iii) any Unpaid Employee Severance Obligations.



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        5.     “Administrative Expense Claim, Priority Tax Claim, and Other Priority Claim
Backstop Amount” means the amount set forth in the Approved Budget (or as otherwise agreed
upon by the Debtors, the DIP Secured Parties, and the Purchaser), and funded by cash on hand of
the Debtors and the proceeds of the DIP Facility prior to the Confirmation Date, sufficient to satisfy
the agreed upon estimated amount of the Allowed Administrative Expense Claims, Allowed
Priority Tax Claims, and Allowed Other Priority Claims; provided that in no event will the DIP
Secured Parties’ obligations to provide such funding exceed the Administrative Expense Claim,
Priority Tax Claim, and Other Priority Claim Backstop Amount.

        6.      “Administrative Expense Claims Bar Date” means the deadline for Filing requests
for payment of Administrative Expense Claims (other than 503(b)(9) Claims), which: (a) with
respect to Administrative Expense Claims other than Professional Fee Claims, shall be 30 days
after the Effective Date; and (b) with respect to Professional Fee Claims of Professionals, shall be
45 days after the Effective Date.

       7.      “Affiliate” shall have the meaning set forth in section 101(2) of the Bankruptcy
Code when used in reference to a Debtor, and when used in reference to an Entity other than a
Debtor, means any other Entity that controls, is controlled by, or is under common control with
such Entity, other than a Debtor.

        8.      “Allowed” means with reference to any Claim or Interest, (i) any Claim or Interest
arising on or before the Effective Date (a) as to which no objection to allowance has been
interposed within the time period set forth in the Plan and such Claim or Interest is not Disputed
or (b) as to which any objection has been determined by a Final Order of the Bankruptcy Court to
the extent such objection is determined in favor of the respective Holder, (ii) any Claim or Interest
as to which the liability of the Debtors and the amount thereof are determined by a Final Order of
a court of competent jurisdiction other than the Bankruptcy Court, or (iii) any Claim or Interest
expressly allowed under the Plan; provided, however, that notwithstanding the foregoing, the Wind
Down Estate (to the extent applicable) will retain all claims and defenses with respect to Allowed
Claims that are Reinstated or otherwise Unimpaired pursuant to the Plan.

      9.     “Approved Budget” means the weekly budget, as defined in paragraph G(iv) of the
DIP Approval Order.

        10.     “Assets” means all of the Debtors’ property, rights, and interests that are property
of the Estates pursuant to section 541 of the Bankruptcy Code.

        11.     “Assigned Avoidance Actions” means all Avoidance Actions other than those
against (i) any parties identified on Schedule 1 to the Global Settlement Term Sheet, unless any
such party makes a GUC Settlement Opt-In Election, (ii) any other “Designated Parties” (as that
term is defined in the Purchase Agreement) under Section 2.1(k)(ii) through (iv) of the Purchase
Agreement, and (iii) any Released Parties.

       12.   “Assumed Liabilities” shall have the meaning set forth in Section 2.3 of the
Purchase Agreement.

       13.    “Avoidance Actions” means any and all actual or potential Claims and Causes of
Action to avoid a transfer of property or an obligation incurred by the Debtors arising under

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chapter 5 of the Bankruptcy Code, including sections 502, 510, 544, 545, 547 through 553, and
724(a) of the Bankruptcy Code or under similar or related state or federal statutes and common
law, including fraudulent transfer and preference laws.

        14.     “Ballots” means the ballots distributed to certain Holders of Impaired Claims
entitled to vote on the Plan upon which such Holders shall, among other things, indicate their
acceptance or rejection of the Plan in accordance with the Plan and the procedures governing the
solicitation process.

        15.     “Bankruptcy Code” means title 11 of the United States Code, as amended and in
effect during the pendency of the Chapter 11 Cases.

       16.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
promulgated under section 2075 of the Judicial Code and the general, local, and chambers rules of
the Bankruptcy Court, in each case, as amended from time to time.

        17.    “Bankruptcy Court” means the United States Bankruptcy Court for the Northern
District of Texas, Dallas Division.

       18.   “Bar Date Order” means the order entered by the Bankruptcy Court setting the
Claims Bar Date and the Governmental Bar Date.

      19.   “Bidder Protections” means, collectively, the Break-Up Fee and Expense
Reimbursement.

      20.     “Break-Up Fee” shall have the meaning set forth in Section 9.3(a) of the Purchase
Agreement, as may be modified by a subsequent order of the Bankruptcy Court.

        21.    “Business Day” means any day other than a Saturday, Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

       22.    “Canadian Debtors” means, collectively, the following Debtors: Solowave Design
Holdings Limited, Solowave Design LP, Solowave Design Inc., and Solowave International Inc.
Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the
Canadian Debtors shall mean the Wind Down Estate to the extent context requires.

       23.    “Canadian Property” means the assets, undertakings and property of the Canadian
Debtors and any other assets, undertakings and property of the Debtors that may be located in
Canada.

       24.    “Canadian Transferred Assets” means the Transferred Assets of the Canadian
Debtors and any other Transferred Assets of the Debtors that may be located in Canada.

       25.     “Cash” means cash in legal tender of the United States of America and cash
equivalents, including bank deposits, checks, and other similar items.

       26.    “Cause of Action” means any action, claim, cause of action, controversy, third-
party claim, dispute, demand, right, action, Lien, indemnity, contribution, guaranty, suit,

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obligation, liability, loss, debt, fee or expense, damage, interest, judgment, account, defense,
remedy, power, privilege, license, and franchise of any kind or character whatsoever, whether
known, unknown, foreseen or unforeseen, existing or hereafter arising, contingent or non-
contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, Disputed
or undisputed, Secured or Unsecured, assertable directly or derivatively, whether arising before,
on, or after the Petition Date, in contract, in tort, in law, or in equity or pursuant to any other theory
of law. For the avoidance of doubt, a “Cause of Action” includes: (a) any right of setoff,
counterclaim, or recoupment and any claim for breach of contract or for breach of duties imposed
by law or in equity; (b) the right to object to Claims or Interests; (c) any Claim pursuant to
section 362 or chapter 5 of the Bankruptcy Code (including Avoidance Actions); (d) any claim or
defense including fraud, mistake, duress, and usury, and any other defenses set forth in section 558
of the Bankruptcy Code; and (e) any state or foreign law fraudulent transfer or similar claim.

        27.      “CCAA Court” means the Ontario Superior Court of Justice (Commercial List).

       28.    “CCAA Recognition Proceedings” means the recognition proceedings commenced
pursuant to Part IV of the Companies’ Creditors Arrangement Act (Canada) in respect of the
Chapter 11 Cases of KidKraft and the Canadian Debtors.

       29.      “Chapter 11 Cases” means each individual case or the jointly administered cases
pending under chapter 11 of the Bankruptcy Code for each individual Debtor or the Debtors, as
applicable, in the Bankruptcy Court.

        30.   “Claim” shall have the meaning set forth in section 101(5) of the Bankruptcy Code,
against any Debtor.

       31.   “Claims Bar Date” means such time and date established pursuant to the Bar Date
Order by which Proofs of Claim (other than for Administrative Expense Claims and Claims held
by Governmental Units), including 503(b)(9) Claims, must be Filed.

        32.    “Claims Objection Deadline” means the deadline for objecting to a Claim against
a Debtor, which shall be on the date that is the later of (a) 120 days after the Effective Date, subject
to extension by order of the Bankruptcy Court, (b) 90 days after the Filing of a Proof of Claim, or
(c) such other period of limitation as may be fixed by the Plan, the Confirmation Order, the
Bankruptcy Rules, or a Final Order for objecting to a Claim.

       33.    “Claims Register” means the official register of Claims against and Interests in the
Debtors maintained by the Noticing and Claims Agent.

        34.      “Class” means a category of Claims against or Interests in the Debtors as set forth
in Article III of the Plan pursuant to section 1122(a) of the Bankruptcy Code.

        35.    “Committee” means the official committee of unsecured creditors of the Debtors
appointed by the U.S. Trustee in the Chapter 11 Cases on May 23, 2024, pursuant to section 1102
of the Bankruptcy Code.

       36.    “Confirmation” means the entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

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       37.    “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy
Rules 5003 and 9021.

       38.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court to
consider Confirmation of the Plan pursuant to section 1128(a) of the Bankruptcy Code, as such
hearing may be adjourned or continued from time to time.

       39.     “Confirmation Order” means the Order of the Bankruptcy Court confirming the
Plan pursuant to section 1129 of the Bankruptcy Code, which Order may include the Sale Approval
Order.

       40. “Confirmation Recognition Order” means an Order of the CCAA Court in the
CCAA Recognition Proceedings recognizing and giving effect in Canada to the Confirmation
Order.

        41.      “Consummation” means the occurrence of the Effective Date.

       42.     “Cure Claim” means a monetary Claim based upon a Debtor’s defaults under an
Executory Contract or Unexpired Lease at the time such contract or lease is assumed, or assumed
and assigned by such Debtor pursuant to section 365 of the Bankruptcy Code.

        43.    “Cure Notice” means a notice of a proposed amount to be paid on account of a
Cure Claim in connection with an Executory Contract or Unexpired Lease to be assumed under
the Plan pursuant to section 365 of the Bankruptcy Code, which notice shall include (a) procedures
for objecting to proposed assumptions of Executory Contracts and Unexpired Leases, (b) Cure
Claims to be paid in connection therewith and (c) procedures for resolution by the Bankruptcy
Court of any related disputes.

       44.      “D&O Liability Insurance Policies” means all unexpired directors’, managers’,
and officers’ liability insurance policies (including any “tail policy”) maintained by any of the
Debtors with respect to directors, managers, officers, and employees of the Debtors.

        45.     “Debtors” means, collectively, the following: KidKraft, Inc.; KidKraft Europe,
LLC; KidKraft Intermediate Holdings, LLC; KidKraft International Holdings, Inc.; KidKraft
International IP Holdings, LLC; KidKraft Partners, LLC; Solowave Design Corp.; Solowave
Design Holdings Limited; Solowave Design Inc.; Solowave Design LP; and Solowave
International Inc. Except as otherwise specifically provided in the Plan to the contrary, references
in the Plan to the Debtors shall mean the Wind Down Estate to the extent context requires.

       46.     “Definitive Documentation” means, without limitation, the following definitive
documents and agreements: (a) this Plan and all exhibits hereto, including the Plan Supplement
documents; (b) the Confirmation Order and Confirmation Recognition Order; (c) the Disclosure
Statement; (d) the solicitation materials with respect to the Plan; (e) the Purchase Agreement,
including the exhibits and schedules thereto; (f) the Sale Order, if not incorporated as part of the
Confirmation Order and Confirmation Recognition Order, as applicable; (g) any documentation or
budget related to the Post-Sale Reserve and Foreign Sale Reserve; (h) the DIP Order; (i) all “first
day” motions, applications, and other documents that any Debtor intends to file with the

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Bankruptcy Court and seeks to have heard on an expedited basis at the “first-day hearing” in the
Chapter 11 Cases and any proposed orders related thereto; (j) all motions, applications, and other
documents that any Debtor (including a foreign representative appointed by the Bankruptcy Court
for any Debtor) or any Canadian Affiliates of Debtors intend to file with the CCAA Court in the
CCAA Recognition Proceedings, and any proposed orders related thereto; (k) any provision in any
documentation regarding (i) releases of Claims, causes of action, and avoidance actions or (ii)
Assumed Liabilities or Transferred Contracts under the Purchase Agreement; (l) such other
agreements, instruments, and documentation as may be necessary or reasonably desirable to
consummate and document the Restructuring and Sale Transaction (including, without limitation,
in connection with the CCAA Recognition Proceedings); and (m) to the extent not included, any
motions and related proposed orders seeking approval of each of the above. For the avoidance of
doubt, the Definitive Documentation shall be in form and substance acceptable to the Debtors, the
Prepetition Secured Parties, the Purchaser, and with respect to MidOcean, solely with respect to
any provision therein having a material effect on MidOcean or releasing Claims or causes of action
by or against MidOcean or its affiliates thereunder.

        47.    “De Minimis Assets” means assets with a total transaction value, as calculated
within the Debtors’ or Wind Down Administrator’s reasonable discretion, in consultation with the
Prepetition Secured Parties, less than or equal to $50,000.

        48.     “DIP Agent” means GB Funding, LLC, in its capacity as administrative agent and
collateral agent under the DIP Facility.

       49.    “DIP Approval Order” means the interim order entered by the Bankruptcy Court
approving the DIP Facility and the Final DIP Approval Order.

        50.    “DIP Claim” means any Claim of the DIP Agent or any DIP Lender on account of
or arising from, under or in connection with the DIP Facility.

        51.      “DIP Facility” means the senior secured superpriority debtor-in-possession
financing facility to be provided by the DIP Lenders, all as set forth in, and consistent with and
subject to, the terms and conditions of the DIP Facility Documents.

         52.     “DIP Facility Documents” means the DIP Facility Term Sheet, the DIP Credit
Agreement (as applicable) and all other agreements, documents, instruments, and amendments
related thereto, including any DIP Order, and any guaranty agreements, pledge and collateral
agreements, UCC financing statements, or other perfection documents, subordination agreements,
fee letters, and any other security agreements.

       53.     “DIP Facility Term Sheet” means that certain term sheet regarding the terms of
debtor-in-possession financing between KidKraft, Inc., as borrower, certain of KidKraft’s
subsidiaries and affiliates, as guarantors, the DIP Agent, and the DIP Lender, attached as Exhibit
A to the DIP Approval Order.

        54.      “DIP Lender” means 1903 Partners, LLC, in its capacity as lender under the DIP
Facility.



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        55.   “DIP Liens” mean the Liens granted to the DIP Agent under the DIP Order to
secure the DIP Claims.

       56.       “DIP Order” means the DIP Approval Order and the DIP Recognition Order, as
applicable.

        57.    “DIP Recognition Order” means one or more orders of the CCAA Court in the
CCAA Recognition Proceedings recognizing and giving effect in Canada to the DIP Approval
Order, including the Final DIP Recognition Order.

        58.     “DIP Secured Parties” means collectively, the DIP Lender and the DIP Agent, in
their respective capacities under the DIP Facility.

       59.      “DIP Secured Parties Advisors” means Katten Muchin Rosenman LLP, as
counsel to the DIP Secured Parties and Fasken Martineau DuMoulin LLP as Canadian Counsel to
the DIP Secured Parties.

       60.     “Disallowed” means, with respect to any Claim, or any portion thereof, that such
Claim, or such portion thereof, is not Allowed; provided, however, that a Disputed Claim shall not
be considered Disallowed until so determined by entry of a Final Order.

       61.     “Disbursing Agent” means the Debtors, the Wind Down Estate, the GUC Trust, or
the Entity or Entities selected by the Debtors, the Wind Down Estate, or the GUC Trust as
applicable, to make or facilitate distributions pursuant to the Plan.

        62.     “Disclosure Statement” means the Disclosure Statement for the Debtors’ Joint
Prepackaged Chapter 11 Plan, dated as of May 8, 2024, as may be amended, supplemented, or
modified from time to time, including all exhibits and schedules thereto and references therein that
relate to the Plan, that is prepared and distributed in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and any other applicable law.

        63.     “Disputed” means, with respect to any Claim or Interest, that such Claim or Interest
(a) is not yet Allowed, (b) is not Disallowed by the Plan, the Bankruptcy Code, or a Final Order,
as applicable, (c) as to which a dispute is being adjudicated by a court of competent jurisdiction in
accordance with non-bankruptcy law, or (d) is or is hereafter listed in the Schedules as contingent,
unliquidated, or disputed and for which a Proof of Claim is or has been timely Filed in accordance
with the Bar Date Order.

       64.     “Dissolution Transactions” means the transactions that the Debtors or Wind Down
Administrator, with the consent of the Prepetition Secured Parties, determine to be necessary or
appropriate to implement the terms of the Plan, and ultimately result in the dissolution or other
termination of the corporate entities that comprise the Debtors.

        65.     “Distributable Value” means (a) the Purchase Price plus (b) any of the Debtors’
cash on hand as of the Effective Date plus (c) proceeds of the monetization of any Excluded Assets
of the Debtors, whenever received by the Debtors or the Wind Down Estates plus (d) surrender of
collateral or proceeds of any other collateral securing the DIP Claims or Prepetition Secured Party
Claims, whenever received by the Debtors or the Wind Down Estates; minus (e) amounts held-

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back to secure any purchase price adjustments pursuant to the Purchase Agreement (unless and
until distributed to the Debtors in accordance therewith); minus (f) amounts necessary to fund the
Professional Fee Escrow Account in the Professional Fee Reserve Amount; minus (g) amounts
necessary to satisfy Restructuring Expenses; minus (h) amounts necessary to fund the Post-Sale
Reserve; minus (g) amounts necessary to fund the Foreign Sale Reserve; provided that any unused
amounts remaining from the Professional Fee Escrow Account, the Administrative Expense Claim,
Priority Tax Claim, and Other Priority Claim Backstop Amount, and the Post-Sale Reserve shall
be considered Distributable Value; provided that, for the avoidance of doubt, no GUC Trust Assets
shall be included as Distributable Value.

        66.    “Distribution Record Date” means the record date for purposes of making
distributions under the Plan on account of Allowed Claims, which date shall be the Confirmation
Date or such other date as designated in an order of the Bankruptcy Court.

        67.     “Effective Date” means the date selected by the Debtors on which: (a) no stay of
the Confirmation Order, Confirmation Recognition Order or Sale Order (if separately entered) is
in effect; (b) all conditions precedent specified in Article IX have been satisfied or waived (in
accordance with Article IX.C); and (c) the Plan becomes effective; provided, however, that if such
date does not occur on a Business Day, the Effective Date shall be deemed to occur on the first
Business Day after such date.

        68.      “Entity” shall have the meaning set forth in section 101(15) of the Bankruptcy
Code.

       69.    “Estate” means, as to each Debtor, the estate created for the Debtor in its
Chapter 11 Case pursuant to section 541 of the Bankruptcy Code.

      70.        “Excluded Assets” shall have the meaning set forth in Section 2.2 of the Purchase
Agreement.

        71.   “Exculpated Party” means each of the following solely in its capacity as such and
to the maximum extent permitted by law: (a) the Debtors; (b) the Committee; and (c) the members
of the Committee, solely in their capacities as such.

        72.      “Executory Contract” means a contract to which one or more of the Debtors is a
party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

       73.    “Expense Reimbursement” shall have the meaning set forth in Section 9.3(a) of
the Purchase Agreement, as may be modified by a subsequent order of the Bankruptcy Court.

        74.     “Federal Judgment Rate” means the federal judgment rate in effect as of the
Petition Date, compounded annually.

       75.    “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with
the Bankruptcy Court or, with respect to the filing of a Proof of Claim, the Noticing and Claims
Agent or the Bankruptcy Court through the PACER or CM/ECF website.

        76.      “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

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       77.    “Final DIP Approval Order” means the Final Order entered by the Bankruptcy
Court approving the DIP Facility.

       78.    “Final DIP Recognition Order” means the Final Order of the CCAA Court
recognizing and giving effect in Canada to the Final DIP Approval Order.

         79.     “Final Order” means an order or judgment of a court of competent jurisdiction that
has been entered on the docket maintained by the clerk of such court, which has not been reversed,
vacated, or stayed and as to which (i) the time to appeal, petition for certiorari, or move for a new
trial, reargument, or rehearing has expired and as to which no appeal, petition for certiorari, or
other proceedings for a new trial, reargument, or rehearing shall then be pending, or (ii) if an
appeal, writ of certiorari, new trial, reargument, or rehearing thereof has been sought, such order
or judgment shall have been affirmed by the highest court to which such order was appealed, or
certiorari shall have been denied, or a new trial, reargument, or rehearing shall have been denied
or resulted in no modification of such order, and the time to take any further appeal, petition for
certiorari, or move for a new trial, reargument, or rehearing shall have expired; provided, however,
that no order or judgment shall fail to be a “Final Order” solely because of the possibility that a
motion under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous Bankruptcy
Rule (or any analogous rules applicable in another court of competent jurisdiction) or sections
502(j) or 1144 of the Bankruptcy Code has been or may be filed with respect to such order or
judgment.

       80.     “Foreign Sale Reserve” means the amount of the Purchase Price allocated to the
inventory transferred from the Netherlands Subsidiaries to facilitate the Sale Transaction, which
amount will be distributed from Debtors to the Netherlands Subsidiaries pursuant to the Plan.

        81.     “General Unsecured Claim” means any Claim that is not secured, subordinated, or
entitled to priority under the Bankruptcy Code or any Final Order of the Bankruptcy Court (other
than an Intercompany Claim or a Subordinated Claim).

        82.    “Global Settlement” means the global settlement between the Global Settlement
Parties pursuant to the term sheet (the “Global Settlement Term Sheet”) attached to the Notice of
Filing Global Settlement Term Sheet [Docket No. 195].

        83.     “Global Settlement Parties” means the Debtors, the Committee, the DIP Secured
Parties, the Prepetition Secured Parties, the Purchaser, and MidOcean.

       84.    “Governmental Bar Date” means such time and date established pursuant to the
Bar Date Order by which Proofs of Claim of Governmental Units must be Filed.

      85.    “Governmental Unit” shall have the meaning set forth in section 101(27) of the
Bankruptcy Code.

        86.    “GUC Critical Vendor Cash” means any amounts permitted to be paid under the
Final Order (I) Authorizing the Debtors to Pay (A) Critical Vendors, (B) Lien Claimants, and (C)
503(b)(9) Claimants; (II) Confirming Administrative Expense Priority of Outstanding Orders; and
(III) Granting Related Relief [Docket No. 200] that are unused as of the Effective Date (with the
Debtors having sole discretion to pay amounts authorized under such order, except that any

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Allowed Claims entitled to priority status under section 503(b)(9) of the Bankruptcy Code shall
be paid in full to the Holders thereof).

        87.    “GUC L/C Cash” means 40% of any cash collateral recovered from the former
prepetition agent pursuant to the Assignment and Assumption dated as of January 31, 2024 by and
between (i) Antares AssetCo LP, Antares Capital LP, Antares Holdings LP, Antares CLO 2017-2,
LTD., Antares CLO 2018-1, LTD., Fifth Third Bank, N.A., and PNC Bank, N.A., as assignors,
and (ii) 1903 Partners, LLC, as assignee.

        88.     “GUC Purchase Price Cash” means (i) $350,000 if, on the Effective Date, the
calculation of the Purchase Price Calculation is within a 0-5% variance of $39,322,916;
(ii) $250,000 if, on the Effective Date, the Purchase Price Calculation is within a 6-10% variance
of $39,322,916; (iii) $200,000 if, on the Effective Date, the Purchase Price Calculation is within a
11-20% variance of $39,322,916; or (iv) $150,000 if, on the Effective Date, the Purchase Price
Calculation is a more than 20% variance of $39,322,916.

       89.      “GUC Settlement Opt-In Election” means the affirmative election by a Holder of
a General Unsecured Claim to opt-in to the settlement under the Global Settlement Term Sheet
and receive its Pro Rata share of 100% of the GUC Trust Interests.

        90.     “GUC Settlement Opt-In Election Deadline” means the date that is thirty (30) days
after the Effective Date.

       91.     “GUC Settlement Opt-In Form” means the form by which a potential holder of a
General Unsecured Claim may make a GUC Settlement Opt-In Election, which form shall be
included in the Plan Supplement.

       92.    “GUC Settlement Opt-In Procedures” means the procedures set forth in the GUC
Settlement Opt-In Form for a potential holder of an Allowed General Unsecured Claim to make a
GUC Settlement Opt-In Election.

        93.   “GUC Trust” means the trust established pursuant to Article IV.C of the Plan to,
among other things, hold and liquidate the GUC Trust Assets and make distributions to Holders
of Allowed General Unsecured Claims that make a GUC Settlement Opt-In Election pursuant to
the Plan.

       94.      “GUC Trust Accounts” means the bank accounts to be held in the name of the GUC
Trustee that are created pursuant to Article IV.C of the Plan.

        95.    “GUC Trust Agreement” means the agreement establishing and governing the
GUC Trust, which agreement shall be included in the Plan Supplement and executed as of the
Effective Date, and which agreement shall be acceptable in form and substance to the Debtors, the
Committee, and the Prepetition Secured Parties.

        96.    “GUC Trust Assets” means, in the aggregate, (i) the GUC Trust Expense Reserve;
(ii) $125,000 in Cash; (iii) the Sponsor Cash Contribution; (iv) the GUC L/C Cash; (v) the GUC
Purchase Price Cash; (vi) any unused amounts in the Approved Budget that are designated for fees
and expenses of the Committee’s professionals; (vii) the GUC Critical Vendor Cash, if any;

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(viii) all commercial tort claims (as that term is defined in Article 9 of the Uniform Commercial
Code) of the Debtors other than any such claims against any Released Party under the Plan; and
(ix) the Assigned Avoidance Actions.

        97.   “GUC Trust Assets Transfer” means the assignment, conveyance, or other transfer
of the GUC Trust Assets to the GUC Trust, which shall occur on the next Business Day following
the GUC Settlement Opt-In Election Deadline.

       98.      “GUC Trust Beneficiaries” means any Holder of an Allowed General Unsecured
Claim that has made a GUC Settlement Opt-In Election and thereby obtained one or more GUC
Trust Interests and the Prepetition Secured Parties. For the avoidance of doubt, the Prepetition
Secured Parties shall be deemed to have made a GUC Settlement Opt-In Election and shall be
GUC Trust Beneficiaries without the need to submit any opt-in election or otherwise comply with
the GUC Settlement Opt-In Procedures.

       99.    “GUC Trust Expense Reserve” means a reserve in the amount of $75,000 funded
from Cash on hand of the U.S. Debtors to the GUC Trust on the Effective Date to allow the GUC
Trustee to maintain and administer the GUC Trust Assets.

        100.     “GUC Trust Interests” means the beneficial interests in the GUC Trust.

       101. “GUC Trustee” means the trustee appointed pursuant to Article IV.C of the Plan
(or any successor trustee), in its capacity as the trustee of the GUC Trust, who shall be solely
responsible for overseeing the reconciliation, objection, settlement, or other disposition of General
Unsecured Claims asserted in these Chapter 11 Cases.

        102. “Holder” means a Person or Entity holding a Claim against or Interest in a Debtor,
as applicable.

        103. “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims
or Interests that is not Unimpaired.

        104. “Indemnification Obligations” means each of the Debtors’ indemnification
obligations, whether in the bylaws, certificates of incorporation or formation, limited liability
company agreements, other organizational or formation documents, board resolutions,
management or indemnification agreements, or employment contracts, for the current and former
directors and the officers of the Debtors.

        105.     “Intercompany Claim” means any Claim against a Debtor held by another Debtor.

        106.     “Intercompany Interest” means any Interest in a Debtor held by another Debtor.

       107. “Interest” means any equity interest (as defined in section 101(16) of the
Bankruptcy Code) in any Debtor, including all ordinary shares, units, common stock, preferred
stock, membership interest, partnership interest, or other instrument, evidencing any fixed or
contingent ownership interest in the Debtors, whether or not transferable, including any option,
warrant, or other right, contractual or otherwise, to acquire any such interest, that existed
immediately before the Effective Date.

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        108.     “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

        109.     “IRS” means the Internal Revenue Service.

        110.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001.

        111.     “KidKraft” means KidKraft, Inc.

        112.     “Lien” shall have the meaning set forth in section 101(37) of the Bankruptcy Code.

       113. “List of Retained Causes of Action” means the schedule of certain Causes of
Action of the Debtors which shall be included in the Plan Supplement.

       114. “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the Northern District of Texas.

        115. “MidOcean” means MidOcean Partners IV, L.P. in its capacity as the holder of
Preferred A Units and Preferred C Units in KidKraft Group Holdings, LLC and party to that certain
Note Purchase Agreement dated as of January 13, 2023, pursuant to which, KidKraft agreed to
issue and sell to and MidOcean agreed to purchase, notes in the aggregate principal amount of up
to $5,000,000 and MidOcean US Advisor, L.P. as party to that certain Professional Services
Agreement dated as of July 15, 2015 by and among KidKraft Group Holdings, LLC, KidKraft, and
MidOcean US Advisor, L.P., as amended by that First Amendment to the Professional Services
Agreement dated as of September 30, 2016.

        116.     “Netherlands Asset Sale” has the meaning set forth in Article IV.A.3. of the Plan.

        117.     “Netherlands Liquidation” has the meaning set forth in Article IV.A.3. of the Plan.

      118. “Netherlands Subsidiaries” means non-debtors KidKraft Netherlands C.V.,
KidKraft Holdings B.V., and KidKraft Netherlands B.V.

        119. “Note Purchase Agreement Documents” means that certain Note Purchase
Agreement dated as of January 13, 2023 by and among certain of the Debtors and MidOcean and
all other agreements, documents, instruments, and amendments related thereto.

        120. “Noticing and Claims Agent” means Stretto Inc., the noticing, claims, and
solicitation agent proposed to be retained by the Debtors in the Chapter 11 Cases.

        121. “Other Priority Claim” means any Claim that is entitled to priority of payment
under section 507(a) of the Bankruptcy Code other than an Administrative Expense Claim or a
Priority Tax Claim.

      122. “Other Secured Claims” means Secured Claims other than Priority Tax Claims,
DIP Claims, or Prepetition Secured Party Claims.

        123.     “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy
Code.


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         124. “Petition Date” means the date on which each Debtor Filed its voluntary petition
for relief commencing the Chapter 11 Cases.

        125. “Plan” means this chapter 11 plan, as it may be altered, amended, modified, or
supplemented from time to time in accordance with the Bankruptcy Code, the Bankruptcy Rules,
and the terms of the Plan, including the Plan Supplement and all exhibits, supplements, appendices,
and schedules to the Plan, which shall be consistent with, and subject to the approvals and consents
as to form and substance set forth in, the Restructuring Support Agreement.

         126. “Plan Supplement” means, to the extent applicable, the compilation of documents
and forms of documents, and all exhibits, attachments, schedules, agreements, documents and
instruments referred to therein, ancillary or otherwise, including, without limitation, the Purchase
Agreement, the Schedule of Assumed Executory Contracts and Unexpired Leases, the GUC Trust
Agreement, the Global Settlement Term Sheet, the GUC Settlement Opt-In Form, the identity of
the Wind Down Administrator, and the List of Retained Causes of Action all of which shall be
incorporated by reference into, and are an integral part of, the Plan, as may be amended, modified,
replaced and/or supplemented from time to time, subject to the consent of the Prepetition Secured
Parties.

        127. “Post-Sale Reserve” means a cash reserve in the amount of $650,000 to fund the
reasonably anticipated costs necessary for the wind down of the Wind Down Estate, including an
estimated amount of reasonable fees and expenses that may be incurred by professionals for
services rendered after the Effective Date and statutory fees, which cash reserve shall be funded
into a segregated account on the Effective Date.

        128. “Prepetition Credit Agreement” means that certain Amended and Restated First
Lien Credit Agreement, dated as of April 3, 2020 (as amended from time to time), by and among
KidKraft, Inc. and KidKraft Netherlands B.V., jointly and severally, as borrowers, the guarantors
thereto, GB Funding, LLC, as Prepetition Credit Agreement Agent, and 1903 Partners, LLC, as
Lender.

      129. “Prepetition Credit Agreement Agent” means GB Funding, LLC, in its capacity as
Administrative Agent and Collateral Agent (as such terms are defined in the Prepetition Credit
Agreement) under the Prepetition Credit Agreement.

       130. “Prepetition Credit Agreement Documents” means the Prepetition Credit
Agreement and all other agreements, documents, instruments, and amendments related thereto,
including any guaranty agreements, pledge and collateral agreements, UCC financing statements,
or other perfection documents, subordination agreements, fee letters, and any other security
agreements.

        131. “Prepetition Secured Parties” means GB Funding, LLC, as Administrative Agent
and Collateral Agent, and 1903 Partners, LLC, as Lender, in their respective capacities under the
Prepetition Credit Agreement.

       132. “Prepetition Secured Party Advisors” means Katten Muchin Rosenman LLP, as
counsel to the Prepetition Secured Parties and Fasken Martineau DuMoulin LLP as Canadian
counsel to the Prepetition Secured Parties.

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        133. “Prepetition Secured Party Claims” means all Claims, including “Parallel Debts”
(as defined in the Prepetition Credit Agreement Documents) held by the Prepetition Secured
Parties on account of, arising under, or relating to their respective capacities as lender or agent
under the Prepetition Credit Agreement Documents.

       134. “Prepetition Secured Parties’ Deficiency Claims” means the deficiency Claims
held by the Prepetition Secured Parties. Solely for purposes of any distributions to be made from
the GUC Trust Assets to GUC Trust Beneficiaries, the Prepetition Secured Parties’ Deficiency
Claims shall be capped at $55 million.

      135. “Prepetition Secured Party Liens” means all Liens granted to the Prepetition Credit
Agreement Agent to secure the Prepetition Secured Party Claims.

        136. “Priority Tax Claim” means a Claim held by a Governmental Unit of the kind
entitled to priority of payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy
Code.

        137. “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest
bears to the aggregate amount of Allowed Claims, Allowed Interests, or other matter so referenced,
as the context requires.

       138. “Professional” means an Entity employed pursuant to a Bankruptcy Court order in
accordance with sections 327 or 1103 of the Bankruptcy Code and to be compensated for services
rendered before or on the Effective Date, pursuant to sections 327, 328, 329, 330, or 331 of the
Bankruptcy Code.

       139. “Professional Fee Claims” means a Claim for the compensation of the
Professionals and other professionals (including, for certainty, professionals to be compensated
pursuant to the orders of the CCAA Court in the CCAA Recognition Proceedings) and the
reimbursement of expenses incurred by such professionals through and including the Effective
Date to the extent such fees and expenses have not been previously paid, including, for the
avoidance of doubt, any costs, fees, expenses, or commissions (including with respect to any
investment banking transaction fees or commissions) incurred in connection with the
Restructuring; provided that to the extent a Debtor Professional (as defined in the DIP Approval
Order) agrees with the DIP Lender to a modification to the Debtor Professional fees in accordance
with Section 1.8 of the DIP Approval Order, the Claim as modified shall be included in the
applicable Professional Fee Claim. Professional Fee Claims of the Committee’s Professionals
shall not exceed the aggregate amounts set forth in the Approved Budget, consistent with the
Global Settlement Term Sheet.

       140. “Professional Fee Escrow Account” means an interest-bearing account funded by
the Debtors on the Effective Date in an amount equal to the Professional Fee Reserve Amount,
pursuant to Article II.B.

       141. “Professional Fee Reserve Amount” means the total amount of Professional Fee
Claims estimated in accordance with Article II.B.



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        142. “Professional Services Agreement Documents” means that certain Professional
Services Agreement dated as of July 15, 2015 by and among certain of the Debtors and MidOcean
and all other agreements, documents, instruments, and amendments related thereto.

       143. “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the
Chapter 11 Cases.

        144. “Purchase Agreement” means that certain Asset Purchase Agreement dated as of
April 25, 2024, as amended, modified, or supplemented from time to time, among Purchaser and
certain of the Debtors, including all schedules and exhibits thereto, which shall be Filed with the
Plan Supplement.

        145.     “Purchase Price” shall have the meaning set forth in the Purchase Agreement.

        146. “Purchase Price Calculation” means the calculation of the “Purchase Price at
close” in accordance with Exhibit B of the Purchase Agreement.

       147. “Purchaser” means Backyard Products, LLC, and permitted successors, assigns,
and designees, as applicable.

       148. “Qualifying Alternative Transaction” shall have the meaning set forth in the
Purchase Agreement.

       149. “Reinstated” or “Reinstatement” means, with respect to Claims and Interests, the
treatment provided for in section 1124 of the Bankruptcy Code, which, in all instances, shall be
acceptable to the Prepetition Secured Parties and the Purchaser in their sole and absolute discretion.

        150. “Released Party” means each of the following solely in its capacity as such:
(a) the Debtors; (b) the DIP Agent; (c) the DIP Lender; (d) MidOcean; (e) the Prepetition Secured
Parties; (f) the Purchaser; (g) the Committee; and (h) with respect to each of the foregoing under
(a) through (g) such Entity and its current and former Affiliates, and such Entity’s and its current
and former Affiliates’ current and former directors, managers, officers, employees, managed
accounts and funds, predecessors, successors, assigns, subsidiaries, equity Holders, members,
agents, attorneys, accountants, investment bankers, consultants, and other professionals, each
solely in their capacity as such.

        151. “Releasing Party” means each of the following solely in its capacity as such: (a) all
Released Parties; (b) all Holders of Claims who affirmatively cast a timely ballot to accept the
Plan and did not affirmatively opt out of the releases set forth in Article VIII.F herein; (c) all
Holders of Claims and Interests that were given notice of the opportunity to opt out of granting the
releases set forth in Article VIII.F herein but did not otherwise affirmatively opt out of such
releases; and (d) all GUC Trust Beneficiaries.

        152. “Restructuring” means all actions that may be necessary or appropriate to
effectuate the transactions described in, approved by, contemplated by, or necessary to effectuate,
the Plan.



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        153. “Restructuring Expenses” means the reasonable and documented professional fees
and expenses incurred by the DIP Secured Party Advisors, the DIP Secured Parties, the Prepetition
Secured Party Advisors and the Prepetition Secured Parties, in each case, in connection with or
arising as a result of the Restructuring, the Restructuring Support Agreement, Sale Transaction,
the Plan, or the Chapter 11 Cases.

       154. “Restructuring Support Agreement” means that certain Restructuring Support
Agreement, dated April 25, 2024, by and among the Debtors, the Prepetition Secured Parties, the
DIP Secured Parties, the Purchaser, and MidOcean, as may be further amended, restated, modified,
supplemented, or replaced from time to time in accordance with the terms thereof.

       155. “Retained Causes of Action” means those Causes of Action identified on the List
of Retained Causes of Action that are not released, waived, or transferred pursuant to the Plan or
any Sale Transaction.

      156. “RSA Parties” mean, collectively, the Debtors, the Prepetition Secured Parties, the
DIP Secured Parties, the Purchaser, and MidOcean.

        157. “Sale Approval Order” means the order of the Bankruptcy Court approving the
Purchase Agreement and the Sale Transaction, which order may be, but is not required to be, part
of the Confirmation Order.

       158. “Sale Hearing” means the hearing held by the Bankruptcy Court to consider
Confirmation of the Sale Order, as such hearing may be adjourned or continued from time to time.

       159.      “Sale Order” means the Sale Approval Order and the Sale Recognition Order, as
applicable.

       160. “Sale Recognition Order” means an order of the CCAA Court in the CCAA
Recognition Proceedings recognizing and giving effect in Canada to the Sale Approval Order,
which order may be, but is not required to be, part of the Confirmation Recognition Order.

        161.     “Sales Process” means the marketing and sales process for the Debtors’ Assets.

        162. “Sale Transaction” means the sale by the Debtors that are party to the Purchase
Agreement of all of their respective right, title, and interest in, to and under the Transferred Assets
to the Purchaser in accordance with the terms of the Purchase Agreement and the Sale Order.

        163. “Sale Transaction Documents” means the Sale Order, the Purchase Agreement,
and all other documents required to consummate the Sale Transaction (with respect to such other
documents required to consummate the Sale Transaction, in form and substance acceptable to each
party thereto).

        164. “Schedule of Assumed Executory Contracts and Unexpired Leases” means the
schedule of Executory Contracts and Unexpired Leases to be assumed and assigned to Purchaser
pursuant to the Plan, as set forth in the Plan Supplement, as may be amended from time to time
prior to the Effective Date.


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        165. “Schedules” means, collectively, the schedules of assets and liabilities, schedules
of Executory Contracts and Unexpired Leases, and statements of financial affairs Filed by the
Debtors pursuant to section 521 of the Bankruptcy Code and in substantial conformance with the
official bankruptcy forms, as the same may have been amended, modified, or supplemented from
time to time.

        166.     “SEC” means the United States Securities and Exchange Commission.

        167. “Secured Claim” means a Claim (i) secured by a lien on collateral to the extent of
the value of such collateral as (a) set forth in the Plan, (b) agreed to by the Holder of such Claim
and the Debtors, or (c) determined by a Final Order in accordance with section 506(a) of the
Bankruptcy Code, or (ii) secured by the amount of any right of setoff of the Holder thereof in
accordance with section 553 of the Bankruptcy Code.

        168.     “Security” shall have the meaning set forth in section 101(49) of the Bankruptcy
Code.

      169. “Special Committee” means the Special Committee of the Board of Directors of
KidKraft, Inc.

        170.     “Sponsor Cash Contribution” has the meaning set forth in Article IV.C.8 of the
Plan.

        171.     “Sponsor Claims Waiver” has the meaning set forth in Article IV.C.8 of the Plan.

        172. “Subordinated Claim” means any Claim against a Debtor arising from
(a) rescission of a purchase or sale of a Security in any Debtor or an Affiliate of any Debtor,
(b) purchase or sale of such a Security, or (c) reimbursement or contribution allowed under section
502 of the Bankruptcy Code on account of such a Claim.

        173. “Transferred Assets” shall have the meaning set forth in Section 2.1 of the
Purchase Agreement, provided, however, the Assigned Avoidance Actions shall not be Transferred
Assets.

       174. “Transferred Contracts” shall have the meaning set forth in Section 2.1(e) of the
Purchase Agreement.

       175. “Unclaimed Property” means any distribution under the Plan on account of an
Allowed Claim whose Holder has not: (a) accepted such distribution or, in the case of distributions
made by check, negotiated such check; (b) given notice to the Wind Down Estate of an intent to
accept such distribution; (c) responded to the Debtors’, Wind Down Administrator’s, or GUC
Trustee’s (as applicable) requests for information necessary to facilitate such distribution; or (d)
taken any other action necessary to facilitate such distribution.

        176. “Unexpired Lease” means a lease of nonresidential real property to which one or
more of the Debtors is a party that is subject to assumption or rejection under sections 365 or 1123
of the Bankruptcy Code.


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        177. “Unimpaired” means, with respect to a Class of Claims or Interests, a Class
consisting of Claims or Interests that are not “impaired” within the meaning of section 1124 of the
Bankruptcy Code, including through payment in full in Cash or Reinstatement.

        178. “Unpaid Employee Severance Obligations” means those obligations owed to
certain eligible employees who were terminated prior to the Petition Date and who executed a
separation agreement after the Petition Date and prior to the Effective Date, which obligations
shall be deemed to have been incurred after the Petition Date and treated as Administrative
Expense Claims for purposes of this Plan.

        179.     “Unsecured” means, with respect to a Claim, not Secured.

        180. “U.S. Trustee” means the Office of the United States Trustee for the Northern
District of Texas.

        181. “U.S. Trustee Fees” means fees arising under 28 U.S.C. § 1930(a)(6) and, to the
extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

        182. “Wind Down Administrator” means the Person or Persons identified in the Plan
Supplement (as determined by the Debtors), if known, and appointed on the Effective Date, who
will serve as the trustee and administrator overseeing the Wind Down Estate and dissolution of the
Debtors and their Estates in accordance with the Plan.

       183. “Wind Down Claims” means the Prepetition Secured Party Claims that remain
outstanding on the Effective Date, in an amount not to exceed $10,000,000, and the Prepetition
Secured Party Liens securing such Prepetition Secured Party Claims, which Prepetition Secured
Party Claims and Liens shall be automatically released and discharged following the orderly wind
down of the Debtors and the other borrower and guarantors under the Prepetition Credit Agreement
and after the proceeds of the Netherlands Asset Sale and Netherlands Liquidation, if any, are
indefeasibly distributed in Cash to the Prepetition Secured Parties as provided in Article IV of the
Plan.

       184. “Wind Down Estate” means, collectively, (i) the Estates of the Debtors and (ii) the
Debtors’ non-Debtor affiliates, as applicable, following the Effective Date.

        185. “Wind Down Estate Assets” means (i) any Assets of the Debtors’ Estates that are
not GUC Trust Assets and not sold pursuant to the Sale Transaction, including, but not limited to,
the Excluded Assets, Interests in the Debtors’ non-Debtor affiliates, and any Cause of Action
specifically enumerated in the List of Retained Causes of Action and (ii) Cash in the amount set
forth in the Post-Sale Reserve; provided that proceeds of any Wind Down Estate Assets, including
without limitation, Excluded Assets and such Retained Causes of Action shall become
Distributable Value. For the avoidance of doubt, no GUC Trust Assets shall be Wind Down Estate
Assets.

        186. “Wind Down Estate Expenses” means any and all reasonable and documented fees,
costs, and expenses incurred by the Wind Down Estate or the Wind Down Administrator (or any
Person, entity, or professional engaged to assist the Wind Down Administrator) in connection with
the Wind Down Transactions, including, without limitation, any reasonable and documented

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administrative fees, attorneys’ or other professionals’ fees and expenses, insurance fees, taxes,
escrow expenses and fees payable under 28 U.S.C. § 1930, costs associated with any maintenance
of any going concern as part of the wind down of such going concern’s business operations, or
costs to maintain certain assets while they are held, in each case, in accordance with and subject
to the Post-Sale Reserve.

        187. “Wind Down Transactions” means the transactions that the Debtors or Wind Down
Administrator, as applicable, with the consent of the Prepetition Secured Parties, determines to be
necessary or appropriate to implement the terms of the Plan, and that ultimately result in the
dissolution or other termination of KidKraft and its Affiliates.

B.      Rules of Interpretation

        For purposes herein: (1) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;
(2) except as otherwise provided, any reference herein to a contract, lease, instrument, release,
indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that the referenced document, as previously amended, modified, or
supplemented, if applicable, shall be substantially in that form or substantially on those terms and
conditions; (3) except as otherwise provided, any reference herein to an existing document or
exhibit having been Filed or to be Filed shall mean that document or exhibit, as it may thereafter
be amended, restated, supplemented, or otherwise modified in accordance with the terms of the
Plan; (4) unless otherwise specified, all references herein to “Articles” are references to Articles
of the Plan; (5) unless otherwise stated, the words “herein,” “hereof,” and “hereto” refer to the
Plan in its entirety rather than to a particular portion of the Plan; (6) captions and headings to
Articles are inserted for convenience of reference only and are not intended to be a part of or to
affect the interpretation hereof; (7) the words “include” and “including,” and variations thereof,
shall not be deemed to be terms of limitation, and shall be deemed to be followed by the words
“without limitation;” (8) the rules of construction set forth in section 102 of the Bankruptcy Code
shall apply; (9) any term used in capitalized form herein that is not otherwise defined but that is
used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term
in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; and (10) any docket number
references in the Plan shall refer to the docket number of any document Filed with the Bankruptcy
Court in the Chapter 11 Cases.

C.      Computation of Time

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction, action, or event shall or may occur pursuant to the Plan is a day that is not a Business
Day, then such transaction, action, or event shall instead occur on the next succeeding Business
Day.




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D.      Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated herein, the laws of the State
of New York without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of the Plan, any agreements, documents,
instruments, or contracts executed or entered into in connection with the Plan (except as otherwise
set forth in those agreements, in which case the governing law of such agreement shall control);
provided that the corporate or limited liability company governance matters relating to the Debtors
shall be governed by the laws of the state of incorporation or formation (as applicable) of the
applicable Debtor.

E.      Reference to Monetary Figures

      All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided herein.

F.      Reference to the Debtors or the Wind Down Estate

        Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
to the Debtors or the Wind Down Estate shall mean the Debtors and the Wind Down Estate, as
applicable, to the extent the context requires.

G.      Controlling Document

       In the event of an inconsistency between the Plan, the Disclosure Statement, or any other
Final Order (other than the Confirmation Order or Sale Approval Order, as applicable) referenced
in the Plan (or any exhibits, schedules, appendices, supplements or amendments to any of the
foregoing, other than the Plan Supplement), the terms of the Plan shall control in all respects. In
the event of an inconsistency between the Plan and the Plan Supplement, the terms of the relevant
document in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement
document or in the Confirmation Order). In the event of an inconsistency between the
Confirmation Order or Sale Approval Order and the Plan, the Confirmation Order or Sale Approval
Order, as applicable, shall control.

                               ARTICLE II.
            ADMINISTRATIVE EXPENSE CLAIMS AND PRIORITY CLAIMS

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, Professional Fee Claims, DIP Claims, Adequate Protection Claims, and Priority Tax
Claims have not been classified and, thus, are excluded from the Classes of Claims and Interests
set forth in Article III of the Plan.

A.      Administrative Expense Claims

       Except (i) with respect to Administrative Expense Claims that are Professional Fee Claims
and Bidder Protections, or (ii) to the extent that (x) an Administrative Expense Claim has already
been paid during the Chapter 11 Cases or a Holder of an Allowed Administrative Expense Claim

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and the applicable Debtor(s) or (y) Wind Down Administrator (as applicable) agrees to less
favorable treatment, each Holder of an Allowed Administrative Expense Claim shall be paid in
full in Cash; on the latest of: (a) on or as soon as reasonably practicable after the Effective Date if
such Administrative Expense Claim is Allowed as of the Effective Date; (b) on or as soon as
reasonably practicable after the date such Administrative Expense Claim is Allowed; and (c) the
date such Allowed Administrative Expense Claim becomes due and payable, or as soon thereafter
as is reasonably practicable; provided that in no event shall the amount paid in the aggregate to
Administrative Expense Claims (excluding Professional Fee Claims) in accordance with this
Article II.A, Priority Tax Claims under Article II.E hereof, and Other Priority Claims under Article
III.B hereof exceed the Administrative Expense Claim, Priority Tax Claim, and Other Priority
Claim Backstop Amount. For the avoidance of doubt, the Bidder Protections shall be an
Administrative Expense Claim in accordance with any applicable orders of the Bankruptcy Court.

        Except as otherwise provided in this Article II.A of the Plan and except with respect to
Administrative Expense Claims that are Professional Fee Claims, Unpaid Employee Severance
Obligations, or Bidder Protection Claims, requests for allowance and payment of Administrative
Expense Claims must be Filed and served on the Debtors, the Wind Down Estate, or the Wind
Down Administrator (as applicable), pursuant to the procedures specified in the Bar Date Order,
the Confirmation Order, and the notice of entry of the Confirmation Order no later than the
Administrative Expense Claims Bar Date. Holders of Administrative Expense Claims that are
required to, but do not, File and serve on the Debtors, the Wind Down Estate, or the Wind Down
Administrator (as applicable) a request for allowance and payment of such Administrative Expense
Claims by such date shall be forever barred, estopped, and enjoined from asserting such
Administrative Expense Claims against the Debtors, the Wind Down Estate, or their respective
assets or property and such Administrative Expense Claims shall be deemed discharged as of the
Effective Date. Objections to such requests, if any, must be Filed and served on the Debtors, the
Wind Down Estate, or the Wind Down Administrator (as applicable) and the requesting party no
later than 90 days after the Effective Date or such other date fixed by the Bankruptcy Court.
Notwithstanding the foregoing, no request for payment of an Administrative Expense Claim need
be Filed with respect to an Administrative Expense Claim previously Allowed.

B.      Professional Compensation

        1.       Final Fee Applications

        All final requests for payment of Professional Fee Claims of Professionals, including such
Professional Fee Claims incurred during the period from the Petition Date through and including
the Effective Date, shall be Filed and served on the Debtors, the Wind Down Estate, or the Wind
Down Administrator, as applicable, no later than 45 days after the Effective Date. Each such final
request will be subject to approval by the Bankruptcy Court after notice and a hearing in
accordance with the procedures established by the Bankruptcy Code and prior orders of the
Bankruptcy Court in the Chapter 11 Cases, and once approved by the Bankruptcy Court, such
Allowed Professional Fee Claims shall be promptly paid in Cash from the Professional Fee Escrow
Account up to its full Allowed amount.

       Objections to any Professional Fee Claim of Professionals must be Filed and served on the
Debtors, the Wind Down Estate, or the Wind Down Administrator, as applicable, and the

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applicable Professional no later than 24 days after such Professional Fee Claim is Filed with the
Bankruptcy Court.

        2.       Professional Fee Escrow Account

        On the Effective Date, the Debtors shall establish and fund the Professional Fee Escrow
Account with Cash equal to the “Professional Fee Reserve Amount” described in Article II.B.3
herein. The Professional Fee Escrow Account shall be maintained in trust solely for the
Professionals and the other professionals with Professional Fee Claims. The Debtors shall utilize
the Funded Reserve Account (as defined in the DIP Approval Order) to fund the Professional Fee
Escrow Account, provided that the Funded Reserve Account is not a limitation on the amount
funded to the Professional Fee Escrow Account. The Professional Fee Escrow Account and funds
therein shall not be considered property of the Estates of the Debtors or the Wind Down Estate.
The amount of Allowed Professional Fee Claims shall be paid in Cash to the Professionals by the
Disbursing Agent or the Wind Down Administrator from the Professional Fee Escrow Account as
soon as reasonably practicable after such Professional Fee Claims are Allowed, and the amount of
all other Professional Fee Claims shall be paid in Cash to the applicable professionals by the
Disbursing Agent or the Wind Down Administrator from the Professional Fee Escrow Account
on the Effective Date. After all such Professional Fee Claims have been paid in full, any remaining
amount in the Professional Fee Escrow Account shall promptly be distributed to the Wind Down
Estate and deemed Distributable Value and distributed to the holders of Prepetition Secured Party
Claims without any further action or order of the Bankruptcy Court.

        3.       Professional Fee Reserve Amount

        No later than five Business Days prior to the Effective Date, the Debtors shall solicit
Professionals and the other professionals with Professional Fee Claims for estimates of their
unpaid Professional Fee Claims before and as of the Effective Date, and such Professionals and
other professionals shall deliver such estimate to the Debtors in writing via email two Business
Days prior to the Effective Date; provided, however, that such estimate shall not be deemed to
limit the amount of the fees and expenses that are the subject of any such professional’s final
request for payment of Professional Fee Claims. If any professional does not timely provide an
estimate, the Debtors may estimate the unpaid and unbilled fees and expenses of such professional.

        4.       Post-Effective Date Fees and Expenses

         Except as otherwise specifically provided in the Plan, from and after the Effective Date,
the Disbursing Agent, the Wind Down Estate, or the Wind Down Administrator (as applicable)
shall, in the ordinary course of business and without any further notice or application to or action,
order, or approval of the Bankruptcy Court, pay in Cash the reasonable, actual, and documented
legal, professional, or other fees and expenses related to implementation of the Plan and
Consummation incurred on or after the Effective Date by the Professionals and other professionals
(including any fees related to the preparation of Professional fee applications). Upon the Effective
Date, any requirement that Professionals comply with sections 327 through 331, 363, and 1103 of
the Bankruptcy Code in seeking retention or compensation for services rendered after such date
shall terminate, and the Debtors, the Wind Down Estate, or the Wind Down Administrator (as
applicable) may employ and pay any Professional or other professional for fees and expenses

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incurred after the Effective Date in the ordinary course of business without any further notice to
or action, order, or approval of the Bankruptcy Court. Notwithstanding the foregoing, in no
circumstances shall the payment of any post-Effective Date fees and/or expenses and other Wind
Down Estate Expenses exceed the amount of the Post-Sale Reserve.

C.      DIP Claims

        Notwithstanding anything to the contrary herein, in full and final satisfaction, settlement,
release, and discharge of and in exchange for release of all DIP Claims, on the Effective Date, the
DIP Claims shall: (i) be indefeasibly paid in Cash in full, or (ii) receive such other treatment as
agreed by the Debtors and the applicable Holder of a DIP Claim.

D.      Adequate Protection Claims

         On the Effective Date, the Adequate Protection Claims shall (i) be paid in Cash in full or
(ii) receive such other treatment as agreed by (a) to the extent such Adequate Protection Claims
are held by the Prepetition Secured Parties, the Debtors and the Prepetition Secured Parties or
(b) to the extent such Adequate Protection Claims are not held by a Prepetition Secured Party, the
Debtors and the applicable Holder of such Adequate Protection Claims.

E.      Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less
favorable treatment, in full and final satisfaction, settlement, release, and discharge of and in
exchange for each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim
shall receive Cash in an amount equal to such Allowed Priority Tax Claim on the Effective Date
or as soon as practicable thereafter or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code.

F.      Statutory Fees

        All Statutory Fees due and payable prior to, and that remain unpaid as of, the Effective
Date shall be paid by the applicable Debtors on the Effective Date. No statutory fees shall be paid
on the initial funding of the Post-Sale Reserve or the GUC Trust. Statutory fees shall only be paid
on subsequent disbursement of Cash by the Wind Down Estate or the GUC Trust, as applicable.
Any Statutory Fees that may be owed by the Debtors, the Wind Down Estate, or the GUC Trust,
as applicable, after the Confirmation Date related to the reduction to Cash of non-Cash assets shall
be paid by the Debtors, the Wind Down Estate, or the GUC Trust, as applicable, until the case is
closed, dismissed, or converted. If no disbursements are made by the Debtors, the Wind Down
Estate, or the GUC Trust for any quarter post-confirmation, only the minimum statutory fee will
be owed in accordance with 28 U.S.C. § 1930(a)(6). The Wind Down Estate and the GUC Trust
shall file post-confirmation operating reports with respect to their respective operations and
disbursements until these Chapter 11 Cases are closed, dismissed, or converted to cases under
chapter 7 of the Bankruptcy Code.




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G.       Restructuring Expenses

        The Debtors will promptly pay in full in Cash any Restructuring Expenses in accordance
with the terms of the Restructuring Support Agreement and the DIP Approval Order. To the extent
any Restructuring Expenses remain unpaid on the Effective Date, such Restructuring Expenses
shall constitute Allowed Administrative Expense Claims and shall be paid in full in Cash, subject
to the Restructuring Support Agreement and the DIP Approval Order without the need to file a
proof of such Claim and without further order of the Court. On the Effective Date, the Disbursing
Agent or the Wind Down Estate, as applicable, shall pay the Restructuring Expenses that have
accrued and are unpaid as of the Effective Date.

                               ARTICLE III.
          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims

        The Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims
addressed in Article II of the Plan, all Claims and Interests are classified in the Classes set forth
below in accordance with sections 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or an
Interest is classified in a particular Class only to the extent that the Claim or Interest fits within the
description of that Class and is classified in other Class(es) to the extent that any portion of the
Claim or Interest fits within the description of such other Class(es). A Claim or an Interest also is
classified in a particular Class for the purpose of receiving distributions under the Plan only to the
extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not been
paid, released, or otherwise satisfied prior to the Effective Date.

       The classification of Claims and Interests against the Debtors pursuant to the Plan is as
follows:

 Class     Claim or Interest             Status                     Voting Rights
   1       Other Priority Claims         Unimpaired                 Presumed to Accept
     2     Other Secured Claims          Unimpaired                 Presumed to Accept
     3     Prepetition Secured Party     Impaired                   Entitled to Vote
           Claims
     4     General Unsecured             Impaired                   Deemed to Reject
           Claims
     5     Intercompany Claims           Unimpaired/Impaired        Presumed to Accept/Deemed to
                                                                    Reject
     6     Intercompany Interests        Unimpaired/Impaired        Presumed to Accept/Deemed to
                                                                    Reject
     7     KidKraft Intermediate         Impaired                   Deemed to Reject
           Holdings, LLC Interests




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B.      Treatment of Claims and Interests

        1.       Class 1 — Other Priority Claims

                 a.     Classification: Class 1 consists of all Other Priority Claims.

                 b.     Treatment: Except to the extent that a Holder of an Allowed Other Priority
                        Claim agrees to less favorable treatment, in full and final satisfaction of
                        such Allowed Other Priority Claim, each Holder of an Allowed Other
                        Priority Claim will, (i) be paid in full in Cash or (ii) otherwise receive
                        treatment consistent with the provisions of section 1129(a)(9) of the
                        Bankruptcy Code, payable on the later of the Effective Date and the date
                        that is 10 business days after the date on which such Other Priority Claim
                        becomes an Allowed Other Priority Claim, in each case, or as soon as
                        reasonably practicable thereafter; provided that in no event shall the amount
                        paid in the aggregate for Administrative Expense Claims (excluding
                        Professional Fee Claims) in accordance with Article II.A hereof, Priority
                        Tax Claims under Article II.E hereof, and Other Priority Claims under this
                        Article III.B exceed the Administrative Expense Claim, Priority Tax Claim,
                        and Other Priority Claim Backstop Amount.

                 c.     Voting: Class 1 is Unimpaired under the Plan. Holders of Class 1 Other
                        Priority Claims are conclusively presumed to have accepted the Plan
                        pursuant to section 1126(f) of the Bankruptcy Code. Therefore, such
                        Holders are not entitled to vote to accept or reject the Plan.

        2.       Class 2 — Other Secured Claims

                 a.     Classification: Class 2 consists of all Other Secured Claims.

                 b.     Treatment: Except to the extent that a Holder of an Allowed Other Secured
                        Claim agrees to less favorable treatment, in full and final satisfaction of
                        such Allowed Other Secured Claim, at the option of Debtors or the Wind
                        Down Estate, as applicable, each Holder shall receive either (i) cash equal
                        to the full allowed amount of its claim, (ii) reinstatement of such holder’s
                        claim, (iii) the return to or abandonment of the collateral securing such
                        holder’s claim, or (iv) such other treatment as may otherwise be agreed to
                        by such Holder and the Debtors.

                 c.     Voting: Class 2 is Unimpaired under the Plan. Holders of Class 2 Other
                        Secured Claims are conclusively presumed to have accepted the Plan
                        pursuant to section 1126(f) of the Bankruptcy Code. Therefore, such
                        Holders are not entitled to vote to accept or reject the Plan.

        3.       Class 3 — Prepetition Secured Party Claims

                 a.     Classification: Class 3 consists of all Prepetition Secured Party Claims.


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                 b.    Treatment: Except to the extent that the Holder of Prepetition Secured Party
                       Claims agrees to less favorable treatment, in exchange for full and final
                       satisfaction, settlement, release, and discharge of each Allowed Prepetition
                       Secured Party Claim (which satisfaction, settlement, release, and discharge
                       shall occur (i) on the Effective Date for all Prepetition Secured Party Claims
                       other than the Wind Down Claims, and (ii) after the orderly wind down of
                       the Debtors and other borrower and guarantors under the Prepetition Credit
                       Agreement for all Wind Down Claims), each Holder of an Allowed
                       Prepetition Secured Party Claim shall receive the remaining Distributable
                       Value following payment of Administrative Expense Claims and Priority
                       Tax Claims, DIP Claims, Other Priority Claims, Other Secured Claims,
                       (which amount may be paid directly by the Purchaser on the Effective Date),
                       and GUC Trust Interests (subject to the terms of the Global Settlement) on
                       the Effective Date and any Distributable Value that is available for
                       distribution after the Effective Date shall be promptly distributed by the
                       Debtors or Wind Down Estate to holders of Prepetition Secured Party
                       Claims.

                 c.    Voting: Class 3 is Impaired under the Plan. Holders of Class 3 Secured Party
                       Claims will be entitled to vote to accept or reject the Plan.

        4.       Class 4 — General Unsecured Claims

                 a.    Classification: Class 4 consists of all General Unsecured Claims.

                 b.    Treatment: On the Effective Date, all General Unsecured Claims will be
                       canceled, released, extinguished and discharged, and Holders of General
                       Unsecured Claims will receive no recovery or distribution on account of
                       such claims; provided, however, that any Holder of Allowed General
                       Unsecured Claims who timely makes a GUC Settlement Opt-In Election in
                       compliance with the GUC Settlement Opt-In Procedures shall receive its
                       Pro Rata share of 100% of the GUC Trust Interests.

                 c.    Voting: Class 4 is Impaired under the Plan. Holders of Class 4 General
                       Unsecured Claims will be conclusively deemed to have rejected the Plan
                       pursuant to section 1126(g) of the Bankruptcy Code. Therefore, such
                       Holders will not be entitled to vote to accept or reject the Plan.

        5.       Class 5 — Intercompany Claims

                 a.    Classification: Class 5 consists of all Intercompany Claims.

                 b.    Treatment: All Intercompany Claims will be unaltered and otherwise
                       unaffected by the Plan, or canceled on the Effective Date, in the Debtors’
                       discretion, with the consent of Purchaser.

                 c.    Voting: Class 5 is Unimpaired/Impaired under the Plan. Holders of Class 5
                       Intercompany Claims are proponents of the Plan within the meaning of

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                        section 1129 of the Bankruptcy Code. Therefore, the vote of such Holders
                        to accept or reject the Plan will not be solicited.

        6.       Class 6 — Intercompany Interests

                 a.     Classification: Class 6 consists of all Intercompany Interests.

                 b.     Treatment: All Intercompany Interests shall be maintained under the Plan,
                        solely for purposes of administrative convenience or canceled on the
                        Effective Date, in the Debtors’ discretion, subject to the consent of the
                        Prepetition Secured Parties and the Purchaser.

                 c.     Voting: Class 6 is Unimpaired/Impaired under the Plan. Holders of a Class
                        6 Intercompany Interests are proponents of the Plan within the meaning of
                        section 1129 of the Bankruptcy Code. Therefore, the vote of such Holders
                        to accept or reject the Plan will not be solicited.

        7.       Class 7 — KidKraft Intermediate Holdings, LLC Interests

                 a.     Classification: Class 7 consists of all KidKraft Intermediate Holdings, LLC
                        Interests.

                 b.     Treatment: All prepetition Interests in KidKraft Intermediate Holdings,
                        LLC will be canceled on the Effective Date and Holders shall receive no
                        recovery or distribution on account of their Interests.

                 c.     Voting: Class 7 is Impaired under the Plan. For purposes of solicitation, it
                        is presumed that Holders of Class 7 KidKraft Intermediate Holdings, LLC
                        Interests shall not receive any distribution on account of such KidKraft
                        Intermediate Holdings, LLC Interests and will be conclusively deemed to
                        have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
                        Therefore, such Holders will not be entitled to vote to accept or reject the
                        Plan.

C.      Special Provision Governing Unimpaired or Reinstated Claims

       Nothing under the Plan shall affect the Debtors’, the Wind Down Estate’s, or the Wind
Down Administrator’s (as applicable) claims, Causes of Action, rights, or defenses in respect of
any Unimpaired Claims or Reinstated Claims, including all rights in respect of legal and equitable
defenses to or setoffs or recoupment against any such Unimpaired Claims or Reinstated Claims.

D.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of
Confirmation by acceptance of the Plan by one or more of the Classes entitled to vote pursuant to
Article III.B of the Plan. The Debtors reserve the right to modify the Plan in accordance with
Article X of the Plan to the extent, if any, that Confirmation pursuant to section 1129(b) of the
Bankruptcy Code requires modification, including by modifying the treatment applicable to a

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Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the extent
permitted by the Bankruptcy Code and the Bankruptcy Rules.

E.      Elimination of Vacant Classes

        Any Class of Claims that does not contain an Allowed Claim or a Claim temporarily
Allowed by the Bankruptcy Court for voting purposes as of the date of the Confirmation Hearing
shall be deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and
for purposes of determining acceptance or rejection of the Plan by such Class pursuant to section
1129(a)(8) of the Bankruptcy Code.

F.      Voting Classes; Presumed Acceptance by Non-Voting Classes

       If a Class contains Claims eligible to vote and no Holder of Claims eligible to vote in such
Class votes to accept or reject the Plan, the Plan shall be presumed accepted by such Class.

G.      Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date

H.      Subordinated Claims

        The allowance, classification, and treatment of all Claims and Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority
and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
equitable subordination rights relating thereto, whether arising under general principles of
equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to
section 510 of the Bankruptcy Code, the Debtors, Wind Down Estate, the Wind Down
Administrator, the GUC Trust, or the GUC Trustee (as applicable) reserve(s) the right to reclassify
any Claim or Interest in accordance with any contractual, legal, or equitable subordination relating
thereto.

                                   ARTICLE IV.
                      MEANS FOR IMPLEMENTATION OF THE PLAN

A.      Means for Implementation

        1.       Sale Transaction

        On the Effective Date, the applicable Debtors shall consummate the Sale Transaction and
the Transferred Assets shall vest in the Purchaser free and clear of all Liens, Claims, charges, or
encumbrances pursuant to section 1123 of the Bankruptcy Code and the CCAA and the Sale
Transaction Documents; provided, that, the conditions precedent set forth in the Purchase
Agreement shall have been satisfied or waived in accordance with the terms thereof. Upon entry
of the Sale Approval Order by the Bankruptcy Court and the Sale Recognition Order by the CCAA
Court, all matters provided for under the Purchase Agreement and the other Sale Transaction

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Documents will be deemed authorized and approved without any requirement of further act or
action by the Debtors or the Debtors’ governing bodies. The applicable Debtors are authorized to
execute and deliver, and to consummate the transactions contemplated by the Sale Transaction
Documents, as well as to execute, deliver, file, record and issue any documents, or agreements in
connection therewith, without further notice to or order of the Bankruptcy Court or the CCAA
Court, act or action under applicable law, regulation, order, or rule or the vote, consent,
authorization or approval of any Entity.

        In the alternative, the Plan shall serve as a motion under section 363 of the Bankruptcy
Code to authorize the sale of the Transferred Assets pursuant to the terms of the Sale Transaction
Documents. Section 363(f) of the Bankruptcy Code provides that the Debtors’ assets may be sold
free and clear of any and all liens, claims, interests, and encumbrances with any such liens, claims,
interests, and encumbrances attaching to the proceeds of the Sale Transaction. The Debtors submit
that the Sale Transaction satisfies the requirements of section 363(f) of the Bankruptcy Code. To
the extent a party objects to Sale Transaction on the basis that it holds a lien or encumbrance on
the Transferred Assets, the Debtors believe that any such party could be compelled to accept a
monetary satisfaction of such claims under section 365(f)(5) of the Bankruptcy Code and the
CCAA. In addition, to the extent the Debtors discover any party may hold a lien on all, or a portion
of, the Assets, the Debtors have provided such party with notice of, and an opportunity to object
to, the Sale Transaction. Absent objection, each such party will be deemed to have consented to
the sale of the Transferred Assets.

         Except as otherwise expressly provided in the Sale Transaction Documents, (a) the
Purchaser and all of its Affiliates shall not be liable for any Claims against the Debtors or any of
their predecessors or direct or indirect subsidiaries, and (b) neither the Purchaser nor any of its
affiliates shall have successor or vicarious liabilities of any kind or character, including under any
theory of successor or transferee liability, labor, employment, tort, products liability, or benefits
law, whether known or unknown as of the closing, then existing or hereafter arising, whether fixed
or contingent, asserted or unasserted, liquidated or unliquidated, in each case, with respect to the
Debtors or any obligations of the Debtors arising prior to the closing, including liabilities on
account of any taxes arising, accruing or payable under, out of, in connection with, or in any way
relating to the operation of the Debtors prior to the closing (except as otherwise expressly provided
in the Sale Transaction Documents). For the avoidance of doubt, any Avoidance Actions
purchased by the Purchaser will not be pursued by the Purchaser.

        The transactions contemplated by the Sale Transaction Documents are undertaken by the
applicable Debtors and the Purchaser without collusion and in good faith, as that term is defined
in section 363(m) of the Bankruptcy Code, and accordingly, the reversal or modification on appeal
of the authorization provided therein to consummate the Sale Transaction shall not affect the
validity of such sale, unless such authorization and consummation of such sale are duly stayed
pending such appeal. The Purchaser is a good faith purchaser within the meaning of section
363(m) of the Bankruptcy Code and, as such, is entitled to the full protections of section 363(m)
of the Bankruptcy Code.




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        2.       Break-Up Fee and Expense Reimbursement

        Consistent with the Sale Transaction Documents, the payment of the Break-Up Fee and
Expense Reimbursement for the Purchaser are hereby authorized in the event: (i) the Debtors that
are party to the Purchase Agreement consummate or enter into a Qualifying Alternative
Transaction and the Purchase Agreement is terminated in connection therewith; (ii) the Debtors
that are party to the Purchase Agreement publicly announce or support any plan of reorganization
or plan of liquidation other than the Plan and other than a plan that includes a conversion of any
of the Chapter 11 Cases to chapter 7 of the Bankruptcy Code or that would not prevent or materially
delay consummation of the Closing (as defined in the Purchase Agreement) in accordance with
the terms of the Purchase Agreement; or (iii) the board of directors or board of managers, as
applicable, of any Debtor that is party to the Purchase Agreement determines, in good faith based
upon advice of outside legal counsel, that proceeding with the Purchase Agreement or the
transactions contemplated thereunder (including the Plan or solicitation of the Plan) or taking any
action (or refraining from taking any action) in relation thereto, would be inconsistent with the
exercise of its fiduciary duties under applicable law, and the Purchase Agreement is terminated in
connection therewith (in each of the foregoing cases as further set forth in and subject to the terms
of the Purchase Agreement). The potential remedy of the Break-Up Fee and Expense
Reimbursement was a condition of the Purchaser entering into the Purchase Agreement, which is
the best option for the Debtors to maximize the value of their estates. The Break-Up Fee and
Expense Reimbursement are the product of arm’s-length, good faith negotiations among the
Debtors and the Purchaser, and as a result, the Debtors believe that the agreement to pay such fees
to the Purchaser (if and when the same become due to the Purchaser pursuant to, and in accordance
with the terms and conditions in, the Purchase Agreement) is a valid exercise of their business
judgment and should be approved if required under the Sale Transaction Documents.

        3.       Transactions with Netherlands Affiliates

        On or prior to the closing of the transactions contemplated by the Purchase Agreement, the
assets of the Netherlands Subsidiaries that would otherwise be Transferred Assets under the
Purchase Agreement if such assets were owned by a Seller (as defined in the Purchase Agreement)
shall be sold to KidKraft, or another Debtor designated by KidKraft, in exchange for the portion
of the Purchase Price attributable to such assets (the “Netherlands Asset Sale”). The transactions
contemplated by the Netherlands Asset Sale are undertaken by the Netherlands Subsidiaries and
the Debtors without collusion and in good faith. The Netherlands Subsidiaries’ assets that do not
become Transferred Assets shall be liquidated with the consent of the Prepetition Secured Parties
and the Netherlands Subsidiaries (the “Netherlands Liquidation”). The Netherlands Subsidiaries
will create a right of pledge in favor of the Prepetition Secured Parties over the proceeds of the
Netherlands Asset Sale and the proceeds of the Netherlands Liquidation.

        The proceeds of the Netherlands Asset Sale (i.e. the Foreign Sale Reserve) and proceeds
of the Netherlands Liquidation, in each case with the consent of the Prepetition Secured Parties,
shall be used to implement the orderly out-of-court wind down of the Netherlands Subsidiaries
(the “Netherlands Wind Down,” collectively, with the Netherlands Asset Sale and Netherlands
Liquidation, the “Netherlands Transactions”).



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        To the extent proceeds of the Netherlands Asset Sale (i.e. the Foreign Sale Reserve) or
Netherlands Liquidation remain, after the Netherlands Wind Down is complete, such proceeds
shall be distributed to the Prepetition Secured Parties in a manner to be determined by the
Prepetition Secured Parties, the Debtors, and the Wind Down Administrator, as applicable, and
the Netherlands Subsidiaries. Following the distribution of such proceeds, the Prepetition Secured
Parties and the Netherlands Subsidiaries shall execute a mutual release of all Claims and Causes
of Action.

        Upon the Bankruptcy Court entering the Sale Approval Order, the Netherlands Asset Sale
will be deemed authorized and approved without any requirement or further act or action by the
Debtors or the Debtors’ governing bodies.

        4.       Vesting of Wind Down Estate Assets in the Wind Down Estate

        Except as otherwise provided in the Plan, the Plan Supplement, or the Confirmation Order,
on the Effective Date, all Wind Down Estate Assets (including all interests, rights, and privileges
related thereto) and all GUC Trust Assets (solely until the GUC Trust Assets Transfer occurs) in
each Estate and all Causes of Action that are retained under the Plan shall vest in the Wind Down
Estate, to be administered by the Wind Down Administrator in accordance with the Plan, free and
clear of all Claims, Liens, and encumbrances (except for the Wind Down Claims) to the fullest
extent provided by section 363 or 1123 of the Bankruptcy Code; provided that, for the avoidance
of doubt, no Assets that are, or shall be, transferred to Purchaser as Transferred Assets before or
after the Effective Date in accordance with the Purchase Agreement and the Sale Approval Order
shall vest in the Wind Down Estate.

       The vesting of the Wind Down Estate Assets, as authorized by the Plan, shall not be
construed to destroy or limit any such Assets or rights or be construed as a waiver of any right,
and such rights may be asserted by the Wind Down Estate as if such Asset or right was still held
by the Debtors.

      On the next Business Day following the GUC Settlement Opt-In Election Deadline, the
Wind Down Estate shall complete the GUC Trust Assets Transfer.

        5.       Wind Down Administrator

        The Wind Down Administrator shall be selected by the Debtors, with the consent of the
Prepetition Secured Parties and the DIP Secured Parties. The Wind Down Administrator shall be
the successor to and representative of the Estate of each of the Debtors appointed pursuant to
section 1123(b)(3)(B) of the Bankruptcy Code. The powers, rights, and responsibilities of the
Wind Down Administrator shall include the authority and responsibility to fulfill the obligations
of the Plan consistent with the Confirmation Order.

         On the Effective Date, the authority, power, and incumbency of the Persons acting as
managers, directors, and officers of the Debtor entities comprising the Wind Down Estate shall
vest in the Wind Down Administrator. The Wind Down Administrator shall be appointed the sole
manager, sole director, and sole officer of the Debtor entities comprising the Wind Down Estate,
as applicable, and shall succeed to the powers of the Debtors’ managers, directors, and officers.
From and after the Effective Date, the Wind Down Administrator shall be the sole Representative

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of the Wind Down Estate and shall have the authority to sell, liquidate, or otherwise dispose of
any and all of the Wind Down Estate Assets without any additional notice to or approval from the
Bankruptcy Court.

        In the event the Wind Down Administrator becomes incapacitated or unable to continue
serving in such role for any reason, the Prepetition Secured Parties shall select a suitable
replacement Wind Down Administrator as promptly as possible without the need for any further
action or order of the Bankruptcy Court.

        6.       Wind Down Transactions

        The Wind Down Administrator shall retain the authority to take all necessary actions to
wind down the operations of the Wind Down Estate and dissolve the entities comprising the Wind
Down Estate, to the extent required by applicable law. Subject in all respects to the terms of this
Plan, the Wind Down Administrator shall have the power and authority to take any action
necessary to dissolve the entities comprising the Wind Down Estate, and may: (i) file a certificate
of dissolution for the Wind Down Estate, together with all other necessary corporate and company
documents, to effect the dissolution of the Wind Down Estate under applicable laws; (ii) complete
and file all final or otherwise required federal, state, and local tax returns and pay all required
taxes, and pursuant to section 505(b) of the Bankruptcy Code, request an expedited determination
of any unpaid tax liability of any of the Debtors, their respective Estates, or the entities comprising
the Wind Down Estate for any tax incurred during the administration of these Chapter 11 Cases,
as determined under applicable tax laws; and (iii) represent the interests of the Debtors, their
respective Estates, and entities comprising the Wind Down Estate before any taxing authority in
all tax matters, including any action, suit, proceeding, or audit.

       Any applicable filing by the Wind Down Administrator of any certificates of dissolution
(or similar documentation) of the entities comprising the Wind Down Estate shall be authorized
and approved in all respects without further action under applicable law, regulation, order, or rule,
including any action by the stockholder, members, officers, board of directors, or board of
managers of the Debtors or any of their respective Affiliates. As the entities comprising the Wind
Down Estate will be dissolved upon completion of the administration of this Plan, no new
corporate organizational documents will be executed by the Wind Down Administrator.

       For the avoidance of doubt, the Wind Down Administrator shall not be empowered to
perform any actions designated to the GUC Trust or the GUC Trustee under the Plan or the GUC
Trust Agreement.

        7.       Fees and Expenses of the Wind Down Administrator

        The Wind Down Estate Expenses shall be paid after the Effective Date solely using the
Post-Sale Reserve. The Wind Down Administrator, on behalf of the Wind Down Estate, may
employ, without further order of the Bankruptcy Court, professionals (including professionals
previously employed by the Debtors) to assist in carrying out duties for the Wind Down Estate and
may compensate and reimburse the expenses of such professionals in the ordinary course, without
further order of the Bankruptcy Court, subject to the Post-Sale Reserve.



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        8.       Settlement of Claims

        Except as otherwise provided in the Plan, on and after the Effective Date, the Wind Down
Administrator may compromise or settle any Claims related to the Wind Down Estate Assets
without supervision or approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules and may pay the charges that it incurs on or after the
Effective Date for Wind Down Estate Expenses, professionals’ fees, disbursements, expenses, or
related support services (including fees relating to the preparation of Professional fee applications)
without application to the Bankruptcy Court.

        9.       Sales of Assets by the Wind Down Estate

        The Wind Down Administrator may conduct any sales or liquidations of De Minimis
Assets on any terms it deems reasonable, subject to the consent of the Prepetition Secured Parties
(with such consent not to be unreasonably withheld), without further order of the Bankruptcy
Court. In lieu of conducting sales or liquidating its assets, with the consent of the Prepetition
Secured Parties, the Wind Down Administrator may transfer any Wind Down Estate Assets to the
Prepetition Secured Parties free and clear of all liens, claims, and encumbrances after the Effective
Date.

        10.      Abandonment of Assets by the Wind Down Estate

        The Wind Down Administrator may, with the consent of the Prepetition Secured Parties,
on no less than 14 days’ written notice to the U.S. Trustee, abandon any Wind Down Estate Assets
which the Wind Down Administrator determines are burdensome to the Wind Down Estate,
including any pending adversary proceeding or other legal action commenced or commenceable
by any Debtor prior to the Effective Date; provided that if the U.S. Trustee provides a written
objection to the Wind Down Administrator prior to the expiration of such 14 day period with
respect to the proposed abandonment of any Wind Down Estate Asset, then such property may be
abandoned only pursuant to an order by the Bankruptcy Court.

        11.      Plan Distributions

                 a.     Sources of Consideration for Plan Distributions

         On the Effective Date, the Debtors will fund the Debtors’ distributions under the Plan with
(i) the proceeds of the Sale Transaction, subject in all respects to amounts held-back in accordance
with the Purchase Agreement, (ii) the Administrative Expense Claim, Priority Tax Claim, and
Other Priority Claim Backstop Amount, (iii) the Debtors’ available Cash on hand, and (iv) with
the consent of the DIP Secured Parties, the proceeds of the DIP Facility. After the Effective Date,
other than with respect to funds held in the Professional Fee Escrow Account, the Post-Sale
Reserve shall be held in a separate account from any other funds held by the Wind Down Estate.

                 b.     Professional Fee Escrow Account

       The Professional Fee Reserve Amount shall be held in trust in a segregated Professional
Fee Escrow Account by the Wind Down Administrator for distributions or payment in accordance
with the terms of Article II of the Plan.

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        12.      Corporate Existence

        On or after the Effective Date, each of the Debtors will be subject to a Dissolution
Transaction. The equity or membership interests of each Debtor entity that is not subject to a
Dissolution Transaction on the Effective Date will vest in the Wind Down Estate pursuant to this
Plan. For the avoidance of doubt, the Debtor entities that are not subject to a Dissolution
Transaction on the Effective Date will continue to exist after the Effective Date for the limited
purpose of completing the GUC Trust Assets Transfer and the Wind Down Transactions. Promptly
after completing the Wind Down Transactions, such entities shall be dissolved by the Wind Down
Administrator.

        13.      Dissolution Transactions

        On or after the Effective Date, the Debtors or the Wind Down Administrator will enter into
such Dissolution Transactions and will take such actions as may be necessary or appropriate to
merge, dissolve, or otherwise terminate the corporate existence of the Debtors. The actions to
effect the Dissolution Transactions may include: (i) the execution and delivery of appropriate
agreements or other documents of transfer, merger, consolidation, disposition, liquidation, or
dissolution containing terms that are consistent with the terms of the Plan and that satisfy the
requirements of applicable law, as well as other terms to which these entities may agree; (ii) the
execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any asset, property, right, liability, duty or obligation on terms consistent with the
terms of the Plan and having such other terms as these entities may agree; (iii) the filing of
appropriate certificates or articles of merger, consolidation, continuance, or dissolution or similar
instruments with the applicable governmental authorities; and (iv) the taking of all other actions
that the Wind Down Administrator determines to be necessary or appropriate, including making
other filings or recordings that may be required by applicable law in connection with the
Dissolution Transactions.

        14.      Recourse Solely to Wind Down Estate Assets

        All Claims against the Debtors and against the GUC Trust are deemed satisfied, waived,
and released as to the Debtors and the GUC Trust, as applicable, in exchange for the treatment of
such Claims under the Plan or the distributions made from the GUC Trust, and Holders of Allowed
Claims against any Debtor will have recourse solely to the Wind Down Estate Assets (and, in the
case of the Prepetition Secured Parties, to the unused amounts, if any, of the Post-Sale Reserve
and Professional Fee Escrow Account) for the payment of their Allowed Claims in accordance
with the terms of the Plan. There will be no recourse for claims other than as to non-Debtors.

        15.      Cancellation of Existing Securities and Agreements

        On the Effective Date, except to the extent otherwise expressly provided in the Plan
(including with respect to the Prepetition Credit Agreement Documents), (i) all notes, bonds,
debentures, instruments, certificates, credit agreements, indentures, collateral documents,
guarantees, filings, recordings, registrations, and other documents and instruments evidencing,
securing, or governing Claims or Interests, and any Interests that are not represented by certificates
or other instruments, shall be canceled, terminated, released, and surrendered automatically


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without any action on the part of any party, (ii) all Liens of any nature or any assets of any Debtor
securing, or purporting to secure, such Claims shall be fully, finally, and irrevocably released and
extinguished automatically without any action on the part of any party (and (x) the Debtors are
hereby irrevocably authorized to make such filings, recordings, registrations, and notifications,
and take such other actions, as the Debtors shall deem necessary or advisable to carry out such
release and extinguishment and (y) the holders of such Claims shall take such actions and execute
such instruments as the Debtors may reasonably request to carry out such release and
extinguishment) and (iii) the obligations of the Debtors in respect of such Claims or in any way
related thereto or arising therefrom (except with respect to any Indemnification Obligations, which
obligations shall be assumed and assigned as set forth in Article V.G of the Plan) shall be deemed
satisfied in full, terminated, canceled, released, and of no force or effect against the Debtors or the
Wind Down Estate, without any further action on the part of the Debtors, the Wind Down Estate,
or any other Person. Holders of or parties to such canceled instruments, Securities, and other
documentation will have no rights arising from or relating to such instruments, Securities, and
other documentation, or the cancellation thereof, except the rights provided for pursuant to the
Plan. To the extent applicable, the Debtors’ corporate charters shall be deemed amended by the
Confirmation Order to provide that no nonvoting equity securities will be issued and to otherwise
comply with the requirements of section 1123(a)(6) of the Bankruptcy Code.

        Notwithstanding anything to the contrary herein, but subject to any applicable provisions
of Articles IV and VI of the Plan, the Prepetition Credit Agreement Documents shall continue in
effect as between all Debtors and the non-Debtors party thereto until the wind down of the Debtors
and the Netherlands Wind Down is complete. Following completion of the wind down of the
Debtors and the Netherlands Wind Down and distribution of the proceeds after the Netherlands
Wind Down is complete, if any, to the Prepetition Secured Parties, as provided in Article IV of the
Plan, the Prepetition Credit Agreement Documents shall be canceled and surrendered and the
obligations of the Debtors thereunder or in any way related thereto shall be deemed satisfied in
full, canceled, and of no force or effect against the Debtors or the Wind Down Estate, without any
further action on the part of the Debtors, the Wind Down Estate, or any other Person. Except as
provided in the Plan (including Article VI of the Plan), on the Effective Date, the Prepetition Credit
Agreement Agent, its respective agents, successors, and assigns shall be automatically and fully
discharged of all of their duties and obligations associated with the Prepetition Credit Agreement
Documents (as applicable). The commitments and obligations (if any) of the Prepetition Credit
Agreement Lenders to extend any further or future credit or financial accommodations to any of
the Debtors, any of their respective subsidiaries, including, any non-Debtors, or any of their
respective successors or assigns under the Prepetition Credit Agreement Documents shall fully
terminate and be of no further force or effect on the Effective Date.

        16.      Release of Liens

        Except for the Wind Down Claims (which include the Prepetition Secured Party Liens
securing such Claims), and as otherwise provided in the Plan or in any contract, instrument, release
or other agreement or document entered into or delivered in connection with the Plan, on the
Effective Date concurrently and consistent with the treatment provided for Claims and Interests in
Article III, all mortgages, deeds of trust, Liens against, security interests in, or other encumbrances
or interests in property of any Estate shall be deemed fully released and discharged. After the wind
down of the Debtors and the Netherlands Wind Down is complete and after the proceeds of the

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Netherlands Asset Sale and Netherlands Liquidation, if any, are indefeasibly distributed in Cash
to the Prepetition Secured Parties as provided in Article IV of the Plan, all mortgages, deeds of
trust, Liens against, security interests in, or other encumbrances or interests in property of any
Estate on account of the Wind Down Claims shall be deemed fully released and discharged.
Notwithstanding anything contained herein to the contrary, until completion of the wind down of
the Debtors and the Netherlands Wind Down and distribution of the proceeds after the Netherlands
Wind Down is complete, if any, to the Prepetition Secured Parties, as provided in Article IV of the
Plan, the Plan shall not operate as a waiver of any right, power or remedy of the Prepetition Agent
or Prepetition Lenders, or constitute a waiver of any provision of the Prepetition Credit Agreement
Documents in respect of any non-Debtor affiliate of the Debtors party thereto and the obligations
of the non-Debtor affiliates thereunder shall remain in full force and effect.

        17.      Corporate Governance, Directors and Officers.

                 a.     Certificates of Incorporation and Bylaws

        Consistent with the Plan, all existing certificates of incorporation and by-laws will be
canceled; accordingly, no new certificates of incorporation and by-laws will be necessary for any
Debtors. Certain of the Debtor entities comprising the Wind Down Estate will continue to exist
after the Effective Date for the purpose of completing the GUC Trust Assets Transfer and the Wind
Down Transactions.

                 b.     Directors and Officers

       As of the Effective Date, the term of the current members of the boards of directors or
boards of managers, as applicable, of KidKraft and its Debtor Affiliates shall expire automatically
and each person serving as a director of KidKraft and each of its Debtor Affiliates shall be removed
and shall be deemed to have resigned and cease to serve automatically. Consistent with the Plan,
each of the Estates will vest in the Wind Down Estate effective as of the Effective Date and, thus,
no individuals will serve as directors, officers, or voting trustees after the Effective Date for any
Debtors. The Wind Down Administrator will be the sole member, manager, director, officer, or
other governing body or controlling authority of each Debtor entity that is not subject to a
Dissolution Transaction on the Effective Date.

        18.      Insurance Policies

        To the extent that any of the Debtors’ insurance policies constitute Executory Contracts,
such insurance policies and any agreements, documents, or instruments relating thereto, are treated
as and deemed to be Executory Contracts under the Plan and shall be assumed by the Debtors and
assigned to the Wind Down Estate on the Effective Date. All other insurance policies shall vest
in the Wind Down Estate.

        19.      D&O Liability Insurance Policies

        Notwithstanding anything in the Plan to the contrary, as of the Effective Date, the Debtors
shall be deemed to assume and vest in the Wind Down Estate all D&O Liability Insurance Policies
(including tail coverage liability insurance) pursuant to section 365(a) of the Bankruptcy Code, to
the extent they are Executory Contracts. Entry of the Confirmation Order will constitute the

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Bankruptcy Court’s approval of the Debtors’ assumption of each of the D&O Liability Insurance
Policies, to the extent they are Executory Contracts. Notwithstanding anything to the contrary
contained in the Plan, Confirmation of the Plan shall not discharge, impair, or otherwise modify
any indemnity obligations assumed by the foregoing assumption of the D&O Liability Insurance
Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract
that has been assumed by the Debtors under the Plan as to which no Proof of Claim need be Filed,
and shall survive the Effective Date. On the Effective Date, all D&O Liability Insurance Policies
shall vest in the Wind Down Estate consistent with the Confirmation Order without further order
of the Bankruptcy Court.

        20.      Preservation of Causes of Action

        Except as provided in the Plan, or in any contract, instrument, release, or other agreement
entered into or delivered in connection with the Plan, in accordance with section 1123(b) of the
Bankruptcy Code, the Wind Down Estate will retain and may enforce any claims, demands, rights,
and causes of action that any Estate may hold against any Person to the extent not satisfied, settled,
and released under the Plan or otherwise, including the Retained Causes of Action; provided that,
the Wind Down Estate will not retain any Causes of Action (including Avoidance Actions) that
are assigned to Purchaser as Transferred Assets in connection with the Sale Transaction that may
be included in the GUC Trust Assets and transferred to the GUC Trust or are transferred to the
GUC Trust in accordance with the Plan. The Wind Down Administrator may pursue any such
retained claims, demands, rights, or causes of action, as appropriate, in accordance with the best
interests of the Wind Down Estate. Except to the extent any such claim is specifically satisfied,
settled, and released herein, in accordance with and subject to any applicable law, the Debtor’s
inclusion or failure to include any Cause of Action on the List of Retained Causes of Action shall
not be deemed an admission, denial, or waiver of any claims, demands, rights, or causes of action
that the Debtor or Estate may hold against any Person. Except to the extent any such claim is
specifically satisfied, settled, and released herein, the Debtor intends to preserve those claims,
demands, rights, or causes of action designated as Retained Causes of Action. For the avoidance
of doubt, in no instance will any Cause of Action preserved pursuant to this Article IV.A.20 include
any claim or Cause of Action with respect to, or against, a Released Party.

        21.      Substitution in Pending Legal Actions

         On the Effective Date, the Wind Down Estate or the Wind Down Administrator, as
applicable, shall be deemed to be substituted as the party to any litigation in which the Debtors are
a party, including (but not limited to) (i) pending contested matters or adversary proceedings in
the Bankruptcy Court or the CCAA Court, (ii) any appeals of orders of the Bankruptcy Court, and
(iii) any state court or federal or state administrative proceedings or equivalent in Canada or any
other applicable jurisdiction pending as of the Petition Date. The Wind Down Administrator and
its professionals are not required to, but may, take such steps as are appropriate to provide notice
of such substitution.

        22.      Effectuating Documents; Further Transactions

        The Debtors (prior to the Effective Date) and the Wind Down Administrator (on or after
the Effective Date) are authorized to and may issue, execute, deliver, file, or record such contracts,

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securities, instruments, releases, and other agreements or documents and take such actions as may
be necessary or appropriate to effectuate, implement, and evidence the terms and conditions of the
Plan, the Purchase Agreement, and the Dissolution Transactions, in each case, in the name of and
on behalf of any Debtor or the Wind Down Estate, as applicable, without the need for any
approvals, authorizations, or consents except those expressly required pursuant to the Plan.

        Pursuant to section 1146(a) of the Bankruptcy Code, the following will not be subject to
any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, real estate
transfer tax, sales or use tax, mortgage recording tax, Uniform Commercial Code filing or
recording fee, regulatory filing or recording fee or other similar tax or governmental assessment:
(a) any transfer made by the Debtors to the Wind Down Estate; (b) any transfer made by the
Debtors and, if applicable, the Wind Down Estate to the Purchaser pursuant to the Plan, the
Purchase Agreement, and/or the Sale Order; (c) any sales made by the Wind Down Estate to
liquidate such assets in the trust and convert such assets into Cash; (d) the making or assignment
of any lease or sublease; (e) any Dissolution Transaction; and (f) the making or delivery of any
deed or other instrument of transfer under, in furtherance of or in connection with the Plan,
including any merger agreements, agreements of consolidation, restructuring, disposition,
liquidation or dissolution, deeds, bills of sale, or assignments executed in connection with any of
the foregoing or pursuant to the Plan.

B.      Restructuring Support Agreement

       Upon the later of (i) the Effective Date or (ii) the consummation of the Sale Transaction,
any surviving obligations under the Restructuring Support Agreement shall terminate on a final
basis.

C.      Global Settlement

        1.       GUC Trust

        On the Effective Date, the GUC Trust will be established with the primary purpose of
liquidating the GUC Trust Assets and making distributions to GUC Trust Beneficiaries on account
of their Allowed General Unsecured Claims.

        Subject to and to the extent set forth in the Plan, the Confirmation Order, the GUC Trust
Agreement, or any other order of the Bankruptcy Court entered in connection therewith, the GUC
Trust shall be empowered to: (a) perform all actions and execute all agreements, instruments, and
other documents necessary to implement the terms of the Plan to the extent applicable to the GUC
Trust; (b) establish, maintain, and administer the GUC Trust Accounts; (c) accept, preserve,
receive, collect, manage, invest, sell, liquidate, transfer, supervise, and protect, as applicable, the
GUC Trust Assets (directly or through its professionals or a Disbursing Agent), in accordance with
the Plan; (d) subject to the GUC Trust Agreement, the Plan, and the Confirmation Order, as
applicable, review, reconcile, settle, or object to all General Unsecured Claims that are not Allowed
Claims as of the Effective Date pursuant to the procedures for allowing or disputing Claims
prescribed in the Plan; (e) calculate and make distributions of the proceeds of the GUC Trust Assets
to Holders of Allowed General Unsecured Claims that are GUC Trust Beneficiaries in accordance
with the terms of the Plan and the GUC Trust Agreement and otherwise implement the terms of


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the Plan to the extent applicable to the GUC Trust; (f) retain, compensate, and employ
professionals to represent or advise the GUC Trust; (g) file, in accordance with the GUC Trust
Agreement, appropriate tax returns on behalf of the GUC Trust and pay any and all taxes or other
obligations arising in connection therewith; (h) exercise such other powers as may be vested in the
GUC Trust under the GUC Trust Agreement and the Plan, or as are deemed by the GUC Trustee
to be necessary and proper to implement the provisions of the Plan and the GUC Trust Agreement;
and (i) terminate the GUC Trust in accordance with the terms of the GUC Trust Agreement. For
the avoidance of doubt, the GUC Trust shall not be empowered with performing any actions
designated to the Wind Down Estate created pursuant to Article IV.A of the Plan and shall have
no authority to pursue any Claims or Causes of Action against Released Parties or Exculpated
Parties.

       Notwithstanding anything to the contrary in this Article IV.C, the GUC Trust shall have
no objective to continue or engage in the conduct of a trade or business except to the extent
reasonably necessary to, and consistent with, the GUC Trust’s purpose as described herein and in
the GUC Trust Agreement and as may be reasonably necessary to conserve and protect the GUC
Trust Assets and provide for the orderly liquidation and distribution thereof. Accordingly, the GUC
Trustee shall, in an orderly manner, liquidate the GUC Trust Assets and make timely distributions
pursuant to the Plan and not unduly prolong the duration of the GUC Trust.

        The GUC Trust Beneficiaries, who will be treated as grantors and deemed owners for
federal income tax purposes, will be holders of GUC Trust Interests. The GUC Trust shall file
federal income tax returns for the GUC Trust as a grantor trust pursuant to Section 671 of the Tax
Code and the Treasury Regulations promulgated thereunder. The parties shall not take any position
on their respective tax returns with respect to any other matter related to taxes that is inconsistent
with treating the GUC Trust as a “liquidating trust” within the meaning of Treasury Regulation
Section 301.7701-4(d), unless any party receives definitive guidance from the Internal Revenue
Service.

        The GUC Trust shall be responsible for paying any (i) U.S. Trustee fees accruing in relation
to disbursements by the GUC Trust and (ii) taxes related to the GUC Trust Assets or the liquidation
thereof. Any professionals hired by the GUC Trustee will be compensated for services in such
capacity solely from the GUC Trust Assets or proceeds thereof.

        2.       Funding of and Transfer of Assets into the GUC Trust

        Except as otherwise provided in the Plan or the Confirmation Order, on the next Business
Day following the GUC Settlement Opt-In Election Deadline, the Wind Down Estate shall
complete the GUC Trust Assets Transfer, and all such assets shall vest in the GUC Trust on such
date, to be administered by the GUC Trustee in accordance with the Plan and the GUC Trust
Agreement. Except as set forth in the Plan, the GUC Trust Assets shall be transferred to the GUC
Trust free and clear of all Claims, Liens, and encumbrances to the fullest extent provided by section
363 or 1123 of the Bankruptcy Code. All Cash amounts funded into the GUC Trust from the
Debtors shall be funded by the U.S. Debtors.

       For all federal and applicable state and local income tax purposes, all Persons (including
without limitation the Debtors, the GUC Trustee and the GUC Trust Beneficiaries) will treat the

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transfers and assignment of the GUC Trust Assets to the GUC Trust for the benefit of the GUC
Trust Beneficiaries as (a) a transfer of the GUC Trust Assets directly to the GUC Trust
Beneficiaries followed by (b) the transfer of the GUC Trust Assets by the GUC Trust Beneficiaries
to the GUC Trust. The GUC Trust will be treated as a grantor trust for federal tax purposes and, to
the extent permitted under applicable law, for state and local income tax purposes. The GUC Trust
Beneficiaries will be treated as the grantors and deemed owners of their allocable portion of the
GUC Trust Assets for federal income tax purposes.

        The fair market value of the portion of the GUC Trust Assets that is treated for U.S. federal
income tax purposes as having been transferred to each GUC Trust Beneficiary will be determined
by the GUC Trustee, and all parties (including, without limitation, the GUC Trustee and the GUC
Trustee Beneficiaries) must utilize such fair market values determined by the GUC Trustee for
federal and applicable state and local income tax purposes.

       The GUC Trust’s taxable income, gain, loss, deduction or credit will be allocated to the
GUC Trust Beneficiaries in accordance with their relative beneficial interests in the GUC Trust
during the applicable taxable period. Such allocation will be binding on all parties for federal and
applicable state and local income tax purposes, and the parties will responsible for the payment of
any federal, state and local income tax due on the income and gain so allocated to them.

        The act of transferring the GUC Trust Assets, as authorized by the Plan, shall not be
construed to destroy or limit any such assets or rights or be construed as a waiver of any right, and
such rights may be asserted by the GUC Trust as if the asset or right was still held by the Debtors.

        3.       GUC Trustee

        Solely with respect to the GUC Trust Assets and the administration of General Unsecured
Claims, the GUC Trustee shall be the successor to and representative of the Estate of each of the
Debtors appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code. The powers, rights,
and responsibilities of the GUC Trustee shall be specified in the GUC Trust Agreement and shall
include the authority and responsibility to fulfill the items identified in the Plan. Other rights and
duties of the GUC Trustee and the GUC Trust Beneficiaries shall be as set forth in the GUC Trust
Agreement.

       The Committee shall select the GUC Trustee, subject to the consent, not to be unreasonably
withheld, of the Debtors and the Prepetition Secured Parties.

        4.       GUC Trust Agreement

        The GUC Trust Agreement will contain certain provisions to comply with Internal
Revenue Service guidance for trusts treated as liquidating trusts. Among other things, the GUC
Trust Agreement will require that the GUC Trust terminate no later than three years from the
Effective Date; provided, however, that the Bankruptcy Court, upon motion by the GUC Trustee,
may extend the term of the GUC Trust for a reasonable finite period if (a) such extension is
necessary to the purpose of the GUC Trust, (b) the GUC Trustee receives an opinion of counsel or
a ruling from the IRS stating that such an extension would not adversely affect the status of the
GUC Trust as a liquidating trust for federal income tax purposes, and (c) such an extension is
obtained within the six (6) month period prior to the GUC Trust’s third (3rd) anniversary or the

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end of the immediately preceding extension period, as applicable; provided, however, each finite
extension may be no more than six months (and such extension shall not exceed a total of four
extensions unless the GUC Trustee received a favorable ruling from the Internal Revenue Service
that any further extension would not adversely affect the status of the GUC Trust as a grantor trust
for U.S. federal income tax purposes. The GUC Trust Agreement generally will also provide for,
among other things: (i) the payment of reasonable and documented compensation to the GUC
Trustee; (ii) the payment of other expenses of the GUC Trust; (iii) the retention of counsel,
accountants, financial advisors, or other professionals and the payment of their compensation;
(iv) the investment of Cash by the GUC Trustee within certain limitations; (v) the preparation and
filing of appropriate tax returns and other reports on behalf of the GUC Trust and the Debtors and
the payment of taxes or other obligations owed by the GUC Trust, if any; (vi) the distribution at
least annually to the GUC Trust Beneficiaries the GUC Trust’s net Cash income and all other Cash
proceeds received by the GUC Trust in excess of an amount reasonably necessary to meet Claims
and contingent liabilities and to maintain the value of the GUC Trust Assets; (vii) the orderly
liquidation of the GUC Trust Assets; and (viii) any reconciliation, administration, objection,
resolution, and distribution on account of General Unsecured Claims. For the avoidance of doubt,
any payments to be made by the GUC Trust shall be paid solely from the GUC Trust Assets or the
proceeds thereof.

       Additional terms of the GUC Trust and Obligations of the GUC Trustee, if any, will be
addressed in the Plan Supplement or GUC Trust Agreement, as applicable.

        5.       Settlement of Claims and Causes of Action

        Except as otherwise provided in the Plan or the GUC Trust Agreement, on and after the
Effective Date, the GUC Trustee may compromise or settle any General Unsecured Claims or any
Causes of Action that are GUC Trust Assets without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules and may pay the
charges that it incurs on or after the Effective Date for GUC Trust Expenses, professionals’ fees,
disbursements, expenses, or related support services (including fees relating to the preparation of
Professional fee applications) without application to the Bankruptcy Court.

        6.       Recourse Solely to GUC Trust Assets

        All Claims against the Debtors are deemed satisfied, waived, and released as to the Debtors
in exchange for the treatment of such Claims under the Plan, and Holders of Allowed General
Unsecured Claims against any Debtor will have recourse solely to the GUC Trust Assets for the
payment of their Allowed General Unsecured Claims, and only if such Holder made a GUC
Settlement Opt-In Election, all in accordance with the terms of the Plan and the GUC Trust
Agreement. A Holder of Allowed General Unsecured Claims that does not make a GUC
Settlement Opt-In Election will receive no recovery or distribution on account of such claims, as
set forth in Article III.B.4 of the Plan.

        Potential Avoidance Actions against a Holder of General Unsecured Claims that is listed
on Schedule 1 to the Global Settlement Term Sheet will (i) be purchased by the Purchaser as part
of the Sale Transaction, subject to the occurrence of the GUC Settlement Election Opt-In Deadline,
(ii) be held by the Wind Down Administrator pending the occurrence of the GUC Settlement

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Election Opt-In Deadline, (iii) to the extent any such Holder does not make a GUC Settlement
Opt-In Election, will be conveyed to the Purchaser on the next Business Day following the GUC
Settlement Opt-In Election Deadline, and (iv) will not be pursued by the Purchaser. For the
avoidance of doubt, if a Holder of General Unsecured Claims that is listed on Schedule 1
makes a GUC Settlement Opt-In Election, any potential Avoidance Actions against such
Holder will not be conveyed to the Purchaser and instead will become GUC Trust Assets,
and such potential Avoidance Actions may be pursued against such Holder.

        7.       Distribution of GUC Trust Assets

       The GUC Trust Assets, including any proceeds received by the GUC Trust on account of
the prosecution or settlement of any commercial tort claims or Avoidance Actions that are GUC
Trust Assets, net of any GUC Trust expenses (including professional fees) not covered by the GUC
Trust Expense Reserve, shall be distributed at least annually as follows:

        (i) Holders of Allowed General Unsecured Claims that are GUC Trust Beneficiaries other
        than the Prepetition Secured Parties and/or DIP Secured Parties shall receive their Pro Rata
        share of 100% of the GUC Trust Assets up to $1,000,000; and

        (ii) thereafter, all Holders of Allowed General Unsecured Claims that are GUC Trust
        Beneficiaries (including the Prepetition Secured Parties’ Deficiency Claims) shall receive
        their Pro Rata share of 100% of the GUC Trust Assets.

        8.       MidOcean Waiver of Claims and Cash Contribution

        On the Effective Date, MidOcean will (i) contribute $100,000 in Cash to the GUC Trust
(the “Sponsor Cash Contribution”) and (ii) waive any General Unsecured Claims it may have
against the Debtors, including any claims under the subordinated note and services agreement (the
“Sponsor Claims Waiver”); provided, however, that nothing in the foregoing shall result in any of
the Debtors’ directors that are MidOcean designees waiving or releasing any rights to assert
indemnification claims against the Debtors or any of its insurance carriers or any rights as
beneficiaries of any insurance policies.

        MidOcean is a Released Party under the Plan and has provided valuable consideration to
the Estates in the form of the Sponsor Cash Contribution and the Sponsor Claims Waiver.
Accordingly, notwithstanding anything set forth in the Plan, neither the GUC Trust nor the Debtors
(nor any entity on behalf of the Debtors’ Estates, including the Wind Down Estate) shall bring or
be entitled to bring any claims or Causes of Action against (i) the Debtors’ current and former
directors and officers appointed and/or designated by MidOcean or (ii) MidOcean or any of its
current and former Affiliates or it or its current and former Affiliates’ current and former directors,
managers, officers, employees, managed accounts and funds, predecessors, successors, assigns,
subsidiaries, equity holders, members, agents, attorneys, accountants, investment bankers,
consultants, and other professionals, each solely in their capacity as such, and all such claims shall
be deemed and hereby are waived and released, and each of the foregoing Persons shall be a
“Released Party” for purposes of the Plan.




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                            ARTICLE V.
       TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Assumption and Rejection of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided herein or in any contract, instrument,
release, or other agreement or document entered into in connection with the Plan, the Plan shall
serve as a motion under sections 365 and 1123(b)(2) of the Bankruptcy Code to assume, assume
and assign, or reject Executory Contracts and Unexpired Leases, and all Executory Contracts or
Unexpired Leases shall be rejected as of the Effective Date without the need for any further notice
to or action, order, or approval of the Bankruptcy Court, unless such Executory Contract or
Unexpired Lease: (i) is designated on a schedule of assumed contracts by the Purchaser; (ii) is
designated as a Transferred Contract pursuant to the Purchase Agreement on the Schedule of
Assumed Executory Contracts and Unexpired Leases in the Plan Supplement; (iii) was previously
assumed or rejected by the Debtors, pursuant to a Final Order of the Bankruptcy Court;
(iv) previously expired or terminated pursuant to its own terms or by agreement of the parties
thereto; (v) is the subject of a motion to reject filed by the Debtors on or before the Confirmation
Date; or (vi) is subject to a motion to reject pursuant to which the requested effective date of such
rejection is after the Effective Date.

        Entry of the Confirmation Order and/or Sale Approval Order, as applicable, shall constitute
the Bankruptcy Court’s order approving the assumptions, assumptions and assignments, or
rejections, as applicable, of Executory Contracts or Unexpired Leases as set forth in the Plan
pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Each Executory Contract or
Unexpired Lease comprising a Transferred Contract shall re-vest in and be fully enforceable by
the Purchaser in accordance with its terms, except as such terms may have been modified by the
provisions of the Plan or any order of the Bankruptcy Court. Notwithstanding anything to the
contrary in the Plan, the Debtors reserve the right to, with the consent of the Purchaser, alter,
amend, modify, or supplement the Schedule of Assumed Executory Contracts and Unexpired
Leases at any time prior to the Effective Date on no less than two business days’ notice to the
applicable non-Debtor counterparties.

       Unless otherwise indicated, assumptions, assumptions and assignments, or rejections of
Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective
Date. Any motions to reject Executory Contracts or Unexpired Leases pending on the Effective
Date shall be subject to approval by the Bankruptcy Court on or after the Effective Date.

B.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

       Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to the Plan or the Confirmation Order, if any, must be Filed with the Bankruptcy Court
in accordance with the Bar Date Order. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be
automatically disallowed, forever barred from assertion, and shall not be enforceable against
the Debtors, the Wind Down Estate, the Estates, or their property (as applicable), without
the need for any objection by the Wind Down Estate or Wind Down Administrator (as

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applicable), or further notice to, or action, order, or approval of the Bankruptcy Court or
any other Entity, and any Claim arising out of the rejection of the Executory Contract or
Unexpired Lease shall be deemed fully satisfied and released, notwithstanding anything in
the Proof of Claim to the contrary. All Allowed Claims arising from the rejection of the Debtors’
Executory Contracts or Unexpired Leases shall be classified as General Unsecured Claims and
shall be treated in accordance with Article III.B of the Plan.

C.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

        Any monetary defaults under an Executory Contract or Unexpired Lease, as reflected on
the applicable Cure Notice, shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment of the proposed cure amount (if any) in Cash by the Debtors, the Wind Down
Estate, or for the Transferred Contracts, by the Purchaser, as applicable, on the Effective Date or
as soon as reasonably practicable thereafter, subject to the limitations described below or on such
other terms as the parties to such Executory Contracts or Unexpired Leases may otherwise agree.

        1.       Cure of Defaults for Transferred Contracts Under the Purchase Agreement

         Consistent with the Purchase Agreement and subject to the terms and conditions therein,
within three business days after the Petition Date the Debtors shall deliver a Cure Notice, in form
and substance reasonably acceptable to Buyer, of potential assumption and assignment and
proposed cure of the Transferred Contracts to the applicable counterparty (each a “Contract
Counterparty”), which shall specify: (a) that such contract is contemplated to be assumed and
assigned to Purchaser as a Transferred Contract in connection with the Sale Transactions; (b) the
proposed Cure Claim with respect to each Transferred Contract; (c) that each respective Contract
Counterparty may file an objection (a “Contract Objection”) to the proposed assumption and
assignment of the applicable Transferred Contract or the proposed Cure Claim, if any. Such
Contract Objection must (i) be in writing; (ii) comply with the Federal Rules of Bankruptcy
Procedure and any applicable local rules of the U.S. Bankruptcy Court; (iii) be Filed with the
Bankruptcy Court, together with proof of service, on or before 5:00 p.m. (Central Time) on the
date that is 21 days after the date the Debtors delivered the Cure Notice (the “Cure Notice
Objection Deadline”); (iv) be served, so such objection is actually received on or before the Cure
Notice Objection Deadline on counsel to the Debtors, counsel to the DIP Secured Parties, counsel
to the Purchaser, and the Office of the U.S. Trustee for the Northern District of Texas; and (v) state
with specificity the grounds for such objection, including, without limitation, the asserted amount
of the fully liquidated Cure Claim and the legal and factual bases for any unliquidated portion of
the Cure Claim that the Contract Counterparty believes is required to be paid under section
365(b)(1)(A) and (B) of the Bankruptcy Code for the applicable Transferred Contract, along with
the specific nature and dates of any alleged defaults, the pecuniary losses, if any, resulting
therefrom, and the conditions giving rise to any such defaults. If a Contract Counterparty files a
Contract Objection in a manner that is consistent with the requirements set forth above and the
parties are unable to consensually resolve the dispute prior to the Sale Hearing, the amount to be
paid or reserved with respect to such Contract Objection will be determined at the Confirmation
Hearing or such other date determined by the U.S. Bankruptcy Court.




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        2.       Cure of Defaults for Other Assumed Executory Contracts and Unexpired Leases

       For all other Executory Contracts or Unexpired Leases not deemed “Transferred
Contracts,” at least 14 days before the Confirmation Hearing, the Debtors shall distribute, or cause
to be distributed, Cure Notices of proposed assumption and proposed cure amounts to the
applicable third parties. Unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, any objection by a counterparty to an Executory Contract
or Unexpired Lease to a proposed assumption or related cure amount paid or proposed to be paid
by the Debtors or the Wind Down Estate to such counterparty must be filed with the Bankruptcy
Court and served on and actually received by the Debtors at least 7 days before the Confirmation
Hearing. Any counterparty that fails to timely object to the proposed assumption or proposed
cure amount shall be deemed to have assented to such assumption and cure amount, and any
such objection shall be Disallowed and forever barred, estopped, and enjoined from
assertion, and shall not be enforceable against the Debtors or the Wind Down Estate, without
the need for any objection by the Wind Down Estate or any other party in interest or any
further notice to or action, order, or approval of the Bankruptcy Court.

        Any Cure Claim shall be deemed fully satisfied, released, and discharged upon payment
by the Debtors or the Wind Down Estate of the amount set forth in the applicable Cure Notice or,
if the Allowed Cure Claim with respect to any Executory Contract or Unexpired Lease is
determined by a Final Order to be greater than the applicable amount set forth in the Cure Notice,
the amount of such Allowed Cure Claim; provided, however, that following entry of a Final Order
resolving any such dispute, the applicable Debtor shall, with the consent of the Purchaser, have
the right to reject any Executory Contract or Unexpired Lease within thirty (30) days of such
resolution; provided further, however, that nothing herein shall prevent the Wind Down Estate
from paying any Cure Claim despite the failure of the relevant counterparty to file such request for
payment of such Cure Claim. The Wind Down Estate also may settle any Cure Claim without any
further notice to or action, order, or approval of the Bankruptcy Court.

        If there is any dispute regarding any Cure Claim, the ability of the Wind Down Estate or
any assignee to provide “adequate assurance of future performance” within the meaning of section
365 of the Bankruptcy Code, or any other matter pertaining to assumption, then payment of the
Cure Claim shall occur as soon as reasonably practicable after entry of a Final Order resolving
such dispute, approving such assumption (and, if applicable, assignment), or as may be agreed
upon by the Debtors or the Wind Down Estate, as applicable, and the counterparty to the Executory
Contract or Unexpired Lease, in each case with the consent of the Purchaser. Notwithstanding the
foregoing, to the extent the dispute relates solely to any Cure Claims, the applicable Debtor may,
with the consent of the Purchaser, assume the Executory Contract or Unexpired Lease prior to the
resolution of any such dispute; provided, however, that the Debtor reserves Cash in an amount
sufficient to pay the full amount reasonably asserted as the required Cure Claim by the contract
counterparty; provided further, however, that following entry of a Final Order resolving any such
dispute, the applicable Debtor shall, with the consent of the Purchaser, have the right to reject any
Executory Contract or Unexpired Lease within 30 days of such resolution.

       Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or

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ownership interest composition or other bankruptcy or insolvency-related defaults, arising under
any assumed Executory Contract or Unexpired Lease at any time before the date that the Debtors
assume such Executory Contract or Unexpired Lease. Any Proofs of Claim Filed with respect to
an Executory Contract or Unexpired Lease that has been assumed, including pursuant to the
Confirmation Order, shall be deemed Disallowed and expunged, without further notice to or
action, order, or approval of the Bankruptcy Court.

D.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

        Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed or assumed and assigned shall include all modifications, amendments, supplements,
restatements, or other agreements that in any manner affect such Executory Contract or Unexpired
Lease, and Executory Contracts and Unexpired Leases related thereto, if any, including easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is
rejected or repudiated under the Plan.

       Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

E.      Reservation of Rights

       Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Schedule of Assumed Executory Contracts and Unexpired Leases, nor anything contained in the
Plan or the Sale Transaction Documents, shall constitute an admission by the Debtors, the Wind
Down Estate, the Purchaser, or the Wind Down Administrator (as applicable) that any such
contract or lease is in fact an Executory Contract or Unexpired Lease or that any Debtor, Wind
Down Estate, the Purchaser, or the Wind Down Administrator (as applicable) has any liability
thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors, or, after the Effective Date, the Wind
Down Estate, the Purchaser, or the Wind Down Administrator (as applicable) shall have 30 days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.

F.      Nonoccurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases pursuant to section 365(d)(4) of the Bankruptcy Code.

G.      Indemnification Obligations

        All Indemnification Obligations shall not be discharged or impaired by Confirmation of
the Plan or entry of the Confirmation Order and shall be assumed by the Wind Down Estate and
remain intact, irrevocable, and shall survive the entry of the Confirmation Order and Effective
Date of the Plan on terms no less favorable to such current and former directors, officers, managers,

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equity holders, employees, attorneys, accountants, investment bankers, and other professionals of
any of the Debtors and such current and former directors’, officers’, and managers’ respective
Affiliates than the Indemnification Obligations in place prior to the Petition Date, and to the extent
any such Indemnification Obligations are obligations of a non-Debtor Affiliate of any of the
Debtors, such Indemnification Obligations shall be assigned on the Effective Date to the Wind
Down Estate.

                                   ARTICLE VI.
                       PROVISIONS GOVERNING DISTRIBUTIONS

A.      Timing and Calculation of Amounts to Be Distributed

        Unless otherwise provided in the Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or, if a Claim is not an Allowed Claim on the Effective Date, on the date
that such Claim becomes Allowed or as soon as reasonably practicable thereafter), each Holder of
an Allowed Claim, including any portion of a Claim that is an Allowed Claim notwithstanding that
other portions of such Claim are a Disputed Claim, shall receive the full amount of the distributions
that the Plan provides for Allowed Claims in each applicable Class. In the event that any payment
or act under the Plan is required to be made or performed on a date that is not a Business Day, then
the making of such payment or the performance of such act may be completed on the next
succeeding Business Day, but shall be deemed to have been completed as of the required date. If
and to the extent that there are Disputed Claims, distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in Article VII of the Plan. Except as
otherwise provided in the Plan, Holders of Claims shall not be entitled to interest, dividends, or
accruals on the distributions provided for in the Plan, regardless of whether such distributions are
delivered on or at any time after the Effective Date.

B.      Disbursing Agent.

        All distributions under the Plan shall be made by the Disbursing Agent. The Disbursing
Agent shall not be required to give any bond or surety or other security for the performance of its
duties unless otherwise ordered by the Bankruptcy Court. Additionally, in the event that the
Disbursing Agent is so otherwise ordered, all costs and expenses of procuring any such bond or
surety shall be borne by the Wind Down Estate or the GUC Trust (as applicable).

                 a.    Powers of the Disbursing Agent

       The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan;
(b) make all distributions contemplated hereby; (c) employ professionals to represent it with
respect to its responsibilities; and (d) exercise such other powers as may be vested in the
Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions of the Plan.

                 b.    Expenses Incurred On or After the Effective Date

      Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable and
documented fees and expenses incurred by the Disbursing Agent on or after the Effective Date,

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and any reasonable and documented compensation and expense reimbursement claims (including
reasonable and documented attorney fees and expenses), made by the Disbursing Agent shall be
paid in Cash by the Purchaser, the Wind Down Estate, or the Wind Down Administrator (as
applicable).

                 c.     No Liability

        Except on account of gross negligence, fraud, or willful misconduct, the Disbursing Agent
shall have no (a) liability to any party for actions taken in accordance with the Plan or in reliance
upon information provided to it in accordance with the Plan or (b) obligation or liability to any
party who does not hold a Claim against the Debtors as of the Distribution Record Date or any
other date on which a distribution is made or who does not otherwise comply with the terms of the
Plan.

C.      Delivery of Distributions and Undeliverable or Unclaimed Property

        1.       Delivery of Distributions

                 a.     Distribution Record Date

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims and Interests maintained by the Debtors, or their respective
agents, shall be deemed closed, and there shall be no further changes in the record Holders of any
of the Claims and Interests. The Disbursing Agent shall have no obligation to recognize any
transfer of the Claims or Interests occurring on or after the Distribution Record Date.

                 b.     Delivery of Distributions in General

       Except as otherwise provided herein, the Disbursing Agent shall make distributions to
Holders of Allowed Claims and Allowed Interests as of the Distribution Record Date at the address
for each such Holder as indicated on the Debtors’ records as of the date of any such distribution;
provided, however, that the manner of such distributions shall be determined at the discretion of
the Debtors, the Purchaser, the Wind Down Administrator, or the GUC Trustee (as applicable).

                 c.     Delivery of Distributions on Secured Party Claims.

        The Prepetition Credit Agreement Agent shall be deemed to be the Holder of all Secured
Party Claims for purposes of distributions to be made hereunder, and all distributions on account
of such Allowed Claims shall be made to the Prepetition Credit Agreement Agent. As soon as
practicable following compliance with the requirements set forth in Article VI of the Plan, the
Prepetition Credit Agreement Agent shall arrange to deliver or direct the delivery of such
distributions to or on behalf of the Holders of Allowed Secured Party Claims in accordance with
the terms of the Prepetition Credit Agreement Documents, subject to any modifications to such
distributions in accordance with the terms of the Plan.




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                 d.     Delivery of Distributions on DIP Claims

        The DIP Agent shall be deemed to be the Holder of all DIP Claims for purposes of
distributions to be made hereunder, and all distributions on account of such DIP Claims shall be
made to the DIP Agent. As soon as practicable following compliance with the requirements set
forth in Article VI of the Plan, the DIP Agent shall arrange to deliver or direct the delivery of such
distributions to or on behalf of the Holders of DIP Claims in accordance with the terms of the DIP
Facility Documents, subject to any modifications to such distributions in accordance with the terms
of the Plan.

                 e.     Minimum Distributions

       No Distribution shall be made by the Disbursing Agent on account of an Allowed Claim if
the amount to be distributed to the Holder of such Claim on the applicable Distribution Date has
an economic value of less than $250.

        2.       Undeliverable Distributions and Unclaimed Property

        In the event that any distribution to any Holder is returned as undeliverable, no distribution
to such Holder shall be made unless and until the Debtors or the Wind Down Estate, as applicable,
shall have determined the then-current address of such Holder, at which time such distribution
shall be made to such Holder without interest; provided that such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of one year
from the Effective Date. After such date, all unclaimed property or interests in property shall be
redistributed Pro Rata (it being understood that, for purposes of this Article VI.C, “Pro Rata” shall
be determined as if the Claim underlying such unclaimed distribution had been Disallowed)
without need for a further order by the Bankruptcy Court (notwithstanding any applicable federal,
provincial, or state escheat, abandoned, or unclaimed property laws to the contrary), and the Claim
of any Holder to such property or interest in property shall be discharged and forever barred.

D.      Compliance with Tax Requirements

        In connection with the Plan, to the extent applicable, the Debtors, Wind Down
Administrator, GUC Trustee, Disbursing Agent, and any applicable withholding agent shall
comply with all applicable tax withholding and reporting requirements imposed on them by any
Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in the Plan to the
contrary, such parties shall be authorized to take all actions necessary or appropriate to comply
with such withholding and reporting requirements, including liquidating a portion of the
distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding distributions until receipt of information necessary to facilitate such
distributions, or establishing any other mechanisms they believe are reasonable and appropriate.
For these purposes, all distributions made on behalf of the Debtors pursuant to the Plan shall if
applicable be first in satisfaction of the portion of Claims that are not subject to any withholding
tax obligation. All Persons holding Claims against any Debtor shall be required to provide any
additional information reasonably necessary for the Debtors, Wind Down Administrator, GUC
Trustee, Disbursing Agent, and any applicable withholding agent to comply with all tax


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withholding and reporting requirements imposed on them by any Governmental Unit, including
an IRS Form W-8 or W-9, as applicable, and any other applicable tax forms. The Debtors, Wind
Down Estate, Wind Down Administrator, GUC Trustee, and Disbursing Agent (as applicable)
reserve the right to allocate all distributions made under the Plan in a manner that complies with
all other legal requirements, such as applicable wage garnishments, alimony, child support, and
other spousal awards, Liens, and encumbrances. Any amounts withheld pursuant to the Plan shall
be deemed to have been distributed to and received by the applicable recipient for all purposes of
the Plan. Notwithstanding any other provision of the Plan to the contrary, each Holder of an
Allowed Claim or Allowed Interest shall have the sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed on such Holder by any Governmental
Unit, including income, withholding and other tax obligations, on account of such distribution.

E.      Foreign Currency Exchange Rate

       Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any
Claim asserted in currency other than U.S. dollars shall be automatically deemed converted to the
equivalent U.S. dollar value using the exchange rate for the applicable currency as published in
The Wall Street Journal, National Edition, on the Effective Date.

F.      Surrender of Cancelled Instruments or Securities

       As a condition precedent to receiving any distribution on account of its Allowed Claim,
each Holder of a Claim shall be deemed to have surrendered the certificates or other documentation
underlying each such Claim, and all such surrendered certificates and other documentation shall
be deemed to be cancelled pursuant to Article IV of the Plan, except to the extent otherwise
provided in the Plan.

G.      Allocations

        The aggregate consideration to be distributed to each Holder of an Allowed Claim will be
allocated first to the principal amount of such Allowed Claim, with any excess allocated to unpaid
interest that accrued on such Allowed Claims, if any.

H.      No Postpetition Interest on Claims

        Unless otherwise specifically provided for in an order of the Bankruptcy Court, the Plan,
or the Confirmation Order, or required by applicable bankruptcy law, postpetition interest shall
not accrue or be paid on any Claims or Interests and no Holder of a Claim or Interest shall be
entitled to interest accruing on or after the Petition Date on any such Claim.

I.      Setoffs and Recoupment

        The Debtors, the Wind Down Estate, the Wind Down Administrator, the GUC Trust, or
the GUC Trustee (as applicable), may, but shall not be required to, set off against, or recoup from,
any Allowed Claim (other than an Allowed General Unsecured Claim) against a Debtor of any
nature whatsoever that the applicable Debtor, Wind Down Estate, Wind Down Administrator,
GUC Trust, or GUC Trustee (as applicable) may have against the Holder of such Claim, but neither
the failure to do so nor the allowance of any Claim against a Debtor hereunder shall constitute a

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waiver or release by the applicable Debtor, Wind Down Estate, Wind Down Administrator, GUC
Trust, or GUC Trustee (as applicable) of any such Claim it may have against the Holder of such
Allowed Claim.

J.      Claims Paid or Payable by Third Parties

        1.       Claims Paid by Third Parties

        The Debtors, the Wind Down Estate, the Wind Down Administrator, the GUC Trust, or
the GUC Trustee (as applicable), shall reduce in full an Allowed Claim (including any applicable
Cure Claim of a Transferred Contract paid by the Purchaser), and such Claim shall be Disallowed
without a Claim objection having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in
full on account of such Claim from a party that is not a Debtor, Wind Down Estate, the Wind
Down Administrator, GUC Trust, or the GUC Trustee (as applicable); provided that the Debtors,
the Wind Down Estate, the Wind Down Administrator, the GUC Trust, or the GUC Trustee (as
applicable) shall provide 21 days’ notice to the Holder prior to any disallowance of such Claim
during which period the Holder may object to such disallowance, and if the parties cannot reach
an agreed resolution, the matter shall be decided by the Bankruptcy Court. Subject to the last
sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on account of
such Claim and thereafter receives payment from a party that is not a Debtor, Wind Down Estate,
the Wind Down Administrator, the GUC Trust, or the GUC Trustee (as applicable) on account of
such Claim, such Holder shall, within 14 days of receipt thereof, repay or return the distribution to
the Debtors, the Wind Down Estate, the Wind Down Administrator, the GUC Trust, or the GUC
Trustee (as applicable), to the extent the Holder’s total recovery on account of such Claim from
the third party and under the Plan exceeds the amount of such Claim as of the Petition Date. The
failure of such Holder to timely repay or return such distribution shall result in the Holder owing
the Wind Down Estate, the Wind Down Administrator, the GUC Trust, or the GUC Trustee (as
applicable) annualized interest at the Federal Judgment Rate on such amount owed for each
Business Day after the 14-day grace period specified above until the amount is repaid.

        2.       Claims Payable by Insurers

        No distributions under the Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of the Debtors’ insurance policies until the Holder of such Allowed Claim
has exhausted all remedies with respect to such insurance policy. To the extent that one or more
of the Debtors’ insurers agrees to satisfy in full or in part a Claim, then immediately upon such
insurers’ agreement, the applicable portion of such Claim may be expunged without an objection
having to be Filed and without any further notice to or action, order, or approval of the Bankruptcy
Court; provided that the Debtors, the Wind Down Estate, the Wind Down Administrator, the GUC
Trust, or the GUC Trustee (as applicable), shall provide 21 days’ notice to the Holder of such
Claim prior to any disallowance of such Claim during which period the Holder may object to such
disallowance, and if the parties cannot reach an agreed resolution, the matter shall be decided by
the Bankruptcy Court.




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        3.       Applicability of Insurance Policies

        Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall
be in accordance with the provisions of any applicable insurance policy. Nothing contained in the
Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity
may hold against any insurers under any policies of insurance, nor shall anything contained herein
constitute or be deemed a waiver by such insurers of any defenses, including coverage defenses,
held by such insurers.

                                   ARTICLE VII.
                      PROCEDURES FOR RESOLVING CONTINGENT,
                        UNLIQUIDATED, AND DISPUTED CLAIMS

A.      Allowance of Claims

        On or after the Effective Date, the Wind Down Estate, the Wind Down Administrator, the
GUC Trust, or the GUC Trustee (as applicable) shall have and retain any and all rights and defenses
that the Debtors had with respect to any Claim immediately prior to the Effective Date. Except as
expressly provided in the Plan or in any order entered in the Chapter 11 Cases before the Effective
Date (including the Confirmation Order), no Claim shall become an Allowed Claim unless and
until such Claim is deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy
Court has entered a Final Order, including the Confirmation Order (when it becomes a Final
Order), in the Chapter 11 Cases allowing such Claim. All settlements of Claims approved prior to
the Effective Date pursuant to a Final Order of the Bankruptcy Court, pursuant to Bankruptcy Rule
9019, or otherwise shall be binding on all parties.

B.      Claims and Interests Administration Responsibilities

        Except as otherwise specifically provided in the Plan and notwithstanding any
requirements that may be imposed pursuant to Bankruptcy Rule 9019, after the Effective Date, the
Wind Down Estate, the Wind Down Administrator, the GUC Trust, or the GUC Trustee (as
applicable), by order of the Bankruptcy Court, shall together have the sole authority to: (1) File,
withdraw, or litigate to judgment objections to Claims or Interests; (2) settle or compromise any
Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) administer and adjust the Claims Register to reflect any such settlements or compromises
without any further notice to or action, order, or approval by the Bankruptcy Court. In any action
or proceeding to determine the existence, validity, or amount of any General Unsecured Claim,
any and all claims or defenses that could have been asserted by the applicable Debtor(s) or the
Entity holding such General Unsecured Claim are preserved as if the Chapter 11 Cases had not
been commenced.

C.      Adjustment to Claims or Interests Without Objection

       Any duplicate Claim or Interest or any Claim or Interest that has been paid or satisfied, or
any Claim that has been amended or superseded, may be adjusted or expunged on the Claims
Register without the Wind Down Estate, the Wind Down Administrator, the GUC Trust, or the
GUC Trustee (as applicable) having to File an application, motion, complaint, objection, or any


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other legal proceeding seeking to object to such Claim or Interest and without any further notice
to or action, order, or approval of the Bankruptcy Court.

D.      Time to File Objections to Claims

        Any objections to Claims, which, prior to the Effective Date, may be Filed by any party,
shall be Filed on or before the Claims Objection Deadline.

E.      Disallowance of Claims

        Any Claims held by Entities from which property is recoverable under section 542, 543,
550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under section
522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be deemed
Disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Claims may
not receive any distributions on account of such Claims until such time as such Causes of Action
(other than Causes of Action that constitute a Transferred Asset under the Purchase Agreement)
against that Entity have been settled or a Bankruptcy Court order with respect thereto has been
entered and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the
Debtors, the Wind Down Estate or the Wind Down Administrator (as applicable).

     ANY CLAIM THAT HAS BEEN LISTED IN THE SCHEDULES AS DISPUTED,
CONTINGENT, OR UNLIQUIDATED, AND FOR WHICH NO PROOF OF CLAIM HAS
BEEN TIMELY FILED, SHALL BE DEEMED DISALLOWED AND SHALL BE
EXPUNGED WITHOUT FURTHER ACTION AND WITHOUT ANY FURTHER
NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE BANKRUPTCY COURT.

    EXCEPT AS PROVIDED HEREIN, IN AN ORDER OF THE BANKRUPTCY
COURT, OR OTHERWISE AGREED, ANY AND ALL PROOFS OF CLAIM FILED
AFTER THE APPLICABLE BAR DATE SHALL BE DEEMED DISALLOWED AND
EXPUNGED AS OF THE EFFECTIVE DATE WITHOUT ANY FURTHER NOTICE TO
OR ACTION, ORDER, OR APPROVAL OF THE BANKRUPTCY COURT, AND
HOLDERS OF SUCH CLAIMS MAY NOT RECEIVE ANY DISTRIBUTIONS ON
ACCOUNT OF SUCH CLAIMS, UNLESS AT OR PRIOR TO THE CONFIRMATION
HEARING SUCH LATE CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL
ORDER.

F.      Amendments to Claims

        On or after the Effective Date, except as provided in the Plan or the Confirmation Order, a
Claim may not be Filed or amended without the prior authorization of the Bankruptcy Court and
any such new or amended Claim Filed shall be deemed Disallowed in full and expunged without
any further action, order, or approval of the Bankruptcy Court.

G.      No Distributions Pending Allowance

       Notwithstanding any other provision of this Plan to the contrary, no payment or distribution
of any kind or nature provided under the Plan shall be made to the extent that all or any portion of
any Claim is a Disputed Claim, including if an objection to a Claim or portion thereof is Filed as

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set forth in Article VII, unless and until such Disputed Claim becomes an Allowed Claim; provided
that any portion of a Claim that is an Allowed Claim shall receive the payment or distribution
provided under the Plan thereon notwithstanding that any other portion of such Claim is a Disputed
Claim.

H.      Single Satisfaction of Claims

        Holders of Allowed Claims may assert such Claims against each Debtor obligated with
respect to such Claim, and such Claims shall be entitled to share in the recovery provided for the
applicable Class of Claims against each obligated Debtor based upon the full Allowed amount of
the Claim. Notwithstanding the foregoing, in no case shall the aggregate value of all property
received or retained under the Plan on account of any Allowed Claim exceed 100% of such
Allowed Claim.

                              ARTICLE VIII.
        SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and
in consideration for the distributions, releases, and other benefits provided pursuant to the Plan,
which distributions, releases, and other benefits shall be irrevocable and not subject to challenge
upon the Effective Date, the provisions of the Plan, and the distributions, releases, and other
benefits provided hereunder, shall constitute a good-faith compromise and settlement of all Claims
and Interests and controversies resolved pursuant to the Plan.

        The Plan shall be deemed a motion to approve the good-faith compromise and settlement
of all such Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry
of the Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise
and settlement of all such Claims, Interests, and controversies, as well as a finding by the
Bankruptcy Court that all such compromises and settlements are in the best interests of the Debtors,
their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. In
accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any further
notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the Wind
Down Estate, the Wind Down Administrator, the GUC Trust, or the GUC Trustee (as applicable)
may compromise and settle Claims against, and Interests in, the Debtors and their Estates and
Causes of Action against other Entities.

        In accordance with Bankruptcy Rule 9019, the Plan constitutes the good-faith compromise
and settlement among the Global Settlement Parties regarding the matters set forth in the Global
Settlement Term Sheet, and reflects and implements such compromise and settlement, including
by the establishment and funding of the GUC Trust. Such compromise and settlement is made in
exchange for consideration and is in the best interests of the Global Settlement Parties and the
Holders of General Unsecured Claims, is within the reasonable range of possible litigation
outcomes, is fair, equitable, and reasonable, and is an essential element of the resolution of these
Chapter 11 Cases.



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B.      Discharge of Claims and Termination of Interests

         Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Sale Order, the Plan and/or the Plan Supplement, the distributions, rights, and
treatment that are provided in the Sale Order or the Plan shall be in complete satisfaction,
discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany
Claims resolved or compromised after the Effective Date by the Wind Down Estate or the Wind
Down Administrator, as applicable), Interests, and Causes of Action of any nature whatsoever,
including any interest accrued on Claims or Interests from and after the Petition Date, whether
known or unknown, against, liabilities of, Liens on, obligations of, rights against, and interests in,
the Debtors or any of their assets or properties, regardless of whether any property, including,
without limitation, the Transferred Assets, shall have been distributed or retained pursuant to the
Plan on account of such Claims and Interests, including demands, liabilities, and Causes of Action
that arose before the Effective Date, any contingent or non-contingent liability on account of
representations or warranties issued on or before the Effective Date, and all debts of the kind
specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or
not: (a) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section
501 of the Bankruptcy Code; (b) a Claim or Interest based upon such debt, right, or Interest is
Allowed pursuant to section 502 of the Bankruptcy Code; or (c) the Holder of such a Claim or
Interest has accepted the Plan. Any default or “event of default” by the Debtors or Affiliates with
respect to any Claim or Interest that existed immediately before or on account of the Filing of the
Chapter 11 Cases shall be deemed cured (and no longer continuing) as of the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests
subject to the Effective Date occurring.

C.      Term of Injunctions or Stays

         Unless otherwise provided herein, the Confirmation Order, the Confirmation Recognition
Order or in a Final Order, all injunctions or stays arising under or entered during the Chapter 11
Cases under section 362 of the Bankruptcy Code or otherwise, or ordered by the CCAA Court in
the CCAA Recognition Proceeding, and in existence on the Confirmation Date, shall remain in
full force and effect until the later of the Effective Date and the date set forth in the order providing
for such injunction or stay.

D.      Release of Liens

       Except as otherwise specifically provided in the Sale Order (solely with respect to any
Permitted Encumbrances and Assumed Liabilities), the Plan, and/or the Plan Supplement,
on the Effective Date and concurrently with the applicable distributions or other treatment
made pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges, or other security
interests against any property of the Estates, including, without limitation, the Transferred
Assets, shall be fully released and discharged, and all of the right, title, and interest of any
Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert to the Wind Down Estate or the GUC Trust and its successors and assigns, in each
case, without any further approval or order of the Bankruptcy Court or the CCAA Court
and without any action or Filing being required to be made by the Debtors, the Wind Down
Estate, the Wind Down Administrator, the GUC Trust, or the GUC Trustee (as applicable).

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E.      Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, on and after the Effective Date, each Released Party is hereby released and
discharged by the Debtors, their Estates, and the Wind Down Estate (as applicable) from
any and all Claims, Causes of Action, Avoidance Actions, obligations, suits, judgments,
damages, demands, losses, liabilities, and remedies whatsoever (including any derivative
claims, asserted or assertable on behalf of the Debtors, their Estates, or the Wind Down
Estate), whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, accrued or unaccrued, existing or hereinafter
arising, in law, equity, contract, tort, or otherwise, based on or relating to, or in any manner
arising from, in whole or in part, the Debtors (including the management, ownership, or
operation thereof), their Estates, the Wind Down Estate, the Debtors’ in- or out-of-court
restructuring efforts, the Debtors’ intercompany transactions, the Prepetition Credit
Agreement Documents, the Note Purchase Agreement Documents, the Professional Services
Agreement Documents, the DIP Facility Documents (and any payments or transfers in
connection therewith), the Sale Transaction, the purchase, sale, or rescission of the purchase
or sale of any Security of the Debtors, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the formulation, preparation,
dissemination, negotiation, or Filing of the Restructuring Support Agreement, the
restructuring of any Claim or Interest before or during the Chapter 11 Cases, or any
Restructuring, contract, instrument, document, release, or other agreement or document
(including any legal opinion regarding any such transaction, contract, instrument,
document, release, or other agreement or the reliance by any Released Party on the Sale
Order, the Plan, the Confirmation Order, or Confirmation Recognition Order in lieu of such
legal opinion) created or entered into in connection with the Restructuring Support
Agreement, the Disclosure Statement, the Plan, the Plan Supplement, the DIP Facility, the
DIP Facility Documents, the Sale Transaction, and other documents (including the Definitive
Documentation), the Chapter 11 Cases, the CCAA Recognition Proceedings, the filing of the
Chapter 11 Cases, the filing of the CCAA Recognition Proceedings, the Sales Process, the
Global Settlement, the pursuit of Confirmation, the pursuit of Consummation, the
solicitation of votes with respect to the Plan, the administration and implementation of the
Plan and the Sales Process, including the issuance or distribution of any property pursuant
to the Plan and the Sales Process, the Definitive Documentation, or upon any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary
in the foregoing, (i) the releases set forth in this Article VIII.E do not release any post-
Effective Date obligations of any party or Entity under the Plan, including any such
obligations created in connection with the Restructuring or the assumption of the
Indemnification Obligations as set forth in the Plan; (ii) nothing in this Article VIII.E shall,
nor shall it be deemed to, release any Released Party from any Claims or Causes of Action
arising from any obligations of any party under the Purchase Agreement; (iii) nothing in this
Article VIII.E shall, nor shall it be deemed to, release any Released Party from any Claims
or Causes of Action that are found, pursuant to a Final Order, to be the result of such
Released Party’s gross negligence, fraud or willful misconduct; (iv) nothing in this


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Article VIII.E shall, nor shall it be deemed to, release any Causes of Action specifically
enumerated in the List of Retained Causes of Action.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases by the Debtors set forth in this Article
VIII.E, which includes by reference each of the related provisions and definitions contained
herein, and, further, shall constitute the Bankruptcy Court’s finding that such releases are:
(1) in exchange for the good and valuable consideration provided by the Released Parties;
(2) a good faith settlement and compromise of the Claims and Causes of Action released by
such releases; (3) in the best interests of the Debtors and their Estates; (4) fair, equitable,
and reasonable; (5) given and made after due notice and opportunity for hearing; and (6) a
bar to any of the Debtors or their Estates asserting any Claim or Cause of Action released
pursuant to such releases.

F.      Releases by Releasing Parties

         As of the Effective Date, each Releasing Party hereby releases and discharges each
Debtor, Estate, Wind Down Estate, and Released Party from any and all Claims, Causes of
Action, Avoidance Actions, obligations, suits, judgments, damages, demands, losses,
liabilities, and remedies whatsoever (including any derivative claims, asserted or assertable
on behalf of the Debtors, the Wind Down Estate, or their Estates), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, accrued or unaccrued, existing or hereinafter arising, in law, equity, contract,
tort, or otherwise, that such Releasing Party or its estate, heirs, executors, administrators,
successors, or assigns would have been legally entitled to assert in his, her, or its own right
(whether individually or collectively) or on behalf of the Holder of any Claim or Interest or
other Person, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors (including the management, ownership, or operation thereof), their Estates, the
Wind Down Estate, the Debtors’ in- or out-of-court restructuring efforts, the Debtors’
intercompany transactions, the Prepetition Credit Agreement Documents, the Note
Purchase Agreement Documents, the Professional Services Agreement Documents, the DIP
Facility Documents (and any payments or transfers in connection therewith), the Sale
Transaction, the purchase, sale, or rescission of the purchase or sale of any Security of the
Debtors, the subject matter of, or the transactions or events giving rise to, any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between any
Debtor and any Releasing Party, the formulation, preparation, dissemination, negotiation,
or Filing of the Restructuring Support Agreement, the restructuring of any Claim or Interest
before or during the Chapter 11 Cases, or any Restructuring, contract, instrument,
document, release, or other agreement or document (including any legal opinion regarding
any such transaction, contract, instrument, document, release, or other agreement or the
reliance by any Releasing Party on the Sale Order, the Plan, the Confirmation Order, or the
Confirmation Recognition Order in lieu of such legal opinion) created or entered into in
connection with the Restructuring Support Agreement, the Disclosure Statement, the Plan,
the Plan Supplement, the DIP Facility, the DIP Facility Documents, the related agreements,
instruments, and other documents (including the Definitive Documentation), the Chapter 11
Cases, the CCAA Recognition Proceedings, the filing of the Chapter 11 Cases, the filing of
the CCAA Recognition Proceedings, the Sales Process, the Global Settlement, the pursuit of

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Confirmation, the pursuit of Consummation, the solicitation of votes with respect to the Plan,
the administration and implementation of the Plan and the Sales Process, including the
issuance or distribution of any property pursuant to the Plan and the Sales Process, the
Definitive Documentation, or upon any other act or omission, transaction, agreement, event,
or other occurrence taking place on or before the Effective Date related or relating to the
foregoing; provided, however, that except as expressly provided under the Plan, the foregoing
releases shall not release obligations of the Debtors on account of any Allowed Claims that
are treated under the Plan. Notwithstanding anything to the contrary in the foregoing, (i) the
releases set forth in this Article VIII.F do not release any post-Effective Date obligations of
any party or Entity under the Plan, including any such obligations created in connection
with the Restructuring or the Global Settlement or the assumption of the Indemnification
Obligations as set forth in the Plan; (ii) nothing in this Article VIII.F shall, nor shall it be
deemed to, release any Released Party from any Claims or Causes of Action arising from
any obligations of any party under the Purchase Agreement; (iii) nothing in this
Article VIII.F shall, nor shall it be deemed to, release any Released Party from any Claims
or Causes of Action that are found, pursuant to a Final Order, to be the result of such
Released Party’s gross negligence, fraud, or willful misconduct; and (iv) nothing herein shall,
nor shall it be deemed to, release any of the non-Debtor Affiliates of the Released Parties
party to the Prepetition Credit Agreement Documents from the Wind Down Claims. For the
avoidance of doubt, nothing in this Article VIII.F shall, nor shall it be deemed to, release any
Causes of Action specifically enumerated in the List of Retained Causes of Action.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases by Holders of Claims and Interests set
forth in this Article VIII.F, which includes by reference each of the related provisions and
definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding
that such releases are: (1) in exchange for the good and valuable consideration provided by
the Released Parties; (2) a good faith settlement and compromise of the Claims and Causes
of Action released by such releases; (3) in the best interests of the Debtors and their Estates;
(4) fair, equitable, and reasonable; (5) given and made after due notice and opportunity for
hearing; (6) an essential component of the Plan and the Restructuring; and (7) a bar to any
of the Releasing Parties asserting any Claim or Cause of Action released pursuant to such
releases.

G.      Exculpation

       Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
or incur liability for, and each Exculpated Party is hereby exculpated from, any Claim,
Cause of Action, obligation, suit, judgment, damage, demand, loss, or liability for any claim
related to any act or omission in connection with, relating to, or arising out of, the Chapter
11 Cases, the formulation, preparation, dissemination, negotiation, Filing, or termination of
the Restructuring Support Agreement and related prepetition transactions, the Disclosure
Statement, the Plan, the Sale Process, the Sale Transaction, the related agreements,
instruments, and other documents (including the Definitive Documentation), the solicitation
of votes with respect to the Plan, or the Restructuring, or any related contract, instrument,
release or other agreement or document (including providing any legal opinion requested by
any Entity regarding any transaction, contract, instrument, document, or other agreement

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contemplated by the Plan or the reliance by any Person on the Plan or the Confirmation
Order or Confirmation Recognition Order in lieu of such legal opinion) created or entered
into in connection with the Debtors’ in or out-of-court restructuring efforts, the Sale Process,
the Disclosure Statement, the Plan, the Restructuring Support Agreement, the related
agreements, instruments, and other documents (including the Definitive Documentation), the
Chapter 11 Cases, the CCAA Recognition Proceedings, the filing of the Chapter 11 Cases,
the filing of the CCAA Recognition Proceedings, the Sales Process, the Global Settlement,
solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan and the Sales Process,
including the issuance of or distribution of any property pursuant to the Plan and the Sales
Process, the related agreements, instruments, and other documents (including the Definitive
Documentation), or any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date related to the foregoing, except for
claims related to any act or omission that is determined in a Final Order to have constituted
fraud, willful misconduct, or gross negligence, but in all respects such Entities shall be
entitled to reasonably rely upon the advice of counsel with respect to their duties and
responsibilities pursuant to the Plan. The Confirmation Order shall provide that the
Exculpated Parties (to the extent applicable) have, and upon completion of the Plan shall be
deemed to have, participated in good faith and in compliance with the applicable laws with
regard to the solicitation of, and distribution of, consideration pursuant to the Plan and,
therefore, are not, and on account of such distributions shall not be, liable at any time for
the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan. For
the avoidance of doubt, nothing in this Article VIII.G shall, nor shall it be deemed to,
exculpate any Exculpated Party from any Causes of Action (i) arising from any obligations
of any party under the Purchase Agreement; or (ii) specifically enumerated in the List of
Retained Causes of Action.

H.      Injunction

       Except as otherwise expressly provided in the Plan or for obligations issued or
required to be paid pursuant to the Plan or Confirmation Order, all Entities who have held,
hold, or may hold Claims, Interests, or Causes of Action that have been released pursuant to
Article VIII.E or Article VIII.F, discharged pursuant to Article VIII.B, or are subject to
exculpation pursuant to Article VIII.G, are permanently enjoined, from and after the
Effective Date, from taking any of the following actions against, as applicable, the Debtors,
the Wind Down Estate, the Released Parties, or the Exculpated Parties: (a) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in
connection with or with respect to any such Claims, Interests, or Causes of Action; (b)
enforcing, attaching, collecting, or recovering by any manner or means any judgment,
award, decree, or order against such Entities on account of or in connection with or with
respect to any such Claims, Interests, or Causes of Action; (c) creating, perfecting, or
enforcing any Lien or encumbrance of any kind against such Entities or the property,
including, without limitation, the Transferred Assets, or the estates of such Entities on
account of or in connection with or with respect to any such Claims, Interests, or Causes of
Action; or (d) asserting any right of setoff, subrogation, or recoupment of any kind against
any obligation due from such Entities or against the property of such Entities on account of

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or in connection with or with respect to any such Claims, Interests, or Causes of Action.
Notwithstanding anything to the contrary in the foregoing, this injunction does not enjoin
any party under the Plan or under any document, instrument, or agreement (including the
Disclosure Statement or set forth in the Plan Supplement, to the extent finalized) executed to
implement the Plan from bringing an action in the Bankruptcy Court to enforce the terms
of the Plan or such document, instrument, or agreement (including those attached to the
Disclosure Statement or set forth in the Plan Supplement, to the extent finalized) executed to
implement the Plan. Subject in all respects to Article XI, no entity or person may commence
or pursue a Claim or Cause of Action of any kind against any Released Party or Exculpated
Party that arose or arises from, in whole or in part, the Chapter 11 Cases, the CCAA
Recognition Proceedings, the Debtors, the Wind Down Estate, the Plan, the Plan
Supplement, the Disclosure Statement, the Restructuring Support Agreement, the Sale
Process, or any contract, instrument, release, or other agreement or document created or
entered into in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases, the
CCAA Recognition Proceedings, the pursuit of Confirmation, the pursuit of Consummation,
the administration and implementation of the Plan, including the distribution of property
under the Plan, or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective
Date related or relating to the foregoing without the Bankruptcy Court (i) first determining,
after notice and a hearing, that such Claim or Cause of Action represents a colorable Claim
or Cause of Action of any kind, including negligence, bad faith, criminal misconduct, willful
misconduct, fraud, or gross negligence against a Released Party or Exculpated Party and (ii)
specifically authorizing such entity or person to bring such Claim or Cause of Action against
any such Released Party or Exculpated Party. The Bankruptcy Court shall have sole and
exclusive jurisdiction to determine whether a Claim or Cause of Action is colorable and, only
to the extent legally permissible and as provided for in Article XI, shall have jurisdiction to
adjudicate the underlying colorable Claim or Cause of Action.

I.      Protection Against Discriminatory Treatment

       Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
Constitution, all Entities, including Governmental Units, shall not discriminate against the Wind
Down Estate or the Wind Down Administrator (as applicable) or deny, revoke, suspend, or refuse
to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Wind Down Estate or the Wind Down
Administrator (as applicable), or another Entity with whom the Wind Down Estate or the Wind
Down Administrator (as applicable) have been associated, solely because each Debtor has been a
debtor under chapter 11 of the Bankruptcy Code, has been insolvent before the commencement of
the Chapter 11 Cases (or during the Chapter 11 Cases but before the Debtors are granted or denied
a discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.

J.      Recoupment

        In no event shall any Holder of Claims or Interests be entitled to recoup any Claim or
Interest against any Claim, right, or Cause of Action of the Debtors, the Wind Down Estate, the
Wind Down Administrator, the GUC Trust, or the GUC Trustee (as applicable), unless such Holder
actually has performed such recoupment and provided notice thereof in writing to the Debtors on

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or before the Confirmation Date, notwithstanding any indication in any Proof of Claim or
otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

K.      Subordination Rights

        Any distributions under the Plan shall be received and retained free from any obligations
to hold or transfer the same to any other Holder and shall not be subject to levy, garnishment,
attachment, or other legal process by any Holder by reason of claimed contractual subordination
rights. Any such subordination rights shall be waived, and the Confirmation Order shall constitute
an injunction enjoining any Entity from enforcing or attempting to enforce any contractual, legal,
or equitable subordination rights to property distributed under the Plan, in each case other than as
provided in the Plan.

L.      Reimbursement or Contribution

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is
contingent as of the time of disallowance, such Claim shall be forever disallowed and expunged
notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Confirmation Date:
(1) such Claim has been adjudicated as non-contingent; or (2) the relevant Holder of a Claim has
Filed a non-contingent Proof of Claim on account of such Claim and a Final Order has been entered
prior to the Confirmation Date determining such Claim as no longer contingent.

M.      Document Retention.

         On and after the Effective Date, the Wind Down Estate, the Wind Down Administrator,
the GUC Trust, or the GUC Trustee (as applicable) may maintain documents in accordance with
their standard document retention policy, as may be altered, amended, modified, or supplemented
by the Wind Down Estate or the Wind Down Administrator (as applicable).

                                  ARTICLE IX.
                    CONDITIONS PRECEDENT TO CONFIRMATION
                       AND CONSUMMATION OF THE PLAN

A.      Conditions Precedent to Confirmation

       It shall be a condition to Confirmation of the Plan that the following conditions, as
determined by the Debtors with the consent of the DIP Agent, the Prepetition Secured Parties, and
the Purchaser shall have been satisfied (or waived pursuant to the provisions of Article IX.C of the
Plan):

       1.       the Restructuring Support Agreement shall not have been breached or terminated
and shall be in full force and effect;

        2.     the Bankruptcy Court shall have entered a Final Order approving the Disclosure
Statement with respect to the Plan as containing adequate information within the meaning of
section 1125 of the Bankruptcy Code;


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        3.    a Final DIP Approval Order shall have been entered by the Bankruptcy Court and
the Final DIP Recognition Order shall have been entered by the CCAA Court, and each shall not
have been breached or terminated, shall be in full force and effect, and no stay thereof shall be in
effect;

       4.     the Purchase Agreement shall have been executed by the parties thereto, shall not
have been breached or terminated and shall be in full force and effect;

       5.     all provisions, terms, and conditions hereof shall have been approved in the
Confirmation Order;

        6.      the Administrative Expense Claim, Priority Tax Claim, and Other Priority Claim
Backstop Amount shall have been funded by cash on hand of the Debtors and the proceeds of the
DIP Facility into a reserve account and shall be added to the outstanding obligations under the DIP
Facility (less cash on hand);

        7.       the Special Committee’s investigation shall have concluded; and

       8.      a motion (including any exhibits, schedules, amendments, modifications or
supplements thereto) shall have been filed in the CCAA Recognition Proceedings seeking the
issuance of the Sale Recognition Order pursuant the Purchase Agreement and consistent with the
terms of the Restructuring Support Agreement and the Restructuring Support Agreement
Documentation.

B.      Conditions Precedent to the Effective Date

        It shall be a condition to the occurrence of the Effective Date that the following conditions,
as determined by the Debtors with the consent of the DIP Agent, the Prepetition Secured Parties,
and the Purchaser shall have been satisfied (or waived pursuant to the provisions of Article IX.C
of the Plan):

       1.       the Restructuring Support Agreement shall not have been breached or terminated
and shall be in full force and effect;

       2.     the Confirmation Order and Confirmation Recognition Order shall have been
entered and neither the Confirmation Order nor the Confirmation Recognition Order shall have
been stayed, modified, or vacated on appeal;

        3.     the Sale Order shall have been entered (whether or not included as a part of the
Confirmation Order and Confirmation Recognition Order, as applicable), and shall not have been
stayed, modified, or vacated on appeal;

       4.    the Sale Transaction (including with respect to the sale of the Canadian Transferred
Assets to Purchaser pursuant to the CCAA Recognition Proceedings) shall have been
consummated in accordance with the terms of the Purchase Agreement;




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       5.     a Final DIP Approval Order shall have been entered by the Bankruptcy Court and
Final DIP Recognition Order shall have been entered by the CCAA Court, and each shall not have
been breached or terminated, shall be in full force and effect, and no stay thereof shall be in effect;

       6.     the Professional Fee Escrow Account shall be funded using cash on hand of the
Debtors, proceeds of the DIP Facility, or proceeds of the Sale Transaction, as applicable, in an
amount equal to the Professional Fee Reserve Amount;

        7.     all required governmental and third-party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions provided for in the Plan
shall have been obtained, shall not be subject to unfulfilled conditions, and shall be in full force
and effect, and all applicable waiting periods shall have expired without any action having been
taken by any competent authority that would restrain or prevent such transactions;

        8.      all documents and agreements necessary to implement the Plan and the
Restructuring shall have been (a) tendered for delivery and (b) effected or executed by all Entities
party thereto, and all conditions precedent to the effectiveness of such documents and agreements
(other than any conditions related to the occurrence of the Effective Date) shall have been satisfied
or waived pursuant to the terms of such documents or agreements;

        9.     the Bankruptcy Court shall have approved the Plan’s releases and such approval
shall have been recognized and given effect in Canada by the CCAA Court;

        10.      all Restructuring Expenses shall have been paid in Cash in full;

        11.      the GUC Trust shall have been created and funded in accordance with the Plan;

       12.     the Post-Sale Reserve shall have been funded using cash on hand of the Debtors,
proceeds of the DIP Facility, or the Sale Transaction proceeds, as applicable; and

        13.    the Foreign Sale Reserve shall have been funded using Sale Transaction proceeds
and distributed to the Netherlands Subsidiaries.

C.      Waiver of Conditions

        The conditions precedent to Confirmation of the Plan and to the Effective Date of the Plan
set forth in Article IX.A and Article IX.B may be amended, modified, supplemented, or waived in
writing by mutual agreement of the Debtors, the DIP Secured Parties, the Prepetition Secured
Parties, and the Purchaser without notice, leave, or order of the Bankruptcy Court or any formal
action other than proceedings to confirm or consummate the Plan.

                               ARTICLE X.
          MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.      Modification and Amendments

       Subject to the limitations contained herein, in the Global Settlement, and in the
Restructuring Support Agreement, the Debtors reserve the right to alter, amend, or modify the

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Plan, subject to the consent of the Prepetition Secured Parties, and seek Confirmation consistent
with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan. Subject
to certain restrictions and requirements set forth in section 1127 of the Bankruptcy Code,
Bankruptcy Rule 3019, and the restrictions on modifications set forth in the Plan and the
Restructuring Support Agreement, the Debtors expressly reserve their rights to alter, amend, or
modify the Plan, one or more times, after Confirmation, and, to the extent necessary, initiate
proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect
or omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the
Confirmation Order, in such manner as may be necessary to carry out the purposes and intent of
the Plan.

B.      Effect of Confirmation on Modifications

        Entry of the Confirmation Order shall mean that all modifications or amendments to the
Plan occurring after the solicitation thereof are approved pursuant to section 1127(a) of the
Bankruptcy Code and shall constitute a finding that such modifications or amendments to the Plan
do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.

C.      Revocation or Withdrawal of the Plan

        Subject to the conditions and limitations set forth in the Restructuring Support Agreement,
the Debtors reserve the right to revoke or withdraw the Plan with respect to any or all Debtors
prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors
revoke or withdraw the Plan, or if Confirmation and Consummation do not occur, then: (1) the
Plan shall be null and void in all respects; (2) any settlement or compromise embodied in the Plan
(including the fixing or limiting to an amount certain of any Claim or Interest or Class of Claims
or Interests), assumption or rejection of Executory Contracts or Unexpired Leases effected by the
Plan, and any document or agreement executed pursuant to the Plan shall be deemed null and void;
and (3) nothing contained in the Plan shall: (i) constitute a waiver or release of any Claims or
Interests; (ii) prejudice in any manner the rights of the Debtors or any other Entity, including the
Holders of Claims; (iii) constitute an admission, acknowledgement, offer, or undertaking of any
sort by the Debtors or any other Entity; or (iv) be used by the Debtors or any other Entity as
evidence (or in any other way) in any litigation, including with regard to the strengths or
weaknesses of any of the parties’ positions, arguments, or claims; provided that, the foregoing
reservation of rights shall not in any way amend, nullify, or void any action, act, or right ratified
upon the Bankruptcy Court’s entry of the Sale Approval Order.

                                     ARTICLE XI.
                              RETENTION OF JURISDICTION

       Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over the
Chapter 11 Cases and all matters, arising out of, or related to, the Chapter 11 Cases and the Plan,
including jurisdiction to:

       1.    Allow, Disallow, determine, liquidate, classify, estimate, or establish the priority,
Secured, Unsecured, or subordinated status, or amount of any Claim or Interest, including the


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resolution of any request for payment of any Administrative Expense Claim and the resolution of
any and all objections relating to any of the foregoing;

       2.      decide and resolve all matters related to the granting and denying, in whole or in
part, any applications for allowance of compensation or reimbursement of expenses to
Professionals;

        3.      resolve any matters related to: (a) the assumption, assumption and assignment, or
rejection of any Executory Contract or Unexpired Lease to which a Debtor is party or with respect
to which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Claims
arising therefrom, including Cures pursuant to section 365 of the Bankruptcy Code; (b) any
potential contractual obligation under any Executory Contract or Unexpired Lease that is assumed;
and (c) any dispute regarding whether a contract or lease is or was executory or expired;

      4.      ensure that distributions to Holders of Allowed Claims or Interests are
accomplished pursuant to the provisions of the Plan;

        5.     consider any modifications of the Plan before or after the Effective Date pursuant
to section 1127 of the Bankruptcy Code, the Confirmation Order, the Sale Approval Order or any
contract, instrument, release, or other agreement or document entered into or delivered in
connection with the Plan, the Disclosure Statement, the Confirmation Order, or the Sale Approval
Order in each case, to remedy any defect or omission or reconcile any inconsistency in any
Bankruptcy Court order, the Plan, the Disclosure Statement, the Confirmation Order, the Sale
Approval Order, or any contract, instrument, release, or other agreement or document entered into,
delivered, or created in connection with the Plan, the Disclosure Statement, the Confirmation
Order, or the Sale Approval Order in such manner as may be necessary or appropriate to
consummate the Plan;

        6.      adjudicate, decide, or resolve any motions, adversary proceedings, contested, or
litigated matters, and grant or deny any applications involving a Debtor that may be pending on
the Effective Date;

        7.     adjudicate, decide, or resolve any and all matters related to Causes of Action by or
against a Debtor, the GUC Trust, or GUC Trustee;

       8.     adjudicate, decide, or resolve any and all matters related to sections 1141, 1145,
and 1146 of the Bankruptcy Code;

       9.      enter and implement such orders as may be necessary or appropriate to execute,
implement, or consummate the provisions of the Plan, and all contracts, instruments, releases,
indentures, and other agreements or documents created in connection with the Plan;

        10.   enter and enforce any order for the sale of property pursuant to sections 363 or 1123
of the Bankruptcy Code, including for the avoidance of doubt the Sale Approval Order;

        11.    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
in connection with the Consummation, interpretation, or enforcement of the Plan or any Entity’s
obligations incurred in connection with the Plan;

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       12.    adjudicate, decide, or resolve any dispute and all matters related to the Sale
Transaction and Sale Transaction Documents;

       13.   adjudicate, decide, or resolve any dispute and all matters arising under the GUC
Trust Agreement;

       14.    issue injunctions, enter and implement other orders, or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with Consummation or
enforcement of the Plan;

       15.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the settlements, compromises, discharges, releases, injunctions, exculpations, and other
provisions contained in Article VIII of the Plan and enter such orders as may be necessary or
appropriate to implement such releases, injunctions, and other provisions;

        16.    resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the repayment or return of distributions and the recovery of additional amounts owed by the
Holder of a Claim or Interest for amounts not timely repaid pursuant to Article VII of the Plan;

       17.     enter and implement such orders as are necessary or appropriate if the Confirmation
Order is for any reason modified, stayed, reversed, revoked, or vacated;

       18.    determine any other matters that may arise in connection with or relate to the Plan,
the Disclosure Statement, the Confirmation Order, the Plan Supplement, or the Sale Approval
Order;

        19.    adjudicate any and all disputes arising from or relating to distributions under the
Plan or any transactions contemplated therein, including any Restructuring Transactions;

        20.   determine requests for the payment of Claims entitled to priority pursuant to section
507 of the Bankruptcy Code;

       21.    hear and determine matters concerning state, local, and U.S. federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

        22.      hear and determine matters concerning section 1145 of the Bankruptcy Code;

        23.     hear and determine all disputes involving the existence, nature, or scope of the
release provisions set forth in the Plan, including any dispute or matter relating to any liability
arising out of the termination of employment or the termination of any employee or retiree benefit
program, regardless of whether such termination occurred prior to or after the Effective Date;

        24.      enforce all orders previously entered by the Bankruptcy Court;

        25.      enter a final decree concluding or closing the Chapter 11 Cases;

        26.      enforce the injunction, release, and exculpation provisions set forth in Article VIII
of the Plan;


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        27.      hear any other matter not inconsistent with the Bankruptcy Code; and

        28.    the CCAA Court shall retain jurisdiction over the CCAA Recognition Proceedings
and all matters, arising out of, or related to, the CCAA Recognition Proceedings including the
orders of the CCAA Court.

                                       ARTICLE XII.
                                MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect

        Subject to Article IX.B of the Plan and notwithstanding Bankruptcy Rules 3020(e),
6004(h), or 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan,
the final versions of the documents contained in the Plan Supplement, the Confirmation Order,
and the Sale Approval Order shall be immediately effective and enforceable and deemed binding
upon the Debtors or the Wind Down Estate, as applicable, and any and all Holders of Claims or
Interests (regardless of whether the Holders of such Claims or Interests are deemed to have
accepted or rejected the Plan), all Entities that are parties to or are subject to the settlements,
compromises, releases, and injunctions provided for in the Plan, each Entity acquiring property
under the Plan or the Confirmation Order, and any and all non-Debtor parties to Executory
Contracts and Unexpired Leases. All Claims and debts shall be fixed, adjusted, or compromised,
as applicable, pursuant to the Plan regardless of whether any Holder of a Claim or debt has voted
on the Plan.

B.      Additional Documents

        On or before the Effective Date, the Debtors may File with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of the Plan. The Debtors, the Wind Down Estate, the Wind
Down Administrator, the GUC Trust, or the GUC Trustee, as applicable, and all Holders of Claims
or Interests receiving distributions pursuant to the Plan and all other parties in interest shall, from
time to time, prepare, execute, and deliver any agreements or documents and take any other actions
as may be necessary or advisable to effectuate the provisions and intent of the Plan.

C.      Reservation of Rights

        Except as expressly set forth herein, the Plan shall have no force or effect unless the
Bankruptcy Court enters the Confirmation Order, and the Confirmation Order shall have no force
or effect unless the Effective Date occurs. Prior to the Effective Date, neither the Plan, any
statement or provision contained in the Plan, nor any action taken or not taken by any Debtor with
respect to the Plan, the Disclosure Statement, the Confirmation Order, or the Plan Supplement
shall be or shall be deemed to be an admission or waiver of any rights of any Debtor with respect
to the Holders of Claims or Interests.

D.      Successors and Assigns

       The rights, benefits, and obligations of any Entity named or referred to in the Plan or the
Confirmation Order shall be binding on, and shall inure to the benefit of any heir, executor,

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administrator, successor or assign, Affiliate, officer, director, manager, agent, representative,
attorney, beneficiaries, or guardian, if any, of each Entity.

E.      Service of Documents

        Any pleading, notice, or other document required by the Plan to be served on or delivered
to the Debtors, the Wind Down Estate, the Wind Down Administrator, the GUC Trust, or the GUC
Trustee as applicable, shall be served on:

 Debtors or the                           KidKraft Inc.
 Wind Down Estate                         4630 Olin Road
                                          Dallas, TX 75244
                                          Attn: Geoffrey Walker

 Attorneys to the Debtors                 Vinson & Elkins LLP
                                          2001 Ross Avenue, Suite 3900
                                          Dallas, TX 75201
                                          Attn: William L. Wallander
                                                Matthew D. Struble
                                                Kiran Vakamudi

                                          and

                                          Vinson & Elkins LLP
                                          1114 Avenue of the Americas, 32nd Floor
                                          New York, NY 10036
                                          Attn: David S. Meyer
                                                Lauren R. Kanzer

 Wind Down Administrator                  SierraConstellation Partners, LLC
                                          3090 Olive St., 3rd Floor
                                          Dallas, TX 75219
                                          Attn: Carl Moore

 GUC Trustee                              Jiangang Ou, Esq.
                                          1222 Howard Lane
                                          Bellaire, Texas 77401

 United States Trustee                    Office of the United States Trustee
                                          for the Northern District of Texas
                                          Earle Cabell Federal Building
                                          1100 Commerce Street, Room 976
                                          Attn: Meredyth Kippes

 Prepetition Credit Agreement             GB Funding, LLC
 Agent and DIP Agent                      101 Huntington Avenue, Suite 1100
                                          Boston, Massachusetts 02199

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                                            Attn: David Braun
                                                  Kyle Shonak

 Counsel to the Prepetition Credit          Katten Muchin Rosenman LLP
 Agreement Agent and DIP Agent              50 Rockefeller Plaza
                                            New York, NY 10020
                                            Attn: Cindi M. Giglio
                                                  Lucy F. Kweskin

 Purchaser                                  Backyard Products LLC
                                            317 S. Main Street
                                            Ann Arbor, MI 48104
                                            Attn: Thomas van der Meulen

 Counsel to Purchaser                       King & Spalding LLP
                                            1185 6th Avenue
                                            New York, NY 10036
                                            Attn: Spencer Stockdale
                                                  Michael Fishel
                                                  Jeff Dutson

 MidOcean                                   MidOcean Partners
                                            245 Park Avenue
                                            38th Floor
                                            New York, NY 10167
                                            Attn: Daniel Penn

 Counsel to MidOcean                        Gibson Dunn & Crutcher LLP
                                            200 Park Avenue
                                            New York, NY 10166
                                            Attn: Andrew Herman



F.      Term of Injunctions or Stays

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court or the CCAA Court, and existing on the Confirmation Date
(excluding any injunctions or stays contained in the Plan or the Confirmation Order) shall remain
in full force and effect until the Effective Date. All injunctions or stays contained in the Plan, the
Confirmation Order, the Confirmation Recognition Order or the Sale Order shall remain in full
force and effect in accordance with their terms.




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G.      Entire Agreement

        Except as otherwise indicated, and without limiting the effectiveness of the Global
Settlement and the Restructuring Support Agreement and any related agreements thereto, on the
Effective Date, the Plan, the Plan Supplement, and the Confirmation Order shall supersede all
previous and contemporaneous negotiations, promises, covenants, agreements, understandings,
and representations on such subjects, all of which have become merged and integrated into the
Plan.

H.      Exhibits

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan. After the exhibits and documents are Filed,
copies of such exhibits and documents shall be available upon written request to the Debtors’
counsel at the address above or by downloading such exhibits and documents from the Debtors’
restructuring website at https://www.stretto.com/kidkraft or the Bankruptcy Court’s website at
https://www.txnb.uscourts.gov/. To the extent any exhibit or document is inconsistent with the
terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-
document portion of the Plan shall control.

I.      Nonseverability of Plan Provisions

        If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court
to be invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or
unenforceable, and such terms or provision shall then be applicable as altered or interpreted,
provided that any such alteration or interpretation shall be acceptable to the Debtors,
the DIP Agent, the Prepetition Secured Parties, and the Purchaser. Notwithstanding any such
alteration or interpretation, the remainder of the terms and provisions of the Plan will remain in
full force and effect and will in no way be affected, impaired, or invalidated by such alteration or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of the Plan, as it may have been altered or interpreted in accordance
with the foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and
may not be deleted or modified without the Debtors’, the Prepetition Secured Parties’, and the
Purchaser’s consent; and (3) nonseverable and mutually dependent.

J.      Votes Solicited in Good Faith

        Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes
on the Plan in good faith and in compliance with the Bankruptcy Code, and pursuant to
section 1125(e) of the Bankruptcy Code, the Debtors and each of their respective Affiliates, agents,
representatives, members, principals, shareholders, officers, directors, employees, advisors, and
attorneys will be deemed to have participated in good faith and in compliance with the Bankruptcy
Code in the offer, issuance, sale, and purchase of Securities (if any) offered and sold under the
Plan and any previous plan, and, therefore, neither any of such parties or individuals nor the Wind
Down Estate or Wind Down Administrator (as applicable) will have any liability for the violation


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of any applicable law, rule, or regulation governing the solicitation of votes on the Plan or the
offer, issuance, sale, or purchase of the Securities (if any) offered and sold under the Plan and any
previous plan.

K.      Request for Expedited Determination of Taxes

        The Debtors, the Wind Down Estate, the Wind Down Administrator, or the GUC Trustee,
as the case may be, shall have the right to request an expedited determination under section 505(b)
of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable
periods ending after the Petition Date through the Effective Date.

L.      Closing of Chapter 11 Cases

        The Wind Down Estate or the Wind Down Administrator (as applicable) shall, promptly
after the full administration of the Chapter 11 Cases, File with the Bankruptcy Court all documents
required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to issue a
final decree closing the Chapter 11 Cases and file materials with the CCAA Court to terminate the
CCAA Recognition Proceedings.

M.      No Stay of Confirmation Order

       The Confirmation Order and Confirmation Recognition Order shall contain a waiver of
any stay of enforcement otherwise applicable, including pursuant to Bankruptcy Rules 3020(e)
and 7062.

N.      Waiver or Estoppel

        Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any
argument, including the right to argue that its Claim or Interest should be Allowed in a certain
amount, in a certain priority, Secured or not subordinated by virtue of an agreement made with the
Debtors or their counsel, or any other Entity, if such agreement or the Debtors,’ Wind Down
Estate’s, or the Wind Down Administrator’s (as applicable) right to enter into settlements was not
disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court or the
Noticing and Claims Agent prior to the Confirmation Date.

O.      Dissolution of Statutory Committees

        On the Effective Date, any statutory committee formed in connection with the Chapter 11
Cases shall dissolve automatically and all members thereof (solely in their capacities as such) shall
be released and discharged from all rights, duties, and responsibilities arising from, or related to,
the Chapter 11 Cases.

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         Respectfully submitted, as of the date first set forth below,

Dated:      June 20, 2024
            Dallas, Texas
                                                KIDKRAFT, INC.
                                                on behalf of itself and all other Debtors


                                                /s/ Geoffrey Walker
                                                Geoffrey Walker
                                                President & Chief Executive Officer




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                                  Exhibit B

                             Sale Approval Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                      §         Case No. 24-80045-mvl11
                                                                §
    KIDKRAFT, INC., et al.,                                     §         (Chapter 11)
                                                                §
             Debtors.1                                          §         (Jointly Administered)
                                                                §
                                                                §         Re: Docket No. 28, 29, 54, 220

                      ORDER (I) AUTHORIZING
                THE SALE OF THE DEBTORS’ ASSETS
              FREE AND CLEAR OF ALL LIENS, CLAIMS,
            INTERESTS AND ENCUMBRANCES PURSUANT
             TO 11 U.S.C. §§ 105 AND 363, (II) APPROVING
           THE PURCHASE AGREEMENT, (III) AUTHORIZING
     THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (IV) GRANTING RELATED RELIEF




1   The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
    or Canadian business numbers, as applicable, are: KidKraft, Inc. (3303), KidKraft Europe, LLC (3174), KidKraft
    Intermediate Holdings, LLC (8800), KidKraft International Holdings, Inc. (2933), KidKraft Partners, LLC (3268),
    KidKraft International IP Holdings, LLC (1841), Solowave Design Corp. (9294), Solowave Design Holdings
    Limited (0206), Solowave Design Inc. (3073), Solowave Design LP (7201), and Solowave International Inc.
    (4302). The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 4630 Olin
    Road, Dallas, TX 75244.



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         Upon the Amended Joint Prepackaged Chapter 11 Plan [Docket No. 220] (as it may be

amended, altered, modified, or supplemented, and including all exhibits and supplements thereto,

the “Plan”)2 filed by the above-captioned debtors and debtors in possession (collectively, the

“Debtors”), which contemplates entry of an order (this “Sale Order”): (a) authorizing and

approving the applicable Debtors’ proposed sale of all of their respective right, title, and interest

in, to, and under the Transferred Assets to Backyard Products, LLC, a Delaware limited liability

company (“Backyard”) or, as applicable, any Designated Buyer designated in accordance with the

Purchase Agreement (Backyard or such Designated Buyer, as applicable, the “Buyer”) free and

clear of all Liens, Claims, Interests (each as defined herein), and Encumbrances (as defined in the

Purchase Agreement) (with the sole exception of any Permitted Encumbrances and Assumed

Liabilities), in accordance with the terms and conditions contained in that certain Asset Purchase

Agreement, dated as of April 25, 2024, by and among certain of the Debtors and Backyard,

substantially in the form attached hereto as Exhibit 1 (as may be amended or otherwise modified

from time to time and including all related documents, exhibits, schedules, and agreements thereto,

collectively, the “Purchase Agreement,” and the proposed sale contemplated thereunder, the

“Sale”) and the other transactions contemplated thereby; (b) approving the Purchase Agreement

and the other Sale Transaction Documents; (c) authorizing the assumption and assignment to the

Buyer of the Transferred Contracts, including the assignment of any applicable Transferred

Contracts that were entered into after the Petition Date; and (d) granting related relief; and the

Court having reviewed and considered the Plan and all relief related thereto and any objections

thereto; and upon the full record in support of the relief requested by the Debtors in the Plan; and

the Court having found that the relief requested in the Plan is in the best interests of the Debtors’


2   Capitalized terms utilized herein but not otherwise defined shall have the meanings ascribed to them in the Plan
    or the Purchase Agreement (as defined herein), as the context makes applicable.

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Estates, their creditors, and all other parties in interest; and the Court having heard the statements

in support of the relief requested in the Plan at a hearing before this Court on June 21, 2024 (the

“Combined Hearing”); and the Court having confirmed the Plan and entered the Findings of Fact,

and Conclusions of Law, and Order Confirming the Debtors’ Joint Prepackaged Chapter 11 Plan

substantially contemporaneously herewith (the “Confirmation Order”); and the Court having

determined that the legal and factual bases set forth in the Plan, the Declaration of Geoffrey Walker

in Support of Chapter 11 Petitions and First Day Motions [Docket No. 31], the Declaration of

Ajay Bijoor, Managing Director of Robert W. Baird & Co. Incorporated, in Support of (I) the

Debtors’ Motion to Obtain Postpetition Debtor in Possession Financing and (II) the Sale Process

[Docket No. 32], and the Declaration of Ajay Bijoor, Managing Director of Robert W. Baird &

Co. Incorporated, in Support of (I) the Sale Transaction and (II) the Bid Protections [Docket No.

188], and at the Combined Hearing, establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor,

THE COURT HEREBY FINDS AS FOLLOWS:

        A.       General. The findings and conclusions set forth herein constitute the Court’s

findings of fact and conclusions of law pursuant to rule 7052 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), made applicable to these chapter 11 cases pursuant to

Bankruptcy Rule 9014. To the extent that any of the following findings of fact constitute

conclusions of law, they are adopted as such. To the extent that any of the conclusions of law

constitute findings of fact, they are adopted as such.

        B.       Jurisdiction and Venue. The Court has jurisdiction over this matter pursuant to

28 U.S.C. § 1334, and venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.




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The matters addressed in this Sale Order constitute a “core” proceeding pursuant to

28 U.S.C. § 157(b).

        C.       Bases for Relief. The statutory and other legal bases for the relief provided herein

are sections 105(a), 363, 365, 503, 507, 1123, 1129, and 1146 of title 11 of the United States Code

(the “Bankruptcy Code”), Bankruptcy Rules 3020(e) (to the extent applicable), 6004, 6006, 9007,

9008, and 9014, the Plan and the Confirmation Order. The consummation of the Sale and the other

transactions contemplated by the Purchase Agreement and this Sale Order is legal, valid, and

properly authorized under all applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

the Local Bankruptcy Rules of the United States Bankruptcy Court for the Northern District of

Texas (the “Bankruptcy Local Rules”), and the General Order Regarding Procedures for

Complex Chapter 11 Cases (the “Complex Case Procedures”), and the Debtors and the Buyer

have complied with all of the applicable requirements of such sections and rules in respect of such

transactions.

        D.       Marketing and Sale Process. The sale of the Transferred Assets to the Buyer

pursuant to the Purchase Agreement is duly authorized under sections 363(b)(1), 363(f), 1123 and

1129 of the Bankruptcy Code, Bankruptcy Rule 6004(f), Bankruptcy Local Rule 2002-1, and the

Confirmation Order. As demonstrated by (i) the testimony and other evidence proffered or

adduced at the Combined Hearing and (ii) the representations of counsel made on the record at the

Combined Hearing, the Debtors and their professionals, agents, and other representatives engaged

in a robust and extensive marketing and sale process for the Transferred Assets and conducted all

aspects of the sale process in good faith. The marketing process undertaken by the Debtors and

their professionals, agents, and other representatives with respect to the Transferred Assets has




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been adequate and appropriate and reasonably calculated to maximize value for the benefit the

Debtors’ Estates and all stakeholders.

        E.       Corporate Authority. The Debtors are the sole and lawful owners of the Transferred

Assets. The Transferred Assets constitute property of the Debtors’ Estates and title thereto is

vested in the Debtors’ Estates within the meaning of section 541 of the Bankruptcy Code. The

Debtors (i) have full corporate power and authority to execute the Purchase Agreement, and the

Sale of the Transferred Assets to the Buyer has been duly and validly authorized by all necessary

corporate action, (ii) have all of the corporate power and authority necessary to consummate the

Sale and all transactions contemplated by the Purchase Agreement and the other Sale Transaction

Documents, including this Sale Order, (iii) have taken all corporate action necessary to authorize

and approve the Purchase Agreement, and the consummation by the Debtors of the Sale and all

other transactions contemplated by this Sale Order, the Purchase Agreement, or the other Sale

Transaction Documents, and (iv) require no further consents or approvals, other than those

expressly provided for in the Purchase Agreement, to consummate such transactions.

        F.       Highest and Best Offer; Business Judgment. The Debtors have demonstrated a

sufficient basis to enter into the Purchase Agreement, sell the Transferred Assets on the terms

outlined therein, and assume and assign the Transferred Contracts to the Buyer under sections 363

and 365 of the Bankruptcy Code and assign any applicable Transferred Contracts that were entered

into after the Petition Date pursuant to the Purchase Agreement. All such actions are appropriate

exercises of the Debtors’ business judgment and in the best interests of the Debtors, their Estate,

their creditors, and other parties in interest. Approval of the Sale on the terms set forth in the

Purchase Agreement at this time is in the best interests of the Debtors, their Estates, their creditors,

and all other parties in interest.



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        G.       The offer of the Buyer, on the terms and conditions set forth in the Purchase

Agreement, including the total consideration to be realized by the Debtors thereunder, (i) is the

highest and best offer received by the Debtors after extensive marketing, (ii) is in the best interests

of the Debtors, their Estates, their creditors, and all other parties in interest, and (iii) is fair and

reasonable and constitutes reasonably equivalent value, fair and adequate consideration, and fair

value for the Transferred Assets under the Bankruptcy Code, the Uniform Fraudulent Transfer Act,

the Uniform Voidable Transactions Act, and all other applicable laws of the United States, any

state, territory, possession, the District of Columbia, or any other applicable jurisdiction with laws

substantially similar to the foregoing.       Taking into consideration all relevant factors and

circumstances, no other Person or entity has offered to purchase the Transferred Assets for greater

value to the Debtors and their Estates.

        H.       The Debtors and the Buyer have not entered into the Purchase Agreement, or

proposed to consummate the Sale: (i) for the purposes of hindering, delaying, or defrauding the

Debtors’ present or future creditors, or (ii) fraudulently, for the purpose of statutory or common

law fraudulent conveyance and fraudulent transfer claims, whether under the Bankruptcy Code or

under the laws of the United States, any state, territory, possession, the District of Columbia, or

any other applicable jurisdiction with laws substantially similar to the foregoing.

        I.       Good and sufficient reasons for approval of the Purchase Agreement and the Sale

have been articulated by the Debtors. The Debtors have demonstrated compelling circumstances

for the Sale outside the ordinary course of business, pursuant to section 363(b) of the Bankruptcy

Code and in accordance with the Plan, in that, among other things, the immediate consummation

of the Sale of the Transferred Assets to the Buyer is necessary and appropriate to preserve and to

maximize the value of the Debtors’ Estates. To maximize the value to the Estates of the Sale of



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the Transferred Assets, it is essential that the consummation of the Sale and the other transactions

provided for under the Purchase Agreement occur promptly following confirmation of the Plan.

        J.       Opportunity to Object. A reasonable opportunity to object or be heard with respect

to the Sale (and all transactions contemplated in connection therewith), the assumption and

assignment of the Transferred Contracts, including the assignment of any applicable Transferred

Contracts that were entered into after the Petition Date, to the Buyer pursuant to the Purchase

Agreement, the Identified Cure Amounts (defined below), the Combined Hearing, and all

deadlines related thereto has been afforded to all interested persons and entities, including, without

limitation: (i) the United States Trustee for the Northern District of Texas; (ii) counsel to

Prepetition Secured Parties and the DIP Secured Parties; (iii) counsel to the official committee of

unsecured creditors; (iv) the United States Attorney’s Office for the Northern District of Texas;

(v) the Internal Revenue Service; (vi) the state attorneys general for states in which the Debtors

conduct business; (vii) all known holders of Liens, Claims, Interests, and Encumbrances secured

by the Transferred Assets; (viii) each landlord of the Debtors’ warehouses and/or other premises;

(ix) each governmental agency that is an interested party with respect to the Sale and the other

transactions contemplated in the Purchase Agreement; (x) all other applicable government

agencies to the extent required by the Bankruptcy Rules or the Bankruptcy Local Rules, and (xi) all

parties that have requested or that are required to receive notice pursuant to Bankruptcy Rule 2002.

        K.       Good Faith Buyer; Arm’s Length Sales. The Purchase Agreement was negotiated,

proposed, and entered into by the applicable Debtors and the Buyer without collusion, in good

faith, and from arm’s length bargaining positions. Neither the Debtors, the Buyer, nor any of their

respective affiliates have engaged in any conduct that would cause or permit the Purchase

Agreement or the Sale of the Transferred Assets (or the other transactions contemplated in the



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Purchase Agreement) to be avoided, or costs or damages to be imposed, under section 363(n) of

the Bankruptcy Code or other applicable law.

           L.    The Buyer is a good faith Buyer under section 363(m) of the Bankruptcy Code and,

as such, is entitled to all of the protections afforded thereby. In particular, (i) the Buyer recognizes

that the Debtors were free to deal with any other party interested in purchasing the Transferred

Assets; (ii) the Buyer did not in any way induce or cause the filing of the Chapter 11 Cases by the

Debtors; (iii) the Buyer did not violate section 363(n) of the Bankruptcy Code by any action or

inaction; (iv) no common identity of directors, officers, or controlling stakeholders exists between

the Buyer and any of the Debtors; and (v) the Buyer did not act in a collusive manner with any

person and the Purchase Price was not controlled by any undisclosed agreement among third

parties.

           M.    Free and Clear Transfer Required by the Buyer. The Buyer would not have entered

into the Purchase Agreement, and would not have consummated the Sale contemplated thereby,

thus adversely affecting the Debtors, their Estates, and their creditors, if each of the Sale (and the

other transactions contemplated by the Purchase Agreement) and the assumption and assignment

of the Transferred Contracts to the Buyer thereof, including the assignment of any applicable

Transferred Contracts that were entered into after the Petition Date, were not free and clear of all

Liens, Claims, Interests, and Encumbrances of any kind or nature whatsoever (with the sole

exception of any Permitted Encumbrances and Assumed Liabilities) as more fully set forth in

Paragraph V.7 of this Sale Order, or if the Buyer would, or in the future could, be liable for any

encumbrances, obligations, or liabilities other than the Permitted Encumbrances and Assumed

Liabilities. Except as otherwise expressly provided in the Plan, the Confirmation Order, or this




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Sale Order, the Buyer shall not have any responsibility whatsoever with respect to the Excluded

Liabilities, which shall remain the sole responsibility of the Debtors before, on, and after Closing.

        N.       As of the Closing, pursuant and subject to the applicable terms of the Purchase

Agreement, the Sale will effect a legal, valid, enforceable, and effective transfer of the Transferred

Assets under the Purchase Agreement and will vest the Buyer with all of the applicable Debtors’

respective rights, title, and interests in such Transferred Assets free and clear of all Liens, Claims,

Interests, and Encumbrances of any kind or nature whatsoever (with the sole exception of any

Permitted Encumbrances and Assumed Liabilities), including, without limitation, (i) liens,

mortgages, deeds of trust, pledges, charges, security interests, rights of first refusal, options,

hypothecations, encumbrances, easements, servitudes, leases or subleases, rights-of-way,

encroachments, restrictive covenants, restrictions on transferability or other similar restrictions,

rights of offset or recoupment, rights of use or possession, subleases, leases, conditional sale

arrangements, or other title retention arrangements, other liens (including mechanic’s,

materialman’s, possessory, and other consensual and non-consensual liens and statutory liens),

judgments, charges of any kind or nature, if any, including any restriction on the use, voting,

transfer, receipt of income, or other exercise of any attributes of ownership, or any rights that

purport to give any party a right of first refusal, option, or consent with respect to the Debtors’

interests in the Transferred Assets or any similar rights; (ii) all claims as defined in Bankruptcy

Code section 101(5), including all rights or causes of action (whether in law or in equity),

proceedings, warranties, guarantees, indemnities, rights of recovery, setoff, recoupment,

indemnity or contribution, obligations, demands, restrictions, indemnification claims or liabilities

relating to any act or omission of the Debtors or any other person, consent rights, options, contract

rights, covenants, claims for reimbursement, exoneration, products liability, alter-ego,



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environmental, or tax, decrees of any court or foreign or domestic governmental entity, indentures,

loan agreements, and interests of any kind or nature whatsoever (known or unknown, matured or

unmatured, accrued or contingent, and regardless of whether currently exercisable), whether

arising prior to or subsequent to the commencement of these Chapter 11 Cases, and whether

imposed by agreement, understanding, law, equity or otherwise; (iii) all debts, liabilities,

obligations, contractual rights and claims, labor, employment, tort, products liability, and pension

claims, and debts arising in any way in connection with any agreements, acts, or failures to act, in

each case, whether known or unknown, choate or inchoate, filed or unfiled, scheduled or

unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or unperfected, allowed or

disallowed, contingent or non-contingent, liquidated or unliquidated, matured or un-matured,

material or non-material, disputed or undisputed, whether arising prior to or subsequent to the

commencement of these Chapter 11 Cases and whether imposed by agreement, understanding,

law, equity or otherwise; (iv) any rights based on any products, successor or transferee liability,

(v) any rights that purport to give any party a right or option to effect any forfeiture, modification,

right of first offer or first refusal, or consents, or termination of the Debtors’ or the Buyer’s interest

in the Transferred Assets or any similar rights; (vi) any rights under labor or employment

agreements; (vii) any rights under mortgages, deeds of trust, and security interests; (viii) any rights

related to intercompany loans and receivables between the Debtors that are party to the Purchase

Agreement and any Debtor or non-Debtor subsidiary or affiliate; (ix) any rights under any pension,

multiemployer plan (as such term is defined in Section 3(37) or Section 4001(a)(3) of the

Employee Retirement Income Security Act of 1974 (as amended, “ERISA”)), health or welfare,

compensation, or other employee benefit plans, agreements, practices, and programs, including,

without limitation, any pension plans of the Debtors or any multiemployer plan to which the



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Debtors have at any time contributed to or had any liability or potential liability; (x) any other

employee claims related to worker’s compensation, occupational disease or unemployment, or

temporary disability, including, without limitation, claims that might otherwise arise under or

pursuant to (a) ERISA, (b) the Fair Labor Standards Act, (c) Title VII of the Civil Rights Act of

1964, (d) the Federal Rehabilitation Act of 1973, (e) the National Labor Relations Act, (f) the Age

Discrimination and Employment Act of 1967 and Age Discrimination in Employment Act, as

amended, (g) the Americans with Disabilities Act of 1990, (h) the Consolidated Omnibus Budget

Reconciliation Act of 1985, as amended, including, without limitation, the requirements of Part 6

of Subtitle B of Title I of ERISA and Section 4980B of the Internal Revenue Code and of any

similar state law (collectively, “COBRA”), (i) state discrimination laws, (j) state unemployment

compensation laws or any other similar state laws, (k) any other state or federal benefits or claims

relating to any employment with the Debtors or any of their predecessors; (l) the WARN Act (29

U.S.C. §§ 2101 et seq.) (the “WARN Act”) and any state law equivalents; (xi) any bulk sales or

similar law; (xii) any tax statutes or ordinances, including, without limitation, the Internal Revenue

Code of 1986, as amended, and any taxes arising under or out of, in connection with, or in any

way relating to the operation of the Transferred Assets prior to the Closing, including, without

limitation, any ad valorem taxes assessed by any applicable taxing authority; (xiii) any unexpired

lease or executory contract to which a Debtor is a party that is not a Transferred Contract that will

be assumed and assigned pursuant to this Sale Order and the Purchase Agreement; and (xiv) any

other Excluded Liabilities as provided in the Purchase Agreement. Notwithstanding the foregoing,

the Transferred Assets shall not include the Avoidance Actions against any parties identified on

Schedule 1 to the Global Settlement Term Sheet until the passage of one Business Day after the

expiration of the GUC Settlement Opt-In Election Deadline. In the event that a Holder of General



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Unsecured Claims that is listed on Schedule 1 to the Global Settlement Term Sheet makes a GUC

Settlement Opt-In Election prior to the expiration of the GUC Settlement Opt-In Election

Deadline, any potential Avoidance Action against such Holder will not be conveyed to the

Purchaser and instead will become GUC Trust Assets.

        O.       Satisfaction of Section 363(f). The Debtors may sell the Transferred Assets free

and clear of any and all Liens, Claims, Interests, and Encumbrances of any kind or nature

whatsoever, including any rights or claims based on any putative successor or transferee liability,

as set forth herein, because, in each case, one or more of the standards set forth in sections

363(f)(1)–(5) of the Bankruptcy Code has or have been satisfied. All parties in interest, including,

without limitation, any holders of Liens, Claims, Interests, and Encumbrances and any contract

counterparty to the Transferred Contracts who did not object or who withdrew their objection to

the Sale, the assumption and assignment, or the assignment of the applicable Transferred Contract,

or the associated Cure Claims, are deemed to have consented to the relief granted herein pursuant

to section 363(f)(2) and 1141 of the Bankruptcy Code. Those (i) holders of Liens, Claims,

Interests, or Encumbrances and (ii) non-Debtor parties to Transferred Contracts that did not object

are adequately protected by having their Liens, Claims, Interests, or Encumbrances, if any, attach

to the portion of the purchase price ultimately attributable to the Transferred Assets against or in

which they claim an interest, in the order of their priority, with the same validity, force, and effect,

if any, which they now have against such Transferred Assets, subject to any claims and defenses

the Debtors or their Estates may possess with respect thereto.

        P.       No Successorship. Neither the Buyer nor any of its respective affiliates are

successors to the Debtors or their Estates by reason of any theory of law or equity, and neither the

Buyer nor any of its respective affiliates shall assume or in any way be responsible for any liability



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or obligation of any of the Debtors and/or their Estates, except as otherwise expressly provided in

the Purchase Agreement, the Plan, the Confirmation Order, and this Sale Order. The Buyer: (i) has

not, de facto or otherwise, merged with or into one or more of the Debtors, (ii) is not a continuation

or substantial continuation, and is not holding itself out as a mere continuation, of any of the

Debtors or of their respective Estates, businesses, or operations or any enterprise of the Debtors,

and (iii) does not have a common identity of incorporators, directors, or equity holders with any

of the Debtors.

        Q.        The Transferred Contracts. The Debtors have demonstrated that (i) it is an exercise

of their sound business judgment to assume and assign the Transferred Contracts, including the

assignment of any applicable Transferred Contracts that were entered into after the Petition Date,

to the Buyer in each case in connection with the consummation of the Sale and (ii) the assumption

and assignment of the Transferred Contracts, including the assignment of any applicable

Transferred Contracts that were entered into after the Petition Date, to the Buyer is in the best

interests of the Debtors, their Estates, their creditors, and all other parties in interest. The

Transferred Contracts being assumed and assigned or assigned to the Buyer are an integral part of

the Transferred Assets being purchased by the Buyer, and, accordingly, such assumption,

assignment, and cure of any defaults, as applicable, under the Transferred Contracts are reasonable

and enhance the value of the Debtors’ Estates. Any contract counterparty to a Transferred Contract

that has not actually filed with the Court an objection to such assumption and assignment or

assignment in accordance with the terms of the Order (I) Approving Certain Bidder Protections,

(II) Approving Contract Assumption and Assignment Procedures, and (III) Granting Related

Relief entered substantially contemporaneously herewith (the “Bidder Protections Order”) is

deemed to have consented to such assumption and assignment and the monetary amounts required



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to cure any existing defaults arising under such Transferred Contracts pursuant to section 365(b)(1)

of the Bankruptcy Code as identified on a Contract Notice (as defined in the Bidder Protections

Order) or the Schedule of Assumed Executory Contracts and Unexpired Leases filed with the

Court as part of the Plan Supplement (as defined in the Plan) (such amounts, the “Identified Cure

Amounts”).

        R.       Cure Claims and Adequate Assurance. The Debtors and the Buyer have, including

by way of entering into the Purchase Agreement and agreeing to the provisions relating to the

Transferred Contracts therein, (i) cured, or provided adequate assurance of cure, of any default

existing prior to the date hereof under any of the applicable Transferred Contracts within the

meaning of section 365(b)(1)(A) of the Bankruptcy Code and (ii) provided compensation or

adequate assurance of compensation to any party for any actual pecuniary loss to such party

resulting from a default prior to the date hereof under any of the Transferred Contracts within the

meaning of section 365(b)(1)(B) of the Bankruptcy Code, and the Buyer has, based upon the record

of these proceedings, including the evidence proffered by the Debtors at the Combined Hearing,

provided adequate assurance of its future performance of and under the Transferred Contracts

pursuant to sections 365(b)(1) and 365(f)(2) of the Bankruptcy Code. The Buyer’s promise under

the Purchase Agreement to perform the obligations under the Transferred Contracts after the

Closing shall constitute adequate assurance of future performance under the Transferred Contracts

being assigned to the Buyer within the meaning of sections 365(b)(1)(C) and 365(f)(2)(B) of the

Bankruptcy Code. The Identified Cure Amounts are hereby deemed to be the sole amounts

necessary to cure any and all defaults under the applicable Transferred Contracts under section

365(b) of the Bankruptcy Code.




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        S.       Final Order. This Sale Order constitutes a “final” order within the meaning of

28 U.S.C. § 158(a).

        T.       Time Is of the Essence; Waiver of Stay. Time is of the essence in consummating

the Sale. In order to maximize the value of the Transferred Assets, it is essential that the Sale and

the assignment of the Transferred Assets occur within the time constraints set forth in the Purchase

Agreement, and there is no just reason for delay in the implementation of this Sale Order.

Accordingly, there is cause to waive the stays contemplated by Bankruptcy Rules 6004(h) and

6006(d) and, to the extent applicable, Bankruptcy Rule 3020(e).

        U.       Confirmation of the Plan. The Sale of the Transferred Assets is authorized in

connection with confirmation of the Plan and is thus entitled to the full benefits and protections

provided under section 1146 of the Bankruptcy Code.

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

I.      The Sale is Approved.

        1.       The Sale of the Transferred Assets contemplated by the Purchase Agreement is

hereby approved, as set forth herein.

II.     Approval of the Purchase Agreement.

        2.       The Purchase Agreement, the Sale Transaction Documents, and all other ancillary

documents and all of the terms and conditions thereof are hereby approved. Pursuant to sections

105, 363, 365, and 1123 of the Bankruptcy Code, the Debtors are authorized and directed to take

any and all actions necessary to fulfill their obligations under, and comply with the terms of, the

Purchase Agreement and to consummate the Sale pursuant to and in accordance with the terms and

conditions of the Purchase Agreement, the Plan, the Confirmation Order, and this Sale Order

without further leave of the Court.



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        3.       The Debtors are authorized to execute and deliver, and are empowered to perform

under, consummate, and implement, the Purchase Agreement, together with all additional

instruments, documents, and other agreements that may be reasonably necessary or desirable to

implement the Purchase Agreement, and to take all further actions as may be reasonably requested

by the Buyer for the purpose of assigning, transferring, granting, conveying, and conferring to the

Buyer or reducing to possession, the Transferred Assets, or as may be reasonably necessary or

appropriate to the performance of the obligations as contemplated by the Purchase Agreement.

III.    Binding Effect of Order.

        4.       This Sale Order, the Plan, the Confirmation Order, and the Purchase Agreement

shall each be binding upon all creditors of, and equity holders in, the Debtors and any and all other

parties in interest, including, without limitation, any and all holders of Liens, Claims, Interests,

and Encumbrances (including holders of any rights or claims based on any putative products,

successor, or transferee liability) of any kind or nature whatsoever, all contract counterparties to

the Transferred Contracts, the Buyer, all successors and assigns of the Buyer, the Debtors, and their

respective affiliates and subsidiaries, and any trustee or successor trustee appointed in these

Chapter 11 Cases or upon a conversion to chapter 7 under the Bankruptcy Code.

IV.     Amendments to the Purchase Agreement.

        5.       Subject to the terms and conditions of the Purchase Agreement, the Debtors and the

Buyer, as the context makes applicable, may amend, modify, supplement, or waive any provision

of the Purchase Agreement (an “Amendment”) without further approval or order of the Court, so

long as (a) such Amendment is not material and is undertaken in good faith by the Buyer and the

Debtors; (b) the Debtors provide prior written notice of the Amendment (the “Amendment

Notice”) to the U.S. Trustee, counsel to the Prepetition Secured Parties and DIP Secured Parties,

and, counsel to the official committee of unsecured creditors (collectively, the “Notice Parties”),

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and (c) the Debtors file the Amendment Notice with the Court; provided, however, that neither

consent of the Notice Parties nor approval of the Court will be necessary to effectuate any such

Amendment. Any material Amendment must be approved by the Court to be effective.

        6.       Section 2.1(k)(i) of the Purchase Agreement is hereby amended as follows:

        “(i) any of Seller’s vendors, suppliers, customers or trade creditors with whom Buyer

        continues to conduct business in regard to the Transferred Assets after the Closing that is

        listed on Schedule 1 of the Global Settlement Term Sheet (as defined in the Plan) (the

        “Go-Forward Vendors Schedule”); provided that to the extent any vendor, supplier,

        customer or trade creditor not previously identified on the Sellers’ bankruptcy schedules is

        identified after entry of the U.S. Sale Order, the Buyer shall have 30 days to add such party

        to the Go-Forward Vendors Schedule, and such party shall be deemed to have been a

        Designated Party hereunder as of the Closing.”

V.      Transfer of the Transferred Assets Free and Clear.

        7.       The Buyer shall assume and be liable for the Assumed Liabilities expressly

assumed pursuant to the Purchase Agreement, this Sale Order, and the Confirmation Order, and,

for the avoidance of doubt, shall not assume or be liable for any Excluded Liabilities. Except as

expressly permitted or otherwise specifically provided for in the Purchase Agreement or this Sale

Order, pursuant to sections 105(a), 363(b), 363(f), 365(b), 365(f), 1123, 1141, and 1146 of the

Bankruptcy Code, upon the Closing, the Transferred Assets shall be transferred to the Buyer free

and clear of any and all Liens, Claims, Interests, and Encumbrances (as defined in the Purchase

Agreement) of any kind or nature whatsoever with the sole exception of any Permitted

Encumbrances and Assumed Liabilities. For purposes of this Sale Order, “Liens,” “Claims,” and

“Interests,” as used herein, shall have the respective meanings set forth below:



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            a. any and all charges, liens (statutory or otherwise), claims, mortgages, leases,
               subleases, hypothecations, deeds of trust, pledges, security interests, options, rights
               of use or possession, rights of first offer or first refusal (or any other type of
               preferential arrangement), options, rights of consent, rights of setoff, successor and
               products liability, easements, servitudes, restrictive covenants, interests or rights
               under any operating agreement, encroachments, encumbrances, third-party
               interests, or any other restrictions or limitations of any kind with respect to the
               Transferred Assets including all the restrictions or limitations set forth in this
               Paragraph 6 (collectively, “Liens”);

            b. any and all claims as defined in section 101(5) of the Bankruptcy Code and
               jurisprudence interpreting the Bankruptcy Code, including, without limitation,
               (i) any and all claims or causes of action based on or arising under any labor,
               employment, or pension laws, (ii) any and all claims or causes of action based upon
               or relating to any putative successor or transferee liability, and (iii) any and all other
               claims, causes of action, rights, remedies, obligations, liabilities, counterclaims,
               cross-claims, third party claims, demands, restrictions, responsibilities, or
               contribution, reimbursement, subrogation, or indemnification claims or liabilities
               based on or relating to any act or omission of any kind or nature whatsoever asserted
               against any of the Debtors or any of their respective affiliates, subsidiaries,
               directors, officers, agents, successors, or assigns in connection with or relating to
               the Debtors, their operations, their business, their liabilities, the marketing and
               bidding process with respect to the Transferred Assets, the Transferred Contracts,
               or the transactions contemplated by the Purchase Agreement, including all the
               claims set forth in this Paragraph 6 (collectively, “Claims”); and

            c. any and all equity or other interests of any kind or nature whatsoever in or with
               respect to (i) any of the Debtors or their respective affiliates, subsidiaries,
               successors, or assigns, (ii) the Transferred Assets, or (iii) the Transferred Contracts,
               including all the interests set forth in this Paragraph 6 (collectively, “Interests”);

in each case, whether in law or in equity, known or unknown, choate or inchoate, filed or unfiled,

scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or unperfected,

allowed or disallowed, contingent or non-contingent, liquidated or unliquidated, matured or

unmatured, material or non-material, disputed or undisputed, direct or indirect, and whether arising

by agreement, understanding, law, equity, or otherwise, and whether occurring or arising before,

on, or after the Petition Date or occurring or arising prior to the Closing. Any and all such Liens,

Claims, Interests, and Encumbrances shall attach to the portion of the purchase price ultimately

attributable to the Transferred Assets against or in which they claim an interest, in the order of


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their priority, with the same validity, force, and effect, if any, which they now have against such

Transferred Assets, subject to any claims, defenses, and objections, if any, that the Debtors or their

Estates may possess with respect thereto. At Closing, the Buyer shall take title to and possession

of the Transferred Assets subject only to any Permitted Encumbrances and Assumed Liabilities;

provided, however, that the Transferred Assets shall not include the Avoidance Actions against

any parties identified on Schedule 1 to the Global Settlement Term Sheet until the passage of one

Business Day after the expiration of the GUC Settlement Opt-In Election Deadline. In the event

that a Holder of General Unsecured Claims that is listed on Schedule 1 to the Global Settlement

Term Sheet makes a GUC Settlement Opt-In Election prior to the expiration of the GUC

Settlement Opt-In Election Deadline, any potential Avoidance Action against such Holder will not

be conveyed to the Purchaser and instead will become GUC Trust Assets.

VI.     Vesting of Transferred Assets in the Buyer.

        8.       The transfer of the Transferred Assets to the Buyer pursuant to the Purchase

Agreement shall constitute a legal, valid, and effective transfer of the Transferred Assets on the

Closing, and, subject to the proviso in decretal paragraph 7 above, shall vest the Buyer with all of

the Debtors’ rights, title, and interests in the Transferred Assets free and clear of all Liens, Claims,

Interests, and Encumbrances of any kind or nature whatsoever (with the sole exception of any

Permitted Encumbrances and Assumed Liabilities).

VII.    Release of Liens.

        9.       The Debtors are authorized and directed to execute such documents as may be

necessary to release any Liens, Claims, Interests, and Encumbrances (with the sole exception of

any Permitted Encumbrances and Assumed Liabilities) of any kind against the Transferred Assets

as such Liens, Claims, Interests, and Encumbrances (other than Permitted Encumbrances and

Assumed Liabilities) may have been recorded or may otherwise exist. If any person or entity that

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has filed financing statements, lis pendens, or other documents or agreements evidencing Liens,

Claims, Interests, and Encumbrances (other than Permitted Encumbrances and Assumed

Liabilities) against or in the Transferred Assets shall not have delivered to the Debtors prior to the

Closing Date of the Sale, in proper form for filing and executed by the appropriate parties,

termination statements, instruments of satisfaction, releases of all Liens, Claims, Interests, and

Encumbrances (other than Permitted Encumbrances and Assumed Liabilities) that the person or

entity has with respect to the Transferred Assets, (a) the Debtors are hereby authorized to execute

and file such statements, instruments, releases, and other documents on behalf of the person or

entity with respect to the Transferred Assets; (b) the Buyer is hereby authorized to file, register, or

otherwise record a certified copy of this Order, which, once filed, registered, or otherwise recorded,

shall constitute conclusive evidence of the release of all such Liens, Claims, Interests, and

Encumbrances (other than Permitted Encumbrances and Assumed Liabilities) against the Buyer

and the applicable Transferred Assets; (c) the Debtors’ creditors and the holders of any Liens,

Claims, Interests, and Encumbrances (other than Permitted Encumbrances and Assumed

Liabilities) are authorized and directed to execute such documents and take all other actions as

may be necessary to terminate, discharge, or release their Liens, Claims, Interests, and

Encumbrances (other than Permitted Encumbrances and Assumed Liabilities) in the Transferred

Assets; and (d) the Buyer may seek in this Court or any other court of competent jurisdiction to

compel appropriate parties to execute termination statements, instruments of satisfaction, and

releases of all such Liens, Claims, Interests, and Encumbrances (other than Permitted

Encumbrances and Assumed Liabilities) with respect to the Transferred Assets. This Sale Order

is deemed to be in recordable form sufficient to be placed in the filing or recording system of each

and every federal, state, or local government agency, department, or office, and such agencies,



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departments, and offices are authorized to accept this Sale Order for filing or recording.

Notwithstanding the foregoing, the provisions of this Sale Order authorizing the sale and

assignment of the Transferred Assets free and clear of Liens, Claims, Interests, and Encumbrances

(other than Permitted Encumbrances and Assumed Liabilities) shall be self-executing, and none of

the Debtors or the Buyer shall be required to execute or file releases, termination statements,

assignments, consents, or other instruments in order to effectuate, consummate, and implement the

provisions of this Sale Order.

VIII. Assumption and Assignment of Transferred Contracts.

        10.      Pursuant to sections 105(a) and 365 of the Bankruptcy Code, and subject to and

conditioned upon the Closing, the Debtors’ assumption and assignment to the Buyer of the

Transferred Contracts is hereby approved, and the requirements of section 365(b)(1) of the

Bankruptcy Code with respect thereto are hereby deemed satisfied. Pursuant to the Purchase

Agreement, the Debtors’ assignment of any Transferred Contracts that were entered into after the

Petition Date is hereby approved.

        11.      The Debtors are hereby authorized, in accordance with the Purchase Agreement,

and in accordance with sections 105(a) and 365 of the Bankruptcy Code, to (i) assume and assign

to the Buyer the Transferred Contracts, effective upon and subject to the occurrence of the Closing,

free and clear of all Liens, Claims, Interests, and Encumbrances of any kind or nature whatsoever

(with the sole exception of any Permitted Encumbrances and Assumed Liabilities), which

Transferred Contracts, by operation of this Sale Order, shall be deemed assumed and assigned to

the Buyer effective as of the Closing, (ii) assignment to the Buyer any applicable Transferred

Contracts that were entered into after the Petition Date pursuant to the Purchase Agreement, and

(iii) execute and deliver to the Buyer such documents or other instruments as the Buyer may deem

necessary to assign and transfer the Transferred Contracts to the Buyer.

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        12.      Subject to Paragraph 12 hereof:

              a. The Debtors are authorized to and may assume all of the Transferred Contracts in
                 accordance with section 365 of the Bankruptcy Code.

              b. The Debtors are authorized to and may assign each Transferred Contract to the
                 Buyer in accordance with sections 363 and 365 of the Bankruptcy Code, and any
                 provisions in any Transferred Contract that prohibit or condition the assignment of
                 such Transferred Contract on the consent of the counterparty thereto or allow the
                 non-Debtor party to such Transferred Contract to terminate, recapture, impose any
                 fee or penalty, condition, renewal, or extension limitations, or modify any term or
                 condition upon the assignment of such Transferred Contract shall constitute
                 unenforceable anti-assignment provisions which are expressly preempted under
                 section 365 of the Bankruptcy Code and void and of no force and effect.

              c. All requirements and conditions under sections 363 and 365 of the Bankruptcy
                 Code for the assumption and assignment of the Transferred Contracts by the
                 Debtors to the Buyer have been satisfied.

              d. Upon the Closing, the Transferred Contracts shall be transferred and assigned to,
                 and remain in full force and effect for the benefit of, the Buyer in accordance with
                 their respective terms, notwithstanding any provision in any such Transferred
                 Contract (including those of the type described in sections 365(b)(2), 365(e)(1), and
                 365(f) of the Bankruptcy Code) that prohibits, restricts, limits, or conditions such
                 assignment or transfer.

        13.      All defaults of the Debtors under the Transferred Contracts occurring or arising

prior to the assignment thereof to the Buyer at Closing (without giving effect to any acceleration

clauses or any default provisions of the kind specified in section 365(b)(2) of the Bankruptcy Code)

shall be deemed cured or satisfied by the payment of the Identified Cure Amount, if any, to cure

all monetary defaults, if any, under each Transferred Contract in the amounts set forth on the

schedule of Identified Cure Amounts attached to the Schedule of Assumed Executory Contracts

and Unexpired Leases or any supplement thereto (or any other cure cost reached by agreement

after an objection to the proposed cure cost by a counterparty to a Transferred Contract), which

was served in compliance with the Bidder Protections Order, and as set forth on the Schedule of

Assumed Executory Contracts and Unexpired Leases, and which Identified Cure Amounts were

satisfied, or shall be satisfied as soon as practicable, by the Buyer as provided in the Purchase

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Agreement. For all Transferred Contracts set forth on the Schedule of Assumed Executory

Contracts and Unexpired Leases, the Buyer is authorized and directed to pay all Identified Cure

Amounts required to be paid in accordance with the Purchase Agreement upon the later of (a) the

Closing, (b) for any Transferred Contracts for which an objection has been filed to the assumption

and assignment of such agreement or the Identified Cure Amounts relating thereto and such

objection remains pending as of the date of this Sale Order, the resolution of such objection by

settlement or order of this Court, and (c) the Effective Date of the Plan for any Transferred Contract

designated by the Buyer after the Closing.

        14.      Pursuant to section 365(k) of the Bankruptcy Code, the Debtors and their Estates

shall be relieved from any liability for any breach of or obligations under any Transferred Contract

following the effective date of such assumption and assignment to the Buyer.

IX.     Release of Liens by Creditors; Collection of Transferred Assets.

        15.      Except as expressly provided to the contrary in this Sale Order or the Purchase

Agreement, as applicable, the holder of any valid Lien, Claim, Interest, or Encumbrance in the

Transferred Assets, shall, as of the Closing, be deemed to have waived and released such Lien,

Claim, Interest, or Encumbrance, without regard to whether such holder has executed or filed any

applicable release, and such Lien, Claim, Interest, or Encumbrance shall automatically, and with

no further action by any party, attach to the portion of the purchase price ultimately attributable to

the Transferred Assets against or in which they claim an interest, in the order of their priority, with

the same validity, force, and effect, if any, which they now have against such Transferred Assets,

subject to any claims, defenses, and objections, if any, that the Debtors or their Estates may possess

with respect thereto. Notwithstanding the foregoing, any such holder of such a Lien, Claim,

Interest, or Encumbrance is authorized and directed to execute and deliver any waivers, releases,

or other related documentation, as reasonably requested by the Buyer or the Debtors.

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        16.      All persons and entities that are in possession of some or all of the Transferred

Assets as of the Closing are directed to surrender possession of such Transferred Assets to the

Buyer in accordance with the Purchase Agreement as of the Closing or at such time thereafter as

the Buyer may request. As of the Closing, the Buyer and its respective successors and assigns

shall be designated and appointed as the Debtors’ true and lawful attorney with full power of

substitution in the Debtors’ name and stead on behalf of and for the benefit of the Buyer and its

respective successors and assigns, for the following sole and limited purposes: to have the power

to demand and receive any and all of the Transferred Assets and to give receipts and releases for

and in respect of the Transferred Assets, or any part thereof, and from time to time to institute and

prosecute against third parties for the benefit of the Buyer and its respective successors and assigns,

as their interests may appear, proceedings at law, in equity, or otherwise, which the Buyer and its

respective successors and assigns, as their interests may appear, may deem proper for the collection

or reduction to possession of any of the Transferred Assets.

X.      Effect of Recordation of Order.

        17.      The entry of this Sale Order (a) shall be effective as a conclusive determination

that, upon the Closing, all Liens, Claims, Interests, and Encumbrances of any kind or nature

whatsoever (with the sole exception of any Permitted Encumbrances and Assumed Liabilities)

existing as to the Transferred Assets prior to the Closing have been unconditionally released,

discharged, and terminated and that the conveyances described herein have been effected, and

(b) shall be binding upon and shall govern the acts of all persons and entities including, without

limitation, all filing agents, filing officers, title agents, title companies, recorders of mortgages,

recorders of deeds, registrars of deeds, administrative agencies, governmental departments,

secretaries of state, federal, state, and local officials, notaries, protonotaries, and all other persons

and entities who may be required by operation of law, the duties of their office, or contract, to

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accept, file, register, or otherwise record or release any documents or instruments, or who may be

required to report or insure any title or state of title in or to, the Transferred Assets. Each and

every federal, state, local, or foreign government or governmental or regulatory authority, agency,

board, bureau, commission, court, department, or other governmental entity is hereby authorized

to accept any and all documents and instruments necessary and appropriate to consummate the

transactions contemplated by the Purchase Agreement, including, without limitation, recordation

of this Sale Order.

XI.     Section 1146 Exemption.

        18.      To the fullest extent permitted by section 1146(a) of the Bankruptcy Code and

applicable law, any transfers (whether from a Debtor to the Wind Down Estate or to any other

Person or Entity) of property under the Plan or this Sale Order pursuant to: (1) the Sale, including

the sale and transfer by the Debtors of the Transferred Assets; (2) the sale and liquidation of the

Excluded Assets (as defined in the Plan); (3) the issuance, distribution, transfer, or exchange of

any debt or equity Security, or other interest in the Debtors; (4) the creation, modification,

consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other

security interest, or the securing of additional indebtedness by such or other means; (5) the making,

assignment, or recording of any lease or sublease; or (6) the making, delivery, or recording of any

deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,

including any deeds, bills of sale, assignments, or other instrument of transfer executed in

connection with any transaction arising out of, contemplated by, or in any way related to the Plan,

shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or

similar tax, mortgage tax, real estate transfer tax, personal property transfer tax, sales or use tax,

mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or

recording fee, or other similar tax or governmental assessment, and upon entry of the Confirmation

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Order, the appropriate state or local governmental officials or agents shall forego the collection of

any such tax or governmental assessment and accept for filing and recordation any of the foregoing

instruments or other documents without the payment of any such tax, recordation fee, or

governmental assessment. All filing or recording officers (or any other Person with authority over

any of the foregoing), wherever located and by whomever appointed, shall comply with the

requirements of section 1146 of the Bankruptcy Code, shall forego the collection of any such tax

or governmental assessment, and shall accept for filing and recording any of the foregoing

instruments or other documents without the payment of any such tax or governmental assessment.

XII.    Prohibition of Actions Against the Buyer.

        19.      Except for any Permitted Encumbrances and Assumed Liabilities or as expressly

permitted or otherwise specifically provided for in the Purchase Agreement, the Plan, the

Confirmation Order, or this Sale Order, neither the Buyer, nor any of its respective affiliates shall

have any liability or responsibility for any liability or other obligation of the Debtors arising under

or related to the Transferred Assets or otherwise, and upon Closing all entities or persons are

permanently and forever prohibited, barred, estopped, and enjoined from asserting against the

Buyer and its permitted successors, designees, and assigns, or property, or the Transferred Assets

conveyed in accordance with the Purchase Agreement, any Lien, Claim, Interest, or Encumbrance

of any kind whatsoever arising prior to Closing including, without limitation, under any theory of

successor or transferee liability, de facto merger or continuity liability, whether known or unknown

as of the Closing, now existing or hereafter arising, asserted or unasserted, fixed or contingent,

liquidated or unliquidated. Without limiting the generality of the foregoing, and except as

otherwise specifically provided in the Purchase Agreement, the Plan, the Confirmation Order, or

this Sale Order, the Buyer and its respective affiliates shall not be liable for any claims against the

Debtors or any of their predecessors or affiliates, and neither the Buyer nor its affiliates shall have

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any successor or vicarious liabilities of any kind or character, including but not limited to any

liability pertaining to any theory of antitrust, warranty, products liability, environmental,

successor, or transferee liability, labor law, ERISA, de facto merger, mere continuation, or

substantial continuity, whether known or unknown as of the Closing, now existing or hereafter

arising, whether fixed or contingent, liquidated or unliquidated, with respect to the Debtors or any

obligations of the Debtors, including, but not limited to, liabilities on account of any taxes arising,

accruing, or payable under, out of, in connection with, or in any way relating to the operation of

the Debtors’ business prior to the Closing or any claims under the WARN Act or any state law

equivalents, or any claims related to wages, benefits, severance, or vacation pay owed to

employees or former employees of the Debtors.

         20.     The Buyer may elect, as of the Closing or any time thereafter, to operate under any

license, permit, registration, and governmental authorization or approval of the Debtors with

respect to the Transferred Assets, except to the extent not permitted by applicable law.

XIII. Distribution of Proceeds.

         21.     All proceeds of the Sale shall be distributed in accordance with the Plan.

XIV. No Interference.

         22.     Following the Closing, no holder of a Lien, Claim, Interest, or Encumbrance in or

against the Debtors or the Transferred Assets shall interfere with the Buyer’s title to or use and

enjoyment of the Transferred Assets based on or related to such Lien, Claim, Interest, or

Encumbrance or any actions that the Debtors may take in these Chapter 11 Cases or any successor

cases.

XV.      Retention of Jurisdiction.

         23.     This Court retains jurisdiction to, among other things, interpret, enforce and

implement the terms and provisions of this Sale Order, the Confirmation Order, the Plan, and the

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Purchase Agreement, all amendments thereto, any waivers and consents thereunder, and each of

the agreements executed in connection therewith in all respects, including, but not limited to,

retaining jurisdiction to: (a) compel delivery of the Transferred Assets or performance of other

obligations owed to the Buyer; (b) compel delivery of the purchase price or performance of other

obligations owed to the Debtors; (c) resolve any disputes arising under or related to the Purchase

Agreement, except as otherwise provided therein; (d) interpret, implement, and enforce the

provisions of this Sale Order; and (e) protect the Buyer and its affiliates against (i) any Liens,

Claims, Interests, and Encumbrances in or against the Debtors or the Transferred Assets of any

kind or nature whatsoever and (ii) any creditors or other parties in interest regarding the turnover

of the Transferred Assets that may be in their possession.

XVI. Final Order; No Stay of Order.

        24.      This Sale Order constitutes a “final” order within the meaning of 28 U.S.C.

§ 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to the extent applicable

3020(e), this Sale Order shall be effective and enforceable immediately upon entry and its

provisions shall be self-executing. In the absence of any person or entity obtaining a stay pending

appeal, the Debtors and the Buyer are free to close the Sale under the Purchase Agreement at any

time pursuant to the terms thereof.

XVII. Good Faith.

        25.      The transactions contemplated by the Purchase Agreement are undertaken by the

Buyer in good faith, as that term is used in section 363(m) of the Bankruptcy Code, and

accordingly, the reversal or modification on appeal of the authorization provided herein to

consummate the subject transactions shall not affect the validity of the sales to the Buyer (including

the assumption and assignment or assignment by the Debtors of any of the Transferred Contracts),



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unless such authorization is duly stayed pending such appeal. The Buyer is a good faith Buyer and

is entitled to all of the protections afforded by section 363(m) of the Bankruptcy Code.

XVIII. No Collusion.

        26.      The transactions contemplated by the Purchase Agreement were negotiated,

proposed, and entered into by the Debtors and the Buyer without collusion, in good faith, and from

arm’s length bargaining positions. Neither the Debtors, the Buyer, nor any of their respective

affiliates have engaged in any conduct that would cause or permit the Purchase Agreement or the

Sale of the Transferred Assets (or the other transaction contemplated in the Purchase Agreement)

to be avoided, or costs or damages to be imposed, under section 363(n) of the Bankruptcy Code or

other applicable law.

XIX.      Inconsistencies with Prior Orders, Pleadings or Agreements.

        27.      To the extent of any conflict between the Purchase Agreement, the Confirmation

Order, the Plan, and this Sale Order, the terms of this Sale Order shall govern with respect to the

Sale and the Purchase Agreement. To the extent this Sale Order is inconsistent or conflicts with

any prior order or pleading in these Chapter 11 Cases, the terms of this Sale Order shall govern

and any prior orders shall be deemed amended or otherwise modified to the extent required to

permit consummation of the Sale.

XX.     Failure to Specify Provisions.

        28.      The failure to specifically reference any particular provisions of the Purchase

Agreement, the Confirmation Order, the Plan, or other related documents in this Sale Order shall

not diminish or impair the effectiveness of such provisions, it being the intent of the Court that the

Purchase Agreement and other related documents be authorized and approved.

                                     # # # End of Order # # #



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Order submitted by:

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PROPOSED ATTORNEYS FOR THE
DEBTORS AND DEBTORS IN POSSESSION




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                                   Exhibit C

                        Proposed Notice of Effective Date




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                      §         Case No. 24-80045-mvl11
                                                                §
    KIDKRAFT, INC., et al.,                                     §         (Chapter 11)
                                                                §
                        1                                       §         (Jointly Administered)
             Debtors.
                                                                §

                       NOTICE OF (I) ENTRY OF ORDER
                    CONFIRMING THE DEBTORS’ AMENDED
               JOINT CHAPTER 11 PLAN, (II) OCCURRENCE OF THE
             EFFECTIVE DATE, (III) OPPORTUNITY FOR HOLDERS OF
    ALLOWED GENERAL UNSECURED CLAIMS TO MAKE A GUC SETTLEMENT
    OPT-IN ELECTION, AND (IV) ADMINISTRATIVE EXPENSE CLAIMS BAR DATE

       PLEASE TAKE NOTICE that on June 21, 2024, the Honorable Michelle V. Larson,
United States Bankruptcy Judge for the United States Bankruptcy Court for the Northern District
of Texas (the “Bankruptcy Court”), entered the order [Docket No. __] (the “Confirmation
Order”) confirming the Debtors’ Amended Joint Prepackaged Chapter 11 Plan [Docket No. 220]
                                                     2
(as amended, modified, or supplemented, the “Plan”).

      PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on
_______, 2024.

       PLEASE TAKE FURTHER NOTICE that copies of Confirmation Order and the Plan,
as well as other documents filed in these chapter 11 cases can be found on the docket of these
chapter 11 cases and can also be downloaded free of charge from the website of the Debtors’
noticing and claims agent, Stretto, at https://cases.stretto.com/kidkraft.

        PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court has approved certain
release, exculpation, injunction, and related provisions in Article VIII of the Plan.

       PLEASE TAKE FURTHER NOTICE that the Plan and Confirmation Order, and the
provisions thereof, are binding on the Debtors, the Wind Down Estate, the GUC Trust, any Holder

1    The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
     or Canadian business numbers, as applicable, are: KidKraft, Inc. (3303), KidKraft Europe, LLC (3174), KidKraft
     Intermediate Holdings, LLC (8800), KidKraft International Holdings, Inc. (2933), KidKraft Partners, LLC
     (3268), KidKraft International IP Holdings, LLC (1841), Solowave Design Corp. (9294), Solowave Design
     Holdings Limited (0206), Solowave Design Inc. (3073), Solowave Design LP (7201), and Solowave International
     Inc (4302). The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 4630
     Olin Road, Dallas, TX 75244.
2    Unless otherwise defined in this notice, capitalized terms used in this notice shall have the meanings ascribed to
     them in the Plan and the Confirmation Order.



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of a Claim against or Interest in the Debtors and such Holder’s respective successors, assigns, and
designees, whether or not the Claim or Interest of such Holder is Impaired under the Plan and
whether or not such Holder or entity voted to accept the Plan.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Plan and the Confirmation
Order, the deadline for filing requests for payment of Administrative Expense Claims shall be
_____, 2024, and the deadline for filing requests for payment of Professional Fee Claims shall be
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_____, 2024.

        PLEASE TAKE FURTHER NOTICE that the Bar Date for filing claims based on the
rejection of Executory Contracts or Unexpired Leases is the later of: (i) the General Bar Date or
the Governmental Bar Date, as applicable, and (ii) 5:00 p.m. (Central Time) on the date that is
30 days following service of an order (including the Confirmation Order) approving the rejection
of any executory contract or unexpired lease of the Debtors. To the extent any executory contract
or unexpired lease is rejected pursuant to the terms of the Plan, the Rejection Damages Bar Date
shall be 30 days after service of this Notice of (I) Entry of Order Confirming the Debtors’ Amended
Joint Chapter 11 Plan, (II) Occurrence of the Effective Date, and (III) Administrative Expense
Claims Bar Date.

       PLEASE TAKE FURTHER NOTICE that all Holders of Allowed General Unsecured
Claims may elect to participate in any distributions from the GUC Trust by timely submitting a
GUC Settlement Opt-In Election in accordance with the procedures set forth in the GUC
Settlement Opt-In Form, which is attached as Exhibit A to the GUC Settlement Opt-In Notice,
attached hereto as Exhibit 1.

        PLEASE TAKE FURTHER NOTICE that from and after this date, if you wish to receive
notice of filings in this case, you must request such notice with the clerk of the Bankruptcy Court
and serve a copy of such request for notice on counsel to the Wind Down Estate. You must do
this even if you filed such a notice prior to the Effective Date.

       PLEASE TAKE FURTHER NOTICE that the Plan and the Confirmation Order contain
other provisions that may affect your rights. You are encouraged to review the Plan and the
Confirmation Order in their entirety.




3   The deadline for filing requests for payment of Administrative Expense Claims shall be: (a) for Administrative
    Expense Claims that are not Professional Fee Claims, 30 days after the Effective Date; and (b) for Administrative
    Expense Claims that are Professional Fee Claims, 45 days after the Effective Date.


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Dated: _____, 2024
Dallas, Texas

                                   /s/

                                   VINSON & ELKINS LLP

                                   William L. Wallander (Texas Bar No. 20780750)
                                   Matthew D. Struble (Texas Bar No. 24102544)
                                   Kiran Vakamudi (Texas Bar No. 24106540)
                                   2001 Ross Avenue, Suite 3900
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                                   - and -

                                   David S. Meyer (admitted pro hac vice)
                                   Lauren R. Kanzer (admitted pro hac vice)
                                   1114 Avenue of the Americas, 32nd Floor
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                                   dmeyer@velaw.com;
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                                   ATTORNEYS FOR THE DEBTORS AND
                                   DEBTORS IN POSSESSION




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                                  Exhibit 1

                         GUC Settlement Opt-In Notice




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    William L. Wallander (Texas Bar No. 20780750)                    David S. Meyer (admitted pro hac vice)
    Matthew D. Struble (Texas Bar No. 24102544)                      Lauren R. Kanzer (admitted pro hac vice)
    Kiran Vakamudi (Texas Bar No. 24106540)                          VINSON & ELKINS LLP
    VINSON & ELKINS LLP                                              1114 Avenue of the Americas, 32nd Floor
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    Tel: 214.220.7700                                                Fax: 212.237.0100
    Fax: 214.999.7787                                                dmeyer@velaw.com; lkanzer@velaw.com
    bwallander@velaw.com; mstruble@velaw.com;
    kvakamudi@velaw.com
    PROPOSED ATTORNEYS FOR THE DEBTORS
    AND DEBTORS IN POSSESSION

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

In re:                                                           §    Case No. 24-80045-mvl11
                                                                 §
KIDKRAFT, INC., et al.,                                          §    (Chapter 11)
                                                                 §
           Debtors.1                                             §    (Jointly Administered)
                                                                 §
                                                                 §    Re: Docket No. ___

                        NOTICE OF (I) GLOBAL SETTLEMENT,
                     (II) OPTION TO OPT-IN TO PARTICIPATION
            IN THE GUC TRUST, AND (III) OTHER RELEVANT INFORMATION

        PLEASE TAKE NOTICE THAT on May 10, 2024 (the “Petition Date”), KidKraft, Inc.
and certain of its affiliates, as debtors and debtors in possession in the above-captioned chapter 11
cases (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of Texas, Dallas Division (the “Bankruptcy Court”).

        PLEASE TAKE FURTHER NOTICE THAT on May 23, 2024, the United States
Trustee appointed the Official Committee of Unsecured Creditors (the “Committee”) pursuant to
section 1102 of the Bankruptcy Code. See Docket No. 120.

       PLEASE TAKE FURTHER NOTICE THAT on June 17, 2024, the Debtors filed a
Notice of Filing Global Settlement Term Sheet [Docket No. 195] that attaches a copy of a Global


1     The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
      or Canadian business numbers, as applicable, are: KidKraft, Inc. (3303), KidKraft Europe, LLC (3174), KidKraft
      Intermediate Holdings, LLC (8800), KidKraft International Holdings, Inc. (2933), KidKraft Partners, LLC
      (3268), KidKraft International IP Holdings, LLC (1841), Solowave Design Corp. (9294), Solowave Design
      Holdings Limited (0206), Solowave Design Inc. (3073), Solowave Design LP (7201), and Solowave International
      Inc. (4302). The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 4630
      Olin Road, Dallas, TX 75244.


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Settlement Term Sheet thereto as Exhibit A (the “Global Settlement Term Sheet”), by and between
the Debtors, the Committee, the DIP Secured Parties, the Prepetition Secured Parties, the
Purchaser, and MidOcean.

        PLEASE TAKE FURTHER NOTICE THAT on June 21, 2024, the Bankruptcy Court
entered its Findings of Fact, Conclusions of Law, and Order (I) Approving the Disclosure
Statement; and (II) Confirming the Debtors’ Amended Joint Prepackaged Chapter 11 Plan (the
“Confirmation Order”) [Docket No. __], which, inter alia, confirmed the Debtors’ Amended Joint
Prepackaged Chapter 11 Plan (the “Plan”) [Docket No. 220]. The Plan incorporates and
implements the terms of the Global Settlement Term Sheet, including provisions related to the
creation of a trust (the “GUC Trust”) to be funded with certain assets (as further described in the
Plan, the “GUC Trust Assets”), for the benefit of the Holders of Allowed General Unsecured
Claims (as defined in the Plan) who elect to “opt in” to receiving their Pro Rata share of 100% of
the beneficial interests in the GUC Trust by [●], 2024 (the “GUC Settlement Opt-In Election
Deadline,” and such affirmative election, the “GUC Settlement Opt-In Election”), all as further
set forth in Article IV.C of the Plan. Holders of Allowed General Unsecured Claims desiring to
make a GUC Settlement Opt-In Election must timely complete and return the form attached hereto
as Exhibit A (the “GUC Settlement Opt-In Form”) pursuant to the instructions and procedures
set forth therein.

     IMPORTANTLY, THE PLAN PROVIDES THAT ANY CREDITOR WHO MAKES
A GUC SETTLEMENT OPT-IN ELECTION AGREES THAT ANY AVOIDANCE
ACTION AGAINST IT THAT WOULD HAVE OTHERWISE BEEN A TRANSFERRED
ASSET PURCHASED BY THE PURCHASER WILL NOT BE INCLUDED IN THE
TRANSFERRED ASSETS, AND SUCH CREDITOR MAKING THE GUC SETTLEMENT
OPT-IN ELECTION IS POTENTIALLY SUBJECT TO BEING SUED FOR AN
AVOIDANCE ACTION.

       All Holders of Allowed General Claims are advised to review and consider the
description of certain tax considerations related to the GUC Trust attached hereto as Exhibit
B (the “GUC Trust Tax Disclosures”).

         Copies of the Global Settlement Term Sheet, the Plan, and the Confirmation Order may be
obtained upon request of the Debtors’ proposed counsel at the address specified below and are on
file with the Clerk of the Bankruptcy Court, 1100 Commerce Street, Dallas, TX 75242 where they
are available for review during normal operating hours. The Global Settlement Term Sheet, the
Plan, and the Confirmation Order also are available for inspection on the Bankruptcy Court’s
website at https://www.txnb.uscourts.gov or for review and download free of charge on the
                                                                                   2
Debtors’ restructuring website at https://www.cases.stretto.com/kidkraft.             Copies of other
documents filed in these chapter 11 cases may be obtained free of charge by contacting Stretto,
Inc., the Debtors’ claims, noticing, and solicitation agent (“Stretto”) via (i) telephone at (855) 469-

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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan. The
      statements contained herein are summaries of the provisions contained in the Plan and do not purport to be precise
      or complete statements of all the terms and provisions of the Plan or documents referred therein. To the extent
      there is a discrepancy between the terms herein and the Plan, the Plan shall govern and control. For a more
      detailed description of the Plan, please refer to the Disclosure Statement or the Plan.


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1713 (Toll-Free) or (714) 886-6210 (International) (ii) email at TeamKidKraft@stretto.com (with
“KidKraft Opt-In” in the subject line).

    ANY PERSON WHO MAKES THE GUC SETTLEMENT OPT-IN ELECTION
    SPECIFIED HEREIN HEREBY AGREES AND UNDERSTANDS THAT ANY
    AVOIDANCE ACTION AGAINST IT THAT OTHERWISE WOULD BE
    PURCHASED BY THE PURCHASER AND NOT PROSECUTED BY THE
    PURCHASER WILL BE REMOVED FROM THE LIST OF AVOIDANCE
    ACTIONS PURCHASED BY THE PURCHASER, AND SUCH CREDITOR MAY
    BE SUED FOR ANY APPLICABLE AVOIDANCE ACTIONS.

    任何做出此处指定的 GUC 和解选择参与者，特此同意并理解：任何针对其而采取的个别
    清偿无效之诉权（否则，该诉权将由收购方购买并且不会被收购方起诉），都将从收购
    方购买的个别清偿无效之诉权的清单上删除，并且该债权人可能会因任何适用的个别清
    偿无效之诉权而被起诉。



Dated: June [_], 2024
Dallas, Texas                              /s/
                                           VINSON & ELKINS LLP
                                           William L. Wallander (Texas Bar No. 20780750)
                                           Matthew D. Struble (Texas Bar No. 24102544)
                                           Kiran Vakamudi (Texas Bar No. 24106540)
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                                           kvakamudi@velaw.com

                                           - and -

                                           David S. Meyer (admitted pro hac vice)
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                                           PROPOSED ATTORNEYS FOR THE
                                           DEBTORS AND DEBTORS IN POSSESSION




                                              3
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                                  Exhibit A

                         GUC Settlement Opt-In Form




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

     In re:                                                      §         Case No. 24-80045-mvl11
                                                                 §
     KIDKRAFT, INC., et al.,                                     §         (Chapter 11)
                                                                 §
               Debtors.1                                         §         (Jointly Administered)
                                                                 §

                                    GUC SETTLEMENT OPT-IN FORM

        By checking the box below and signing this GUC Settlement Opt-In Form, 2 the
undersigned exercises its option to opt-in into participation in the GUC Trust and receiving its Pro
Rata share of the GUC Trust Interests. Further, by checking the box below and signing this GUC
Settlement Opt-In Form, the undersigned elects to have any Avoidance Actions that may exist
against it removed from the Transferred Assets (as applicable), and agrees that the GUC Trust and
GUC Trustee may pursue such Avoidance Actions against it.


    □
              The undersigned hereby OPTS-IN to participate in the GUC Trust and to have any
              Avoidance Actions against it removed from the Transferred Assets sold to the
              Purchaser.


    Date

    Name of Holder of General Unsecured Claim (Print or Type)

    Signature

    Name and Title of Authorized Agent (Print or Type)

    Address



1     The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
      or Canadian business numbers, as applicable, are: KidKraft, Inc. (3303), KidKraft Europe, LLC (3174), KidKraft
      Intermediate Holdings, LLC (8800), KidKraft International Holdings, Inc. (2933), KidKraft Partners, LLC
      (3268), KidKraft International IP Holdings, LLC (1841), Solowave Design Corp. (9294), Solowave Design
      Holdings Limited (0206), Solowave Design Inc. (3073), Solowave Design LP (7201), and Solowave International
      Inc. (4302). The location of the Debtors’ U.S. corporate headquarters and the Debtors’ service address is: 4630
      Olin Road, Dallas, TX 75244.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Debtors’
      Amended Joint Prepackaged Chapter 11 Plan [Docket No. 220].



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 City, State, Zip

 Telephone / Email Address

       Completed Opt-In Forms must be actually received by the financial advisor for the
Committee, Dundon Advisors, LLC, at the physical address below or via email by 5:00 p.m.
(Prevailing Central Time) on ___________, 2024. Send your completed Opt-Out Form by
ONLY ONE of the following means of submission:

        (i) if by first class mail, overnight delivery, or hand delivery, at DUNDON ADVISERS,
        LLC, c/o Joe Cashel, Ten Bank Street, Suite 1100, White Plains, NY 10606; or

        (ii) if via email, to kidkraft@dundon.com, with a reference to “KidKraft Opt-In Election”
        in the subject line.




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Dated: June [_], 2024
Dallas, Texas                        /s/
                                     VINSON & ELKINS LLP
                                     William L. Wallander (Texas Bar No. 20780750)
                                     Matthew D. Struble (Texas Bar No. 24102544)
                                     Kiran Vakamudi (Texas Bar No. 24106540)
                                     2001 Ross Avenue, Suite 3900
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                                     Tel: 214.220.7700
                                     Fax: 214.999.7787
                                     bwallander@velaw.com; mstruble@velaw.com;
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                                     - and -

                                     David S. Meyer (admitted pro hac vice)
                                     Lauren R. Kanzer (admitted pro hac vice)
                                     1114 Avenue of the Americas, 32nd Floor
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                                     PROPOSED ATTORNEYS FOR THE
                                     DEBTORS AND DEBTORS IN POSSESSION




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                                                  Exhibit B

                                       GUC Trust Tax Disclosures

        Pursuant to the Plan, 1 the GUC Trust will be organized for the primary purpose of
liquidating the GUC Trust Assets and making distributions to GUC Trust Beneficiaries on account
of their GUC Trust Interests. The GUC Trust is not organized with an objective to continue or
engage in the conduct of a trade or business, except to the extent reasonably necessary to, and
consistent with, its liquidating purpose. Thus, the GUC Trust is intended to be classified for U.S.
federal income tax purposes as a “liquidating trust” within the meaning of Treasury regulation
section 301.7701-4(d). Under the Plan, all relevant parties are required to treat the GUC Trust as
a liquidating trust, subject to definitive guidance to the contrary from the Internal Revenue Service.
In general, a liquidating trust is not a separate taxable entity but rather is treated as a grantor trust,
pursuant to sections 671 through 679 of the Tax Code, owned by the grantors of the trust. For this
purpose, the beneficiaries of a liquidating trust are treated as the grantors and owners of the trust.
The GUC Trust will file annual information tax returns with the Internal Revenue Service as a
grantor trust pursuant to Section 671 of the Tax Code and the applicable Treasury Regulations that
will include information concerning certain items relating to the holding or disposition (or deemed
disposition) of the GUC Trust Assets (e.g., income, gain, loss, deduction and credit).

         Although the GUC Trust has been structured with the intention of complying with
guidelines established by the IRS in Rev. Proc. 94-45, 1994-2 C.B. 684, for the formation of a
liquidating trust, it is possible that the Internal Revenue Service could require a different
characterization of the GUC Trust, which could result in a different and possibly greater tax
liability to the GUC Trust or the holders of the GUC Trust Interests. No request for a ruling from
the Internal Revenue Service will be sought on the classification of the GUC Trust, and there can
be no assurance that the Internal Revenue Service will not take a contrary position to the
classification of the GUC Trust. If the Internal Revenue Service were to successfully challenge
the classification of the GUC Trust as a grantor trust, the U.S. federal income tax consequences to
the GUC Trust and the holders of the GUC Trust Interests could be materially different from those
discussed herein. The following discussion assumes, for U.S. federal tax purposes and, to the
extent permitted under applicable law, for state and local income tax purposes, the treatment of the
GUC Trust as a grantor trust, the GUC Trust Beneficiaries, who will be treated as grantors and
deemed owners for U.S. federal and applicable state and local income tax purposes, as holders of
GUC Trust Interests, and the GUC Trust Beneficiaries as the grantors and deemed owners of their
allocable portion of the GUC Trust Assets.

        To the extent the GUC Trust is treated as a “liquidating trust” then, upon its creation, for
U.S. federal income tax purposes, each GUC Trust Beneficiary would be treated as having received
and as owning an undivided interest in the GUC Trust Assets in exchange for surrendering all or
a portion of such GUC Trust Beneficiary’s Allowed General Unsecured Claims followed by a
transfer by such GUC Trust Beneficiary of such GUC Trust Assets to the GUC Trust. Upon the
transfer of the GUC Trust Assets as more fully set forth in the GUC Trust Agreement, the Debtors
will have no reversionary or further interest in or with respect to the GUC Trust Assets. Under the

1   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Debtors’
    Amended Joint Prepackaged Chapter 11 Plan [Docket No. 220].


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Plan, all parties (including, without limitation, the Debtors, the GUC Trustee, the GUC Trust and
the holders of GUC Trust Interests) are required to report consistently with the foregoing for U.S.
federal and applicable state and local income tax purposes. Consistent with such treatment, the
GUC Trust’s taxable income, gain, loss, deduction or credit will be allocated to the GUC Trust
Beneficiaries in accordance with their relative beneficial interests in the GUC Trust during the
applicable taxable period, and such allocation will be binding on all parties for U.S. federal and
applicable state and local income tax purposes. The GUC Trust Beneficiaries have an obligation
to report its share of the GUC Trust’s tax items (including gain on the sale or other disposition of
a GUC Trust Asset). Accordingly, the GUC Trust Beneficiaries may incur a tax liability as a result
of owning a beneficial interest in the GUC Trust, regardless of whether the GUC Trust distributes
cash or other GUC Trust Assets, and the GUC Trust Beneficiaries will responsible for the payment
of any federal, state and local income tax due on the income and gain so allocated to them.

         The basis of such GUC Trust Interest in the GUC Trust Assets received will be equal to
the fair market value of the GUC Trust Assets as of the Effective Date. The fair market values of
the GUC Trust Assets will be determined by the GUC Trustee as the trustee of the GUC Trust, and
all parties must utilize and report consistently with such fair market values for U.S. federal and
applicable state and local income tax purposes. The determination of the fair market values of the
GUC Trust Assets is factual in nature and the IRS may challenge any such determination.

       Holders of Allowed General Unsecured Claims should not construe the contents of
this GUC Trust Tax Disclosures as providing any legal, business, financial, securities, or tax
advice, and should consult with their own advisors before making the GUC Settlement Opt-
In Election.




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